\5

(

275

ase 1: 85- --Cr O ` /08/18 Page 1 0 3_11 2
222ay@ 77 w 7de 573 f

222/221 1/7 CRIMlNAL CASE Nc) 85 0033

,y£/(

15

UNITED STATES

5 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VS.
1 .""/':F,`\_ 2 5 \' /'"/ /[ML<` 5_
2 DEPOSITIONS
3 TRANSCRIPTS
E IT
4 XHIB S
5 27 (//7"7/`/1',/7;['~./:2’
/€`§- ,22/ ,¢/cz 2 < -/}_`22;*¢,¢{"2-_,1222- 2"»'2_1 /»c'c,\'§</\~ //L¢" 55 522 c_“¢ /»/3/2 `a'a;'~
CHARGE /.-,L> ¥252;)@2:22222¢, /;»2222:222 ./ 22222:22 __ 222 2222 222 222
./
7 G. Atty.:
1. Bond: §§ 2 Surety:- , Atty.:
2. Bond: $ , Surety: 2 Atty.:
3. Bond: $ , Surety: , Atty.:
4. Bond: $ ,_ Surety-: . Atty.: §
5. Blond:_$ j , Surety-:___ - , Atty.:
, DATE _ ' _ COU__R'I_‘ C_LERK’_S MEMORANDUM JUDGE
JA N 39 1985 »~. -`PRESENTM~L§NT Am_)"" -mDIcTME_NT FILED `
/)/)57_3 "QM»BO/i/U ,~5,5¢;2£:,4 /’41)5/,<54_',5~'5 95 '§`-¢§"1/`:»:>141.»1£1:"
722 2’22222 /22 2.~: 2 v 1222-212 2222/aa
//?/12»’,24!4?5' €é£v‘L/'/}- M@f}j£jzr}z >/755¢¢¢/2,1{(4:¢ >>\ __\
/ 222 2 222/ 1 (»:222222@»
.2 , 5 j . .. i'/
3 "~`i 505);1 5‘2'152 x /1,& 525_‘2' 2 23 _50':.5: fur : ,' 112 457" ' ,/-_f,_-l-“:)-
. 1 22
/ 2'_ ,2 2 _,.2 _
2`5157 575 :/ 227_..2:§:‘72-_5_ C)': v ¢>i"> 552a- .-'2..55 /??»':< /’, /.=-'
`!-{/.2.¢( ¢£'_¢_ /_’»ff§ <°»{/f‘?;(df/L;"})r /}_ §, ,»,f -}"`£r;‘~w :'.; ¢'J.; ,_,` /]'_
"'-~-/25";2 ~52'42'/»5?77/*1’ /./ c5)y'/5 /"j'?l¢ 2 \x~'-¢ 55»' _
:2,»2-_/_ / a/_;.: 22 22 2»/; r2 ,/2;?222 217 _/2§2 52 »7'1*2»2 2-);"22- 2
55'5’55/ 56¥1,2£/!7 CZQ‘// )~/_rja~a,£ 525 J‘LMUMN/ 5:1¢' 55 223-1521
`PL€ 2L_;? --‘_2»)3 1_ ’ ,.§,2¢(5 2’.) ‘2_} -,"_"` 3 2_ 2-' 277 »'2'_."." , 1’_` r)”. 7E2; "'/7/~,7' j
f 751 _--2'3 175 21177; 554-5 ”`5" ,..‘5¢.:-’.¢7 ‘f )7`!"""5_1' l n 2-.-2 j
_. . _:--_;l!}{ _ ._22/";,'\ {:-'rf-l)`l _ g 21 ._

Domem 1915-ned 09/0§/13 tage 2 of 311

 

 

 
 

" if _, "%.-M., 1 M_..,,Mf - ’- . - . .

       

pClaSS'M§Ql, postage prepaid. di //

CaSe 1: 85- --Cr 00033- .]GP Document 10 Filed 03/08/18 Page 3 of 311ij y } 41
_ "“‘- (

{

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, :
Plaintiff :
VS. : Criminal No. 85-00033

GEORGE A. NADER,

De en*ant. : l F| l E D /

F=F3 iii 1095

JAMES F. DAVEY, C|erk`

 

PRAECIPE

Will the Clerk of Court please enter the appearance of
Gwynneth M. Moolenaar, Attorney At Law, 1101 Fourteenth St.,
N. W., Suite 1000, Washington, D.C. 20005, as counsel for
the Defendant.

Respectfully Sub itted,

_{jww,/M?§ ;1 fivdi 1_/

Gwynnéth M. Moolenaar
1101 Fourteenth St. N.W.
Suite 1000

Washington, DC 20005
(202) 289-7777

269738

CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the foregoing Praecipe was
served on Mr. Douglas J. Behr, Assistant United States Attorney,
United States Attorney's Office, Constitution Ave. and 3rd St., NW

.,%-
Washington, DC 20001, on this_;? <iay of February, 1985, by First

.1 111/1111 11 1111»<:… 1

“’ Gwynneth M. Moolenaar

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 4 of 311

 

 

 

 

 

 

 

 

United States of America UN|TED STATES D|STR|CT COUR`\ Case No. _ _ 1 _
' v.
,
Fon THE DlsTRlcT oF coLulvl§A w L¢|(a ,4;]4.3
§¢__Q_ Hl\`oevc 2101€ C'/~»_~. Avr M. w..w. 11 -c. - 4 - iam _
Dei`endant`s name Defendant`s itkin-v l l Defendant's phone no -
YOU ARE RELEASED ON THE FULLOW|NG ADD|T|DNAL COND|T|ONS lNDlCATED BELOW: /
PERSUNAL l PERSONAL RECOGNIZANCE. Your personal recognizance, provided that you promise to appear at all scheduled hcariii(gs. trials. or
PHBM|SE g otherwise as required by the Court.
r
UNSECURED APPEARANCE BOND. Your personal unsecured appearance bond, to be forfeited m d ou t ppear as re-
MUNEY E quired by the Court. F g L E D
BoND CASH BOND. Upon execution of appearance bond, to be forfeited should you fail to appear as required by the Court. secured by a
deposit, such deposit to be returned when the Court determines you have performed the conditions of your relea§e. z u will deposit in
'__ oF i:i the registry ofthe Court %. 11 ii :. l §8:)
$
|:] SURETY BOND. Upon execution of appearance bond with approved surety.
ll°lill"t"i l" l'\n\":{‘-\"; hi

 

 

 

vou Al=ie HEnEBY nELEAsEo on THE comments anchTEo nstoi'i`é‘“‘i°* `”`*`““' '~‘¢ wm

You hcrcbyzi ectobi: placed in thc custody of _ __,_

who agrees (§lr}. to supervise you iii accordance with Thc conditions below.

SUPER' (b). m use every el¥ort l_o assure your appearance at ul| scheduled hearings

|:] 1) v|SORY trials. or otherwise a.ntl lc). to notify the 'D.(.‘. _l’retrial Se_i'vices Agcncy im-
cUsTODY m|crlilstuly iii t?ze?e;§(:;(t) you violate any conclltloo ni release or dis_ztppl:er. Agency

tc cp irene _ - .

 

Custodian's name

 

Cus!odian's address

 

 

b
SIGNATURE OF CUSTODIAN Custodian's phone no
Yol.:.é`n£ i:i weekly ij in person TO g THE D.C. PRETRIAL SERVICES AGENCY AT 727-2800.
2) REPURT g mmk¢[o\ §§ by phone i:i Your attorney. whose name and address is shown below.
miller-specify

 

 

11 laid Can,.,t¢c+._c;..l A-v¢_)\lw; wf\n;be 134- hat

 

 

 

You ARE g ruilii'r:i's plfonrno.
\E` 31 T0 E with
leE name and relationship to defendant phone no.
ij at being in at night by P.M.
;t_riiirc\i\ phone no. time
\:] by obtaining a job within days and reporting it to the D.C. Pretrial Services Agency at 727-2800.
\:|

 

YOU ARE
|:i 43) b maint in' ou ` b t
To woRK y a mgy rjo a Employer‘snameandaddress

 

 

 

_____________________________ H__________________F______________
[:] by enrolling in school at
name and address
m You AnE , _
abi To STUDY E by maintaining your student status at
name and address
m 5) ¥gus_?RYE ij away from the complaining witness. |:i Within the D.C. area.

 

 

ij 6l NAnconcs
:i n cameron ncotiR'rt~:/‘=.t~i

m si REARREST Any rearrest on probable cause for any subsequent offense may result in revoking your present bond and setting it at

 

 

 

 

 

 

 

Yoll nrc further inslructed lhal any violation ol`a condition oi` release may subject you 10 line or imprisonment for contempt ofC`ourt. ifyou willfully fail to ap-
pear ns required before n judge or ot|'.erjudicia| officer you will he subject to prosecution under the Baii Reform Act. (lBUSC .`ilSUi and subject to the following
penalties upon a Findin of wlilFu|i faiiirlg to appear in (.`ourt: tiF FF.[.ONY CHARGE) a t'ine ot`not more than 551)00 or imprisonment for not more than 5 yeer
or hoth: (iF MISDEM ANOR C ARGEJ n fine of not more lhnn the maximum provided for the offense with which you m presently charged or lmprisnnmonl
for not more than one year or both. l

NEXT in Courtroor.n_]mkurq`3;'_1"§/I on M YOUR AT"]RNEY

DUE . .
or when notified and you must appear at all subsequent continued dates. 1 -
BACK //O/’ { )/)'¢-_\}"h w

You must also appear

\

 

   
 

 

law s1 ~ 7 `
h/-.»._»n De'=“;_aaa_r- §LLZ?

iEFEN DANT's ' I understand'ih: penalties which may be imposed on me for willful failure to appear
/," - or for violation of any condition of release and agree to comply with the conditions
slGNATUHE rf’ ¢'Z¢::¢"‘;z/ - i' my release and to appear as required.
wiTNEsSED BY w // ltit|e and agcnl:.yi A _
lMPORTAN'|'- YOU ARE To NoTiFY iMMEi)iATELY THE D.C. PRETRiAL sERvICEs AGENCY. 500 tW/KVE.. N. .. FleT FLooR, TEL_E- 2
' C S
15

 

 

 

 

 

   
  

CONDITIONS.

leTE-To couRT PAPEns /~ .~ 4 //, / ?’aC\§"

aLuE_To DEFENDANT Date

GnEEN-To D c. PRETniAL sEFivicEs AGENCY

cANAnY-To DEFENSE ATTonNEY b
PiNK-To u.s. ATToFiNEY
GoLnENRoo-To JuDGE

 

PHONE NUMBER 727-2800, OF ANY CHANGE OF ADDRESS, lEMPLOYMEN;]§‘/U? E lN TUS OF ANY RELF:`AS
/

 

    
    
 

/

IJERED

  

 

 

Signature of J ud ge

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 5 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRLCT OF COLUMBIA

 

UNITED STATES. OF AMERICA ‘/
V' Criminal No. 85'0033
GEORGE A. NADER F l L E D
'0 R o E R i'"i12l985

The defendant appeared before the Court for arraiH\WlY-§n§! BEVEY’ mark
F€bruary 111 1985 . After giving consideration

to the representations made by counsel for the government and

counsel for the defendant, it is hereby

ORDERED:

l. The parties and their counsel shall appear for a status
hearing on March 4, 1985 at 9:30 a.m.

2. The defendant shall file any motions on or before

March 4, 1985 _

3. At the status hearing, the parties shall be prepared
to set a date for a hearing on any pending motions and a date
for trial.

4. That Seven days prior to the date set for trial, the
parties shall file their proposed questions for voir dire
examination.

5. That seven days prior to the date set for trial, the
parties shall file their proposed jury instructions. Where
they request standard jury instructions, they need only cite the
Court to the instruction number in Criminal Jury Instructions

for the District of Columbia (Redbookl. Where they request

special instructions, they shall file a copy of the proposed

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 6 of 311

_2_.
special instructions, together with any authority in support
thereOf.

6. That SeVen days prior to trial, the parties shall advise
the Court Of any unusual problems or requests, including, but
not limited to, Fifth Amendment issues, Brady requests, etc.

7. That in the event the defendant is incarcerated, counsel
for the defendant shall advise the Court not less than seven days
prior to trial whether the defendant requests that arrangements
be made to allow the defendant to change into regular clothing

for all appearances before the jury.

Date= FEB | 21985

 

 

z'~
OHN GARRETT PENN
United States District Judge

 

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 7 of 311

 

PRAEC|PE
limited Statez Diotrict Court
fur the District of Unlumhia
the __-___2_§?_1} _______ day of ___b:?_}?`i`i?i¥ _____ // _____________ 191__8_5
_I£Ll_i__§?d_ S_E<T=l_te§__ Of Ame.ri_€a_ ..__H__L_E__D ________
_ _ __ €WFCriminal C/
vs. FEB 2 7 985 Action No. §§__(_)9_9§_3_ _______

George A. Nader

_____________________________ ""]§M'F;s'mnv£v;€re‘rk

 

Address __Wa_shin_gton,.: _D_C___ZODD.€__ ______ _
Phone No. ___331_-_50_0_0 ______________________

Attomey for ___D_€_f€ll_dlé_ll£l_t_ ___________________

 

COURTRAN

 

 

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 8 of 311

CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the foregoing
Praecipe was served on Mr. Douglas J. Behr, Assistant United
States Attorney, United States Attorney's Office, Constitution
Ave. and 3rd St., NW, Washington, DC 2000l, on this

l day of February, 1985, by First Class Mail, postage prepaid.

' Richard S.\Hoffm'O
ij

     

LAW OFFlCES
W|LL|AM$ d CONNOLLY l

H|LL BU|LD|NG l
WASH|NGTON, D.C. 20006 |

 

AREA CODE 202
83|-5000

LAW OFF|CES
WILL.|AMS & CONNOLLV
H|LL BU|\_D|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 9 of 311

UNITED STATES DISTRICT COURT F l L E D

FOR THE DISTRICT OF COLUMBIA
FEBZ71985

United States of America

1AMESF. nAva, clerk '

Criminal No. 85-00033
Judge John Garrett Penn

Motion for Extension of Time
For Filing Preliminary Motions

George A. Nader

 

v`_/`/V`/v\_/vv

 

Defendant, George A. Nader, by and through his
undersigned counsel, hereby moves this court for an extension
of time to file preliminary motions in this matter from
March 4, 1985 until March 25, 1985 and requests that the status
conference currently scheduled for March 4 be rescheduled
accordingly. In support of this motion defendant states as
follows:

l. Defendant's counsel, Williams & Connolly,
are newly retained as of February l9, 1985, and need additional
time to familiarize themselves with the facts of the case,
particularly the search conducted by the government which
yielded the material that is the subject of the indictment,
and the circumstances surrounding the purported statements
made by defendant to certain government agents.

2. From the limited amount of information presently
available to counsel, we believe that substantial and novel

questions of law and fact are present concerning the legality

LAW OFF|CES
W|LL|AMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 10 of 311

of the search conducted in this case, the circumstances
surrounding the purported statements made by defendant, and
whether the statute under which Mr. Nader was indicted was
intended to apply in the circumstances Of this case,

3. Defense counsel are currently meeting
with the government informally to obtain the material
necessary to adequately prepare and present preliminary
motions and believe this process can be accomplished without
the necessity of motions pursuant to Fed. R. Crim. P. l6.

4. Defense counsel with primary responsibility
for preparing preliminary motions has a longstanding
commitment to be out of town from March l until March 9.

Defendant requests that this additional time
for the filing of preliminary motions be excluded under the
Speedy Trial Act pursuant to 18 U.S.C. § l36l(h)(8) on the
grounds that, for the reasons set forth above, the ends of
justice are served by granting the continuance. A waiver of
rights under the Speedy Trial Act executed by Mr. Nader is
attached hereto. We are authorized to say that the Assistant
United States Attorney responsible for this case consents to

the extension of time requested.

LAW OFF|CES
W|LL|AMS h C°NNOLLY
H|LL BU|\_D|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 11 of 311

Respectfully submitted,

WILLI§MS § CONNOLLY

 

BY

 

David Povich AL; `
Richard S. Hof

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Attorneys for George A. Nader

LAw oFFlCEs
WlLL|AMS a CONNOLLY
HlLL BulLo\NG
wAsHlNGToN. o c. 20006

 

AREA CODE 202
33|~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 12 of 311

F|LED/

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA FEBZ?BBS

United States of America

George A. Nader

]AMES F. DAVEV, Clerk

Criminal NO. 85-00033
Judge John Garrett Penn

 

WAIVER OF RIGHTS UNDER SPEEDY TRIAL ACT

 

I have reviewed the motion for an extension of

time to present preliminary motions filed by my attorneys and

I have discussed this motion with my attorneys. I have no

objection to having the period of time from March 4, 1985

to March 25, 1985 excluded from computation under the Speedy

Trial Act. I hereby waive any rights I might have under the

Speedy Trial Act for that period of time.

Date: o?{}g,é YF

Date: i726 B:/

 

 

 

stid vaich
Attorney for Defendant

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 13 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America
Criminal No. 85-00033

Judge John Garrett Penn

George A. Nader

Vv\./`./vvvv

 

mg

The motion of defendant George A. Nader for an
extension of time to file preliminary motions and accompanying
waiver by the defendant of his rights under the Speedy
Trial Act having been read and considered, and with the
consent of the attorney for the United States, it is this

day of February, 1985,

HEREBY ORDERED that the time for defendant to file
preliminary motions is extended from March 4, 1985 to March 25,
1985 and the interests of justice being served and good
cause being shown such time is excluded from computation

under the Speedy Trial Act pursuant to 18 U.S.C. § 1361(h)(8).

 

John Garrett Penn
United States District Judge

LAW OFF|CES
WILLIAMS l C°NN°LLV
HlLL BU|LD|NG
WASH|NGTQN. D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 14 of 311

CERTIF I CATE OF SERVI CE

 

' I hereby certify that a copy of the foregoing
Notice and Motion for an Extension of Time was served on

Mr. Douglas J. Behr, Assistant United States Attorney,

United States Attorney's Office, Constitution Ave. and 3rd
St., NW, Washington, DC 20001, on this léz!i;day of February,

1985, by First Class Mail, postage prepaid.

’, l 1 Jg

RicHérd S. Hoffmanl
- l

~.
..1_

   

LAW OFFlCES
WILLIAMS a c°NN°LLV
H|LL BU|LD|NG
WASH|NGTON, D.C. 20006

 

An:A cons 202 l
aa\~sooo

LAw oFFlcEs
WlLLlAM$ a CONNOLLY
HlLL sun.olNc
wAsHlNGToN. D.c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 15 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America

criminal No. 8500033 L/
Judge John Garrett Penn

George A. Nader Notice of Motion

V\_/VV\_/Vvv

 

To: Douglas J. Behr, A.U.S.A.

United States Attorneys Office

Constitution Ave. and 3rd Street, N.W.

Washington, D.C. 20001
Sir:

PLEASE TAKE NOTICE that on Februaryon; 1985,

George A. Nader, through his undersigned attorneys, wi11
file before the Honorable John Garrett Penn, United
States District Court, Washington, D. C., a Motion For
Extension of Time For Filing Preliminary Motions in the

above case, a copy of which is attached.

Respectfully submitted,

 

Richard S. Hoffwan

839 Seventeenth Street, N.W.
Washington, D. C. 20006
(202) 331-5000

Attorneys for George A. Nader

 

 

COURTRAN

 

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 16 of 311 l L E D

UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT oF coLUMBIA 3'-'*"`\3 15 1935
UNITED STATES oF AMERI.CA JAMES F/DAVEY Clerk
, ___ l
V. Criminal No. 85_33
GEORGE A. NADER
v0 R D E R

The defendant appeared before the Court for arraignment on

F€bruary ll, 1985 . After giving consideration'

 

to the representations made by counsel for the government and
counsel for the defendant, it is hereby

ORDERED:

1. The parties and their counsel shall appear for a status
hearing on April 1L 1985 at 9:30 a.m. .

2. The defendant shall file any motions on or before
March 25, 1985

 

3. At the status hearing, the parties shall be prepared
to set a date for a hearing on any pending motions and a date
for trial.

4. That seven days prior to the date set for trial, the
parties shall file their proposed questions for voir dire
examination.

5. That seven days prior to the date set for trial, the
parties shall file their proposed jury instructions. Where
they request standard jury instructions, they need only cite the
Court to the instruction number in Criminal Jury Instructions
for the District of Columbia (Redbookl. Where they request

special instructions, they shall file a copy of the proposed

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 17 of 311

._2_
special instructions, together with any authority in support
thereof.

6. That seven days prior to trial, the parties shall advise
the Court of any unusual problems or requests, including, but
not limited to, Fifth Amendment issues, Brady requests, etc.

7. That in the event the defendant is incarcerated, counsel

~

for the defendant shall advise the Court not less than seven days
prior to trial whether the defendant requests that arrangements
be made to allow the defendant to change into regular clothing

for all appearances before the jury.

Date: MAR l 3\985

/

_/' //

__*____“s_ ' ski ""-Hz_ __
JOHN GA§RETT PENN '
' _ _.Un'i`ted States District Judge

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 18 olei L E o /

HAR 2 5 \985
UNITED sTATEs DISTRICT COURT MF:T'::T~§‘F$E‘_'°JMQ::”
FOR THE DISTRICT OF COLUMBIA °‘
UNITED STATES OF AMERICA h
§5-35

v. Criminal No. 8590033~

GEORGE A. NADER Judge John Garrett Penn

v`_/v`/VVV

 

STIPULATED MOTION FOR EXTENSION OF TIME

 

Defendant, George A. Nader, by and through his
undersigned counsel, and the United States, hereby jointly
move this Court for extension of time for defendant to file
preliminary motions in this matter from March 25, 1985 to
April 1, 1985, The purpose of this extension is so that the
parties can further explore a pre-trial disposition of this
matter.

Defendant requests that this additional time be
excluded under the Speedy Trial Act; pursuant to 18 U.S.C.
§ 3161(h)(1)(1) and (h)(8), for consideration of a possible
plea agreement, and consents to such exclusion.

Respectfully submitted,
wILLIAMs & cQNNoLL

si l _.f\
By ()M_§A'i)/v _h” `_'§)"
`Davi o ic
Richard S. Hoé£man
839 Seventeenth Street, N.W.
Washington, D.C. 20006

(202) 331-5000

 
 
 

Attorneys for George A Nader

 

 

 

CaS€ 1285-Cr-00033-.]GP

Document 10 Filed 03/08/18 Page 19 of 311

"\i
JOSEPH;.>_»D§iGENOvA
UNITEnysTATE ¢:TORNEY

0 -_' '1_
.

1
~,_,

'ils.»'- "..3"’-~ -. .

`:._-‘_J‘Bou=-'a il Behr

,g,__f"Ass?g:s U.s. Attorney

f;`;? United tates Courthouse

iii Cons " ution Ave. & 3rd St.,
Wash ton, D.C. 20006

 

 

N.W.

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 20 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Criminal No. 8500033

§"EE,.E'_';“"

Vl

GEORGE A. NADER

 

The joint motion of the United States and the
defendant for an extension of time to file preliminary
motions having been read and considered, it is the :{S`*/
day of March, 1985,

HEREBY ORDERED that time for defendant to file
preliminary motions is extended from March 25, 1985 to
April l, 1985 and the interests of justice being served and
good cause being shown such time is excluded from computation
under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(1)(I)
and (h)(8),
///:) :; _ _;?

_A:HI;HF:’_

    

_`»-

    
 

 

Jo ` nR@g:T/PENN
U_ited#€tates District Judge

 

'_CEU§TRZ\N"|`

Cas 1: - - - _
S- Departmth of J£tic§§ cr 00033 .]GP Document 10 Fl|ed 03/08/18 Page 21 of 311
S.

U.
U. Attorneys

§

United States District Court
for the District of Columbia

 

UNITED STATES OF AMERICA

v. z V_ Fl L E a _/
GEORGE NADER ; Case NO' 85'33`/- l 1985
: JAMES. t DAVEY, clerk

l. Upon a representation by the United States that the defendant has never been the subject of “routine

processing” (booking, fingerprinting, photographing) in this case;
2. lt is this __13:__ day of APRIL , 19 8 5 oRDERED;

3. That if the defendant is released on bond that he or she be accompanied on 4 /1/8 5

 

by Postal INSPeCtOr Robert Northrop to the Central Cell Block of the Metropolitan Police

Department, to the United States Marshal’s Office and to InSDeCtor Northrop' s office

for “routine processing,” and that this be a condition of being released on bond;

 

4. That if the defendant is not released on bond, the United States Marshal shall release the defendant
to the custody of for the purpose of “routine processing,” and

at the conclusion thereof to return the defendant to the custody of the Marshal.

 

 

CaSe l. 85-01’-999-38-;]@-99€%|%9¥4¥£0- Elied¢QBlO8/§L8 P.B.Q€_ 22__0i3tl --

 

 
 

'- 8 granier

sEAncH wAnnANTleEN_ronv wm y 1385 .
nEPonT AND RETunN

.lAl.lESF. DAVEY, Clerk

The following list constitutes an official inventory of items seized from '

. n
¢c.'.r¢‘*'..\\li`-';'ill 949 rul/9 {/q.-\J.cn.¢-jla-./|{'{Om jill-l C,l‘fla§r':" lJC: \ ¢"::,U“\J'P l)

lpmon, premium convsylm:el

 

on A/ ' ‘-é"\ |' S; f at 315 0 ';!l.m.. as a result of a U S. Dlstrlct Court Search Warrant
lll I‘

by the U S. Poeta| lnepectlon Servlce -')-\.0.£¢5» (/ g G~rf;' `-»\q d»\/{'

 

 

/{ Q ’\/ 12
h This search warrant inventory was prepared by-%nepecwr A+" lehman mfll_.)u. Jr" /l_-_»W
v / _ -
/< “'“"*‘ "‘é"'" A US C'S and in the presence of lnepector ` : \ 7 1'1£_?, ,,,, §
u.': c

U.S. Poatal lnspectlon Serylce.

l hereby acknowledge receipt of a copy of the attached inventory as presented to me by a member

of thel U.S. Postal |nspectlon Servlce.

Q\ (:) (l.-L-://;ri§{g . ’(/'_/77‘ P£/

'/} (Signetdre of Reclpient) (Date) _ _. ‘

E| NOTE: Check block if locatioh' of search warrant was unoccupied and copy left in conspicuous
location.

{This section to be completed only on official return to issuing Judgel _'»'

l swear that this inventory ls a true and detailed account of all the property taken by me on the
warrant.

 

(Slgnature of lnspector)

Subscribed and sworn to and returned before me this day of '

,19

 

U.S. Dlstrlct Court Judge/Magistrate

District of

 

D|STFl|EUT|ON ’
OFl|GlNAL COPY - issuing Judge
VELLOW COPV - lnepector
PINK COPY - Reclp|ent

   

' - - (:>.>\
`.

item # 4 PRiMAFlY LOCAT|ON:

c'_"1¢‘¢“'\»-\ _i lb rd-‘|;;‘o"

il 69

lm,_»gf~a mann-raw r».»s,»~n¢i,‘\;»_ ¢.<~ ;-p ~

CaS€ 1.85-Cr_-CiOQ.33-.]G.E___D_O_CU_in1LJ.Q_Fi|€QO3/Q8/_18_P___ge 23 Qi 311

r ' ll
SPEC|F|C LOCAT|ON: ¢p!¢‘-¢-S '-H'i!'-‘l--ir. '\1 "T~.»F ."i‘)
linn dr ________ _i__/_____r/_r.:-_ mm

oescanTloN: f‘“~\e¢,-=-.l:)\ m z:,»_/ _.~

   

-;m;__

--'-._i"r-' .-\ -'-h\ r--~w M\H;

l ___5;

. f
419 m d’r -ch- gin l /i'_'!-? qif.'.-*J {,Urfj _, 7(5_14£-.\4 ,€;
t-`,'.<_..' il/

_¢” d

1
J»" ¢~\,,-`

551-4 {.E-»-..h'!..

/L£»rta.l/ M.d-i fly

0

 

\

 

 

item # PR|MARY LOCAT|ON:

SPEC|F|C LOCAT|ON:

0/('__‘1 .

/*’iA.'i‘

 

 

 

 

 

item # _L

PRIMARY Lo.cATloN 590/ip W>HL r'-_`il'A-. )Uid- _.¢.n)-c_ /ilf___l»/< @¢L»l,\
sPEciFlc LocArioN. __-_/l?r»- s Mg_ Wé;~ _

. 7-¢7 /‘Z-'frl ii V.

 

119)¢7'

A___l 3 sale

DEscan_rloN. nw »’. weir a

"" r'it:i:.:‘.§ fi¢i,;/¢¢'r_s.+'~/.

»me'/`a,,/ dial/165

/iio.rid 131th _,-

 

 

item # L

 

PRiMARY LocATloN:QO/?i"li\.:» rir."JL/ilr lied lrdock ,(_»i¢i¢/€/<fzei/¢-_=M.
Al"+l‘r; l _J-'. i._) \"

_ sPEoil-flc Loc_A_rloN= /"'i-L“< Dw'».¢»`/_ 1r`,_~._. -i-m

 

 

_l

(`:O'P'q\l\.-\» `

d .

‘_ ' nEscniP_rioN. ;/l a _`r'z¢_¢,-i_/s £."ri.-nl_¢ :h»_li“_»i-'
i .-_.l_

~")~`.-’i/J

-°r/-;/"z "i'.'. rn'wl`i'.' './zi"lv’l/'l'<.

 

 

i,_._ 1

PREPARER'S |NiTiAi_S_l_;l/l l

DiSTFl|EUTiON
OR|GINAL COPV - issuing Judge
YELLOW COPV - inspector ,
- PINK COP¥ - Recipient

 

 

l ,

item # _é’__

item # 7

 

 

item # g

 

 

~ - muv>s..\» -- -»-\e»~- saw »~»_ -2"4;1-, ».__ .

CaSe 12 85- -Fr-QQQSS-.]GP -DQCUmenLJ_C)_ l_:_iled_0_3108/18 P899 84 Oi 311

     

 

l_/:)\ f> Je._-~Z__ofi_

PnlMARY LocATloN- oil/Y/,F;,,_ lj.._M /\ /rx/ni`er ij_-.._i ._ .@.»i.\
sPEciFlc LocAnoN= _-_--'=-'_1 il_i¢h-'- il‘»"*~-/ .`<»¢i_» i___,.i -, C> -i-.i n
. |' ' 'i

 

DEscanTloN. ii b,/:w_ wall t a-»./ ingle/fanny

b/-‘i ¥~"|;i'i<') mike ila i'¢\,.!! /{_»¢ /iiicr /_/r_.. ..».~: ici-z
(,'J//-|TF*P’L/ \»£_?r"il?/n_i J

 

 

PRiMAnY LocATioN: nQrF/ ?(_ér-'imm‘,=~ `i‘/‘i¢¢ l lUiJ/GDC /(.»'n/#rs il?'_~ir@~.

sPEcn=ic LocATioN= iii/rm i)-'r<$»_» _ 'i"_)»o ,L` lhmq._.,»

 

DEschPTioN. ici/ai- !<-P- _-Lw»l_ r<~ »~ re.ii_ .d.¢~~¢», .~t.c PA §§ ,l ._i_
145 #' isimé/ia?l..rra oil m ne HEc{cl_¢._ l r iii 'i|'¢-
v“la"i'a Dari:.rq eigm.*i'i.¢z Hii.: fimF». 1¢2¢:¢/,_1.,.»\],. 2/] :‘i"‘ `-"‘.'T'A,L

di "' lin-i- i)-\ ||:g__`il;_+ J§¢* _i;'¢"-'.ll i;-'.l .- ":}' /{‘/|fr-//L/_.'¢mg 74"'?1£-';,-,'2.‘#;2:-¢§

PniMAnY LocATiou: _,.‘.'Jfl/f' c-’/J:»wr.-?»Z/_ FZA`i-~.»_ /U(,J CJDC ./i._l:¢lp_.¢ f?y_¢i,,_d\__.
sPEchic LocATloN: O_ha_\.@-i:£i'i~e ri ?ii'i' li; `l‘i~¢_rlv.»-;<-.¢i_. ‘

 

 

 

 

DESCRIPT|ON: £4 94"£1 § J.»:¢nc O\'L¢l /li¢fn. N»: ILL¢-//£_“.'¢-.¢ fwth
6 -:€}-A?e& jn.: -4\1; fqn_€ f../J";‘i.{,/ ;'7/. rio frn_..si '\ J-i': !.?)i_ \`L)s_

:¢1'1 {1' hid érfq ri'ir£r‘l\t€,._[ /AIH“" i"}_l£ 'Mn`l'($( _i!'i mri/ill M;d{r'/,l

 

 

PaiMARY LocA_rloN: £dliLee_i/_¢/_UOJ. M>c. A(;= i ,_» ‘.‘Iz'ii,i,w.

 

specific LocA_rioN jim/wi ~L._. / ul ‘r[»{/ ria/vic .][ fail A’£i/

011 1‘£1 J
DescmPTloN. 3_;9_1/ ?.em- eli _:i /
¢ l

_-:ii/"f"ifl‘§it"'éj/‘i£l:_/

 

 

 

 

PREPAREn's iNiTlALs ./.?/_/_ i:-’F;.¢g..=__-
D|STR|BUT|ON

OFliG|NAL COP¥ - issuing Judge
VELLOW COPY - lnapector
P|NK COPV - Recipieni

 

Case 1:85-cr

 

\.;_>\1__5;_,\'%: -.'..~:\.-1"" -mm~aogi,u-<"s ¢r-zwox-> »,»¢¢.se»~\)y~<.h-¢- -M. 4_,~9,»_ \,..:-_ !.';;.~;"\"~. ;.

DOOSS»-.]GR_-_~DOCUM€.DI 1_O EilEd.O.$lOB/l$ P_ag€' 25_01_ 311 d 1.__“‘__,____$
l (D` /")'ge.i__bf_[;_
l§em#; PmMARY LocAT\oN- ¢?»Lr'-/('m ~».-.rvi Tiji/.w éjf` < /Li' ./€rs /§ /@)¢)»\
sPEcn=lc LocATloN. N/Te §7/-“i ii Tii¢ mmi i .~.i Hc>liws fmi

ow’k_i C-(r¢¢¢...Jc-' x --.(` ,t.i¢i€ <`/v-\;_i_ ,
oEscmP‘rloN: /i J?ii"i'o _:=Mi i_ m- I:i-. _<`i»¢ '¢¢‘wi-L-E-EZ , a

i` /r .
iM¢'M»\.v\¢'i;\r idlqi»\“(' _1€. 100( ll " -rua¢i.¢v£. ‘\Ema -."/` il o w

   

 

 

 

 

 

 

 

 

. 1-
\
item # _L PRiMARV LOCAT|ON: " -' ' ' .’“`
sPEchlc LocATloN=
*~ _ DEqull»‘TloN:

 

 

 

 

item §»___ PmMAnY LocATloN:

 

SPEC|F|C LOCAT|ON:

 

' DEscanTloN:

 

 

 

 

item # _ PR|MARY LOCAT|ON: '

 

b sPEcl‘r-‘lc LocATloN:

DESCR|PT|ON:

 

 

 

 

 

/1

;,
PREPAHER'slNlTlALs__// /i<i?(g _,

/

DiSTFiiBUT|ON
OR|G|NAL COPY - issuing Judge
YELLOW COPY - inspector ,
- PlNK COP¥ - Reclpient

Case 1:85

 

 

 

 

 
 

--e¥-QGOSS-.]G~L~Deeumem._;lro EHeciDB/OB!ZLS P;Q&Z§L)f£l'],:__-_f-

` -f`_) 5) `;e_‘~'< of_w
|tem # _!l__ PR|MARY LOCAT|ON:

 

sPEchlc LocATloN; De»..-.; owns sum mm _¢,{,. 1'+""“ f_.h.-, i’._J
.~.--;M~ Cn...~_.u.¢_“;\:cu S,'* r¢._/, .\L._.u.,a..

DEschPTloN: fiss\~.Y-=.r~. »Mrw-.-~»r¢l 11»'*_1‘_ ,`.L.A.. 1..,.~.&1..
1?12~» ‘1»-.: o-~.\-T' Lon»ru----» c..-;.¢....¢TT-.r T)T~L.l.- ].M_»i.'...»-',‘CFE¢

§..Q-a.\g\ gun-ta 1 L~'-'\-'b"..'\h .-£:.1$~:}§--.. -'JW)\#\-.z'- 15 '1..."¥~ v.x»'~ 113-A-
' . "l

 

' ' --..». ah f
g § {__ _____ `.;1;,~1 "_!'.;’!_-*\"1_'
t -_ "l \.,' 1

. --*’"
`_..__-

item » _1-._l ` PRlMARY LocATloN:
sPEchlc Loc;ATloN: _T`.~.\_-~=£\ .~O .Q.»~. !)..¢,...'L,.'d ' 1 -L~J.' .m.~'-{
~»{~.""~'-v'”“ _:».*'Lm. LJM...., 'Z,._ c..¢~` ¢1,.. ,,.‘.1¢ ¢’

 

 

 

 

 

DEscmPTloc~£: /3-'-' ~'~- ‘»"'1 "(-’ "'--_;J-'-#“-'/" '#" f " ' "#" "
/)_.l_.q{'-';`/(/ ;.r_.‘.~,.-."'/:.'n_:»_.) f ...‘
/ fm _¢ "| ¢H-| ,u°{

 

 

 

 

 

 

' r
~ 1 '-?," "/) )`q
»\`- ! -l l`.
4 -A`- - `:, -l ,r _
lrem#_H_ PalMAnY LocA'rloN: \1- .' _~1 ' 1:; .‘
-.§ .‘ -;'3"-` : _ _.’ .. . -
`-'- sPEchlc LocATloN; s `”=.: .1',-'1»-‘:* 1 {.jrc.r.‘ /I'/ »_.)¢ -_».»'“".~-
.t'~' *~,. _-*~:~ _) -'
1` " !J"L"* "' _
~""~T- \`:- " ‘ " `3\'1 -‘-,- :
DEscanTloN: ._'M=£?~'-“ __»»;';?'w-“-*! f -- \-) r f -,1 ..- x_-, u,.r-,-

 

‘_ `l-J-.'¢f ¢' , m ij ‘\ ".' }4_ 4/# t/ _l‘. ~ .,L'l}

 

 

 

ltem # `LL -: PR|MARY LOCAT|ON:

 

 

 

. sPEchlc LocATloN: /'5 -.u.fr ,J r’/‘F' =.~ .», :t" ~. ¢L'.f _>..f’- ;z_ -

 

 

 

_"'-' - ` _}}r(_ cfr ' i'_..’" ';/ vii "' .- -~>-, ',\ n j l
DEscmP'rloN: ` j .' ' c ' .~~f .--.' -- r`. ~
\ ,_ _ \ |.l . -_' l, , l 1 ' ‘_,,.
_"' ""'7:-\/' -' -'-< <-f»";--*-'f/ .» "1 »'-- ¢_1"'1..-’1~' has C-_»'M (;\_
|':'__‘ f _.‘l' 11 | j ' \\] "1'-

 

§ L/f -/ Z. -)'/

 

;1 " `.
PF\EPARER'S |N|T|ALS_";,`L'_`

D|STR|BUT!ON
OR|G|NAL COPY - |ssulng Judge
VELLOW COPY - |nspeclor
PlNK COPY - F|ecip¢ent

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 27 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Plaintiff, Criminal No. 85-00033

Hon. John Garrett Penn

F|LED

'_1. 1953
]AM ES F. DAVEY, Clerk

GEORGE A. NADER

)

)

)

)

v. )
)

)

)
Defendant. )
)

 

MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANT‘S MOTION TO SUPPRESS

WILLIAMS & CONNOLLY

David Povich
Richard S. Hoffman

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5500

Attorneys for George A. Nader

LAW OFFlCES
W|LL|AMS & C°NNOLLV
HH.|.. BUU..D|NG
WA$H|NGTON. D.C. 10006

 

AREA CODE 202
33|-8000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 28 of 311

TABLE OF CONTENTS

 

INTRODUCTION o l n 0 q l § § 0 c a l l c c l o o o l l 0 o t \ t o a n l o 0 0 0 o o o o l b 0 1
FACTUAL STATEMENT¢ o 0 0 l n 0 0 0 0 l 0 0 0 0 t 0 l l 0 l 0 l n 0 0 0 0 0 b 0 0 l 0 o l 0 t 2
ARGUMENT| 0 l t 0 t o l l 0 n o 0 l 0 0 0 0 0 n c l 0 0 0 0 0 t 0 0 l 0 0 0 l 0 0 l 0 ¢ ¢ l 0 t 0 0 l 4

I. THE SEARCH OF DEFENDANT'S HOME WAS
CONDUCTED PURSUANT TO AN UNCONSTITU-
TIONAL GENERALWARRANT....I°...I.l....°......l... 4

II. THE CUSTOMS SERVICE VIOLATED FEDERAL
LAW IN THE INITIAL SEARCH OF THE
ENVELOPE AND BY IGNORING MANDATORY
FEDERAL PROCEDURES FOR THE SEIZURE OF
ALLEGEDLY OBSCENE MATERIAL....................... 11

A. The Initial Border Search WaS
Contrary TO Statutel.l.l.l..¢.....C.ICC.I..I. ll

B. The Subsequent Delivery Of The Material
Seized By Customs Officials Violated
The Mandatory Procedures Of Federal

Lawl¢l¢ll¢c¢l¢0‘00000000000¢.00¢-¢.¢\¢¢»¢¢¢0¢ 14

C. The Government's Violation of Federal
Law Requires The Suppression of
Evidence Obtained In The Subsequent
Search....................................... 21

III. THE STATEMENTS ALLEGEDLY MADE BY THE

DEFENDANT WERE THE FRUIT OF THE
UNLAWFUL SEARCH...........°.........I..I.ll‘..... 27

IV. THE DEFENDANT'S STATEMENTS WERE OBTAINED
AS A RESULT OF MATERIAL MISPRESENTATIONS
BYGOVERNMENTAGENTS.....‘.I...I...l..ll.ll...'l. 30

CONCLUSION¢cou.|¢.IO¢O¢ll'\lciul¢.ic050.00.000¢¢.\..0¢¢ 34

EXHIBITS

A. Affidavit of Agent Donald Bludworth
LAW QFF|CES
wn.LlAMs a coNNoLLv B ' Search Warrant
wu=wwme C. Search Warrant Inventory Report

WABH|NGTON. D.C. 20006

 

AIEA CODE 202
33|-8000

LAW OFFIl:‘.ls
WlLLlAMS a CONNOLLV
Hl\.L oulLDlNG
wAs»-MNGTON. D c. 20006

 

A|\EA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 29 of 311

M

The defendant, George A. Nader, has been charged in a
two count indictment with importing and mailing obscene material
in violation of 18 U.S.C. §§ 1461, 1462 (1980). The indictment
concerns a single envelope mailed to J. Nader at 2019 Connecticut
Ave., N.W., containing four magazines, a film and one advertise-
ment which the government alleges are obscene. For the reasons
set forth below, the material seized during a search of defen-
dant's home and subsequent statements obtained from the defendant
must be suppressed: (1) the search of defendant's home was
conducted pursuant to a general warrant in violation of the First
and Fourth Amendments to the United States Constitution; (2) the
envelope was seized by Customs agents without "reasonable cause"
as required by federal law; (3) the envelope was subsequently
delivered by Customs agents in New Jersey to agents in the
District of Columbia in clear violation of a federal statute; (4)
the statements which the government will allege were made by
defendant were the direct result of the unlawful search and
seizure; and (5) the defendant's statements were obtained as a
result of material misrepresentations by government agents in

violation of his Fifth and Fourteenth Amendment rights.

§E§E§
On March 26, 1984, a Customs inspector in New Jersey,
acting without a warrant; opened a sealed letter class envelope

addressed to "J. Nader." See Exh. A, Affidavit of Donald

LAW \`.\r-‘FlCES
W|LL|AMS l CONNOLL.V
HILL BUlLDlNG
WA$H|NGT°N, D ¢. 20006

 

AIEA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 30 of 311

Bludworth ("Bludworth Aff."). According to the affidavit, inside
the envelope was one eight millimeter film, four magazines and
one advertisement which the Customs agent determined were
obscene. ldf The envelope was resealed and sent to the Customs
Service in Reston, Virginia where it was again inspected by agent
Bludworth.

On April lO, certain of the material from the envelope
was shown to a United States magistrate in Washington, D.C.,
presumably in preparation for issuance of a warrant. Two days
later, an affidavit was filed in support of a warrant to search
defendant's home. The affidavit described the contents of the
envelope and also contained the hearsay statements of a second
Customs agent that in "his experience" persons possessing the
type of material described in the application "generally have a
large quantity of pornographic material which is usually of
foreign origin." Bludworth Aff. at 2.

After twice unsuccessfully attempting to deliver the
envelope, the agents succeeded in having defendant's landlordl/
accept it. The affidavit discloses that delivery was made on
April 12, 1984 at "1340 hours." Apparently, fifteen minutes
later a warrant was issued. _§ee Exh. B, Search Warrant Dated

April 12, 1984, 1255 p.m. The warrant authorized the seizure not

only of the film and magazines particularly described, but also

1/ Defendant rents a room from an older couple in a private
home.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 31 of 311

of "other photographs, magazines, writings and documents which
are evidence of violations of [the federal obscenity laws] Title
18, U.S. Code Section 1461 and 1462." Exh. B.

Immediately upon entry into the home, the agents dis-
covered the envelope, containing all of the materials particu-
larly described in the warrant, sitting unopened in the hallway
of the home. The agents were told by defendant's landlord that
Mr. Nader was out of town, first at the time the envelope was
delivered and again fifteen minutes later when they entered to
conduct the search. Three agents seized the envelope and
proceeded to defendant's room where they searched all of his
possessions and confiscated enough material to fill fourteen
large plastic bags. Among the material seized were a number of
magazines and books which the agents presumably thought were
obscene. In addition, the agents seized the following items:
newspaper articles; handwritten correspondence between the defen-
dant and a number of people; the defendant's address book; a bag
full of Christmas cards; undeveloped film; the defendant's per-
sonal photo album containing pictures of his travels and friends;
a stuffed animal; and a toy truck.g/ With the exception of the

contents of the envelope, none of the material seized from the

g/ This description is based upon counsel's inspection of the
seized material at the United States Attorney's office. An
Mw“n“s inventory of the search was prepared and is attached, but it
MMMMS*¢NW°M¥ is largely illegible and fails to list much of what was
m“°“mm° seized. §§§_Exh. C.

WA$H|NGT°N, D.C. 20006

 

AREA CODE 202
33|-5000 3

LAW oFFlCES
WILLIAMS a CONN°LLY
HlLL BU|LD|NG
WA$H|NGTON. D.¢. 20006

 

AREA CODE 202
33|-500°

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 32 of 311

premises was listed or particularly described in the agent's

affidavit.

M

I. THE SEARCH OF DEFENDANT'S HOME
WAS CONDUCTED PURSUANT TO AN
UNCONSTITUTIONAL GENERAL WARRANT.

 

The warrant issued in this case is a classic invalid
general warrant permitting the government agents to rummage
unfettered through defendant's home and make discretionary judg-
ments about what he should or should not read. The agents in
this case made full use of their unconstitutional authority.
After seizing the package that contained the only items described
with particularity in the warrant from a downstairs hallway in
the home, they proceeded to tear apart defendant's room, over-
turning the carpeting, upending the bed, and taking whatever
suited their fancy. They seized eleven large bags of written and
printed material, including personal correspondence, family photo
albums, children's toys, heterosexual adult magazines and a
variety of other written and printed material. It is for this

very reason that the Supreme Court in Lo-Ji Sales, Inc. v. New

 

§§£k! 442 U.S. 319 (1979), held that a warrant almost identical
to the one in this case violated the basic Fourth Amendment
prohibition against general warrants.

In Lo-Ji Salesr police presented a magistrate with two
films purchased at an adult book store. Upon viewing the films,

the magistrate determined that there was probable cause to

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 33 of 311

believe they were obscene and issued a warrant. 442 U.S. at
321. The warrant application also stated the belief of the offi-
cers, based on their examination of material at the store, that
there was other "similar" material present on the premises. The
warrant authorized the seizure of the two films and "similar"
material that was not described, The magistrate accompanied the
police on the search in order to make an independent examination
of each article prior to seizure to determine probable
obscenity. _ld. at 320-21.

A unanimous Supreme Court held the warrant and accom-

panying search unconstitutional:

This search warrant and what followed the
entry on petitioner's premises are reminiscent
of the general warrant or writ of assistance
of the 18th century against which the Fourth
Amendment was intended to protect. See
Marshall v. Barlow's, Inc., 436 U.S. 307, 311
(1978); Stanford v. Texas, 379 U.S. 476, 481
(1965); Marcus v. Search Warrant, 367 U.S.
717, 724 (1961). Except for the specification
of copies of the two films previously pur-
chased, the warrant did not purport to 'par-
ticularly describ[e] . . . the . . . things to
be seized.' U.S. Const., Amdt. 4. Based on
the conclusory statement of the police
investigator that other similarly obscene
materials would be found at the store, the
warrant left it entirely to the discretion of
the officials conducting the search to decide
what items were likely obscene and to
accomplish their seizure. The Fourth
Amendment does not permit such action.

 

422 U.S. at 325.

The particularity requirement of the Fourth Amendment is

LAW OFFlCES
W|LL|AMS h CoNN°LLV _ . .
mdewmm¢ expressly designed to prevent "general exploratory rummaging 1n a

WASH|NGTON. D C. 20006

 

AIEA CODE 202
83|-$000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 34 of 311

person's belongings," Coolidge v. New Hampshire, 403 U.S. 443,
467 (1971 , and "the seizure of one thing under a warrant
describing another. As to what is to be taken, nothing is left
to the discretion of the officer executing the warrant." Marron
v. United States, 275 U.S. 192, 196 (1927).

The Court in Lo-Ji Sales recognized that where the sub-
ject of the warrant is allegedly obscene material, the particu-
larity requirement of the warrant is especially important. 422

U.S. at 327. See also Roaden v. Kentucky, 413 U.S. 496, 501

 

(1973)("The Fourth Amendment proscription against unreasonable
. . . seizures . . ., must not be read in a vacuum. A seizure
reasonable as to one type of material in one setting may be

unreasonable in a different setting or with respect to another

kind of material"). In Stanford v. Texas, 379 U.S. 476 (1965),

 

the Court reviewed the history of the Fourth Amendment in detail
and concluded:

In short, what this history indispensably
teaches is that the constitutional requirement
that warrants must particularly describe the
'things to be seized' is to be accorded the
most scrupulous exactitude when the 'things'
are books, and the basis of their seizure is
the ideas which they contain . . . No less a
standard could be faithful to First Amendment
freedoms.

379 U.S. 485 (citations omitted).
Thus, "[b]ecause of the First Amendment, the seizure of

all publications must meet higher procedural standards than nor-
LAW OFF|CES , . 1
wmunw.¢mwowy mal. . . The importance of protecting First Amendment freedoms

HlLL BUILD|NG
WA$H|NGT°N, D C. 20006

 

AREA C°DE 202
33|-5000 _ 6 '-

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 35 of 311

precludes police officers from making_ad hoc determinations at
the scene as to which materials are probably obscene." United

States v. Sherwin, 572 F.2d 196, 200 (8th Cir. 1977), cert.

 

denied, 437 U.S. 909 (1978); accord, United States v. Guarino,

 

729 F.Zd 864, 866-69 (lst Cir. 1984)(en banc); United States v.

' Kelly, 529 F.2d 1365, 1372-73 (8th Cir. 1976). It is for that

|
reason that the Court in Lo-Ji Sales held that it is unconstitu-
tional for the magistrate to permit government agents "to seize
all 'similar' items as well, leaving determination to the
officer's discretion." 422 U.S. at 327.

The warrant in the instant case suffers from the same
deficiencies as the warrant in Lo-Ji Sales. After permitting the
seizure of particular items described to the Court in advance, it
authorized the seizure of anything else the officers determined,
in their sole discretion, violated the federal obscenity laws.
The statement last year by the First Circuit gn_banc in
practically identical circumstances applies equally to this case:

To tell the officers to seize anything

which, in their opinion, meets the omnibus

legal definition of obscenity is not

'scrupulous exactitude.' Nor does it become

such by adding 'of the same tenor' as three

named magazines, especially when the sameness

is so broadly defined as to include any

communicative material, from books to prints
to motion pictures.

 

United States v. Guarino, 729 F.2d at 867 (emphasis in original).

 

In this case, the agents exercised their authority with
LAW OFFlCES
WHMMS*UWNTU a vengeance, seizing practically every written or printed item

H|LL IUlLDlNG
WA$H|NGTON. D.C. 20006

 

AREA C°DE 202
33|-5000 7

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 36 of 311

owned by the defendant -- from letters to his friends to
undeveloped photographs of his vacation in Europe. Courts have
not hesitated to strike down warrants that authorized such
overbroad seizure of written or printed material on numerous

occasions. See, e.g., United States v. Abrams, 615 F.2d 541 (1st

 

Cir. l980)(warrant authorizing seizure of certain medical and
billing records that evidence a violation of U.S.C. § 1001, held

unconstitutionally overbroad); In Re Application of Lafayette

 

Academy, Inc., 610 F.2d 1 (1st Cir. 1979)(warrant "framed to
allow seizure of most every sort of book or paper at the
described location, limited only by the qualification the seized
items be evidence of violations" of certain statutory sections,
failed to meet particularity requirement of Fourth Amendment).

Moreover, the procedure utilized in this case is more
offensive than that in Lo-Ji Sales for four important reasons.

First, in Lo-Ji Sales the magistrate accompanied the
police on the search and made an initial determination of prob-
able obscenity. Although the Court held that this procedure was
inadequate, there was at least some determination of probable
obscenity prior to the seizure. Here, by contrast, the agents
exercised unfettered discretion without even an attempt at
judicial intervention.

Second, Lo-Ji Sales involved a commercial establishment

and the sale of obscene material constituted a crime under the

LAW oFF|CES

w"`L':,':Ls:u::::°""v applicable New York penal law. Here, regardless of whether the

WASH|NGTON. D.C. 20006

 

AREA CODE 202
331-5000

LAW oFFlCES
W|LL|AMS h CONNQLLY
HlLL BU|LD|NG
WASH|NGT°N, D.C. 20006

 

AREA C°DE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 37 of 311

"similar" materials seized from defendant's home are obscene or
not, his possession in his home of those materials for personal
non-commercial use is protected by the First Amendment. Stanley
v. Georgia, 394 U.S. 557 (1969)(First Amendment and general
privacy rights prohibit criminal prosecution for possession of
obscene material in the home).

Third, the court in Lo-Ji Sales held that permitting the
seizure of other material not particularly described in the
affidavit was unconstitutional in spite of the fact that the
officers based their conclusion that there was "similar" material
on personal observation of the magazines at the place to be
searched prior to obtaining the warrant. Here, the sole basis
for authorizing seizure of other "pornographic" material was the
hearsay statement of a Customs officer who had never seen
defendant with any such material and had no information about the
defendant other than that his name was on an envelope that
contained some such material.

Fourth, the warrant in this case was for search of a
private residence, not a commercial establishment which sold the
material to the public. Although the Court in Lo-Ji Sales held
that even a commercial establishment had a protectable privacy
interest, the legitimate expectation of privacy is much greater
in a private residence. The Supreme Court has stated forcefully
and often that the invasion of privacy accompanied by a search of

a private dwelling "is the chief evil against which the wording

\.AW OFF|CES
WlLLlAM$ l C°NNOLLV
Hl\.L BUILD|N6
WASH|NGTON. D.C. 20006

 

AIEA CODE 202
33|-8000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 38 of 311

of the Fourth Amendment is directed." Welsh v. Wisconsin, 104

 

S.Ct. 2091, 2097 (1984); see also Payton v. New York, 445 U.S.
573 (1980); United States v. United States District Court, 407

U.S. 297, 313 (1972); Johnson v. United States, 333 U.S. 10, 13-

 

14 (1948). For that reason, a warrant such as the one in the
present case, which authorizes a general rummaging through
defendant's personal possessions for material not described, and
leaves to the officers the determination what to seize, is
especially offensive.

Because the warrant was invalid on its face, the search
of defendant's home was unlawful and all of the evidence obtained
as a result of the search must be suppressed. As explained in

United States v. Burch, 432 F. Supp. 961, 964 (D. Del. 1977),

 

aff'd, 577 F.2d 729 (3d Cir. 1978), the fact that there may have

been probable cause to enter the premises to seize some partic-
ularly described items does not affect the suppression remedy
where a general warrant was obtained and executed:

[T]he Fourth Amendment has a second and
distinct objective -- to ensure that those
searches which are authorized are as limited
in scope as the justification for them.
"Here, the specific evil is the 'general
warrant' abhorred by the colonists, and the
problem is not that of intrusion per_§e, but
of a general, exploratory rummaging in a
person's belongings." Coolidge v. New
Hampshire, supra, at 467. It is in this
second respect that the warrant failed. The
inclusion of the specific reference to tires
afforded no protection to [the defendant‘s]
right to be free from a general search. The
search which the warrant authorized, and the
search which in fact occurred, was no more
narrow by reason of the inclusion of that
reference than it would have been in its
absence. . . . In sum, there was only one

 

.._10_.

LAW OFFlCES
WlLLIAM$ l c°NN°LLV
HlLL IU|LD|NG
WASH|NGTON, D.C. 20006

 

AREA CQDE 202
83|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 39 of 311

search, that search, unlimited in scope as it
was, violated the Fourth Amendment, and the
tires were the fruit of that search.
Accordingly, they must be suppressed.

So too here, the description of the contents of the

envelope no more limited the search than if the warrant

authorized the agents to seize anything they found that they

believed was "pornographic." Accordingly, all of the evidence

3/

obtained as a result of the search must be suppressedf_

II. THE CUSTOMS SERVICE VIOLATED FEDERAL LAW
IN THE INITIAL SEARCH OF THE ENVELOPE AND
BY IGNORING MANDATORY FEDERAL PROCEDURES
FOR THE SEIZURE OF ALLEGEDLY OBSCENE MATERIAL.

A. The Initial Border Search
Was Contrary To Statute.

 

The affidavit of U.S. Customs Agent Donald Bludworth

filed on April 12 in support of an application for a search

Even if the warrant were limited to the items particularly
described, to "condone what happened here is to invite a gov-
ernment official to use a seemingly precise and legal warrant
only as a ticket to get into a man's home, and, once inside,
to launch forth upon unconfined searches and indiscriminate
seizures as if armed with all the unbridled and illegal power
of a general warrant." Stanley v. Georgia, 394 U.S. 557, 572
(1969) (Stewart, J. concurring). As the D. C. Circuit
recognized, citing Justice Stewart in Stanley, "[c]learly the
plain view exception must be defined in such a way as to
preclude using a document search warrant as authority to
search for and seize all evidence of wrongdoing in the form
of documents which happen to be located at the search cite."
In re Search Warrant Dated July 4, 1977, 667 F.2d 117, 144
(D.C. Cir. 1981), cert. denied, 456 U.S. 926 (1982)(Wald, J.
concurring, but stating the opinion of the majority of the
court on this issue). In this case, the scope of the search
so exceeded the scope of any lawful construction of the
warrant, that the entirety of the material seized must be

suppressed. United States v. Rettig, 589 F.2d 418, 423 (9th
Cir. 1978).

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 40 of 311

warrant of defendant's home states that the envelope addressed to
"J. Nader" was opened on March 12, 1984 pursuant to "customary,
normal border searches of incoming mail." §§§_Exh. A, Affidavit
of Donald Bludworth. The law does not permit random or "normal"
searches of incoming letter class mail. By statute and regula-
tion a warrantless search of incoming letter class mail may be
conducted 2211 upon a "reasonable cause to suspect" the presence
of material improperly being imported into the United States.
Because the mailed article which the subject of this indictment
and basis for the search was illegally searched, the evidence
obtained by reason of the Customs search and later Search of
defendant's home must be suppressed.

It is well settled, and we do not dispute, that Congress
has the power to authorize the Customs Service to search incoming
material at the border without first obtaining a warrant and upon
less than probable cause. United States v. Ramsey, 431 U.S. 606
(1977). The authority of Customs inspection, however, is derived
from a statute and the search must be conducted pursuant to the
statutory requirements. l§;_at 615; DeVries v. Acree, 565 F.2d
577 (9th Cir. 1977). The authority to search incoming mail is
established by 19 U.S.C. § 482, which reads in pertinent part:

Any officer of the officers or persons

authorized to board or search vessels may

. . . search any trunk or envelope, . . . in

which he may have a reasonable cause to sus-
pect there is merchandise which is imported
LAW oFFlCE$

wlLl.¢AMs a coNNoLLv Contrary to l aW o

HlLL BU|LD|NG
WASH|NGTON. D C. 20006

 

 

 

AIEA CODE 202
33|~900°

._12_

LAW OFFl¢ES
wlLLlAMS a C°NN°LLV
H|LL BU|LD|NG
WASH|NGTON. D C. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 41 of 311

(Emphasis supplied); see United States v. Ramsey, 431 U.S. at

610-13.

 

The material addressed to J. Nader was contained in a

sealed letter class envelope. §§§_Exh. A, Bludworth Aff.

Section 482 prohibits the opening of such mail on a random basis

absent a particularized suspicion that the envelope contains

contraband or illegally imported merchandise. In DeVrie§ the

Ninth Circuit expressly rejected the argument that the Customs

Service may make random searches of incoming mail:

565 F.2d

The sweeping power over international mail
that United States v. Ramsey (1977), 431 U.S.
606, said was not asserted by the Government
in that case is sought here. If the
Government's argument were sustained, every
piece of first class letters (sic) from abroad
addressed to any person or corporation in the
United States could be opened and searched by
Customs officers at will or whim. We reject
the Government's contention on statutory
grounds[.]

at 578.

The court in DeVries, relying on Ramsey, held that

Customs regulations necessarily incorporated the reasonable cause

to suspect test adopted by the statute. _ld. at 578. In 1978, in

reSpOl'lSe

standard

to Ramsey and in order to remove any doubt about the

4/
to be applied to opening letter class mailf_ the

4/ Prior to the regulation enaction in 1978, there was a dispute
in the courts whether 19 U.S.C. § 1582, permitting the search
of "persons and baggage" by Customs officers without any
individualized reasonable suspicion was a source of authority
for 9 C.F.R. 142 governing the search of incoming mail.
Compare DeVries v. Acree, supra (holding § 1582 did not apply
to mail importation) with United States v. Odland, 502 F.2d

(continued)

_ 13 _

LAW CFFICES
W|LL|AM$ 0 CONNOLLV
HlLL IUILD|NG
WASH|NGTON. D.C. 20006

 

AIEA CODE 202
33|-8000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 42 of 311

Department of the Treasury promulgated regulations which
explicitly state that letter class mail cannot be searched at the
border without a "reasonable cause to suspect" that the partic-
ular article in question contains contraband or dutiable merchan-
dise imported contrary to law. 9 C.F.R. § 145.3 (1984).

The affidavit submitted by Agent Bludworth describing
the Customs search contains no statement regarding a particu-
larized "reasonable cause" with respect to the envelope addressed
to J. Nader and we do not believe there was any. If it is
necessary to reach this issue, in light of the other independent
grounds for suppression stated herein, defendant requests that
the government produce at an evidentiary hearing the records
which the Customs inspector is required to keep to determine the
reasons, if any, for the challenged search.

B. The Subsequent Delivery Of The Material

Seized By Customs Officials Violated
The Mandatory Procedures Of Federal Law

 

Title l9, Section l305(a) of the United States Code
prohibits the importation of "any obscene book, pamphlets, paper,
writing, advertisement, circular, print, picture, drawing or
other representation." The statute goes on to say that:

Upon the appearance of any such book or
matter at any customs office, the same shall

148 (7th Cir.), cert. denied, 419 U.S. 1088 (1974)(holding
random searches of incoming mail permissable). The regula-
tory amendment in 1978 makes this debate irrelevant as it
applies to sealed letter class mail because it makes the
requirement of "reasonable cause" explicit. See 9 C.F.R.

§ 145.3.

LAW OFFlCE$
WlLLlAMS a C°NN°LLV
HlLL BUILD|NG
WASH|NGTON. D C. 20006

 

AIEA CODE 202
331~50°0

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 43 of 311

be seized and held by the appropriate customs
officer to await the judgment of the district
court as hereinafter provided; and no protest
shall be taken to the United States Customs
Court from the decision of such customs offi-
cer. Upon the seizure of such book or matter
such customs officer shall transmit informa-
tion thereof to the United States attorney of
the district in which is situated the office
at which such seizure has taken place, who
shall institute proceedings in the district
court for the forfeiture, confiscation, and
destruction of the book or matter seized.
Upon the adjudication that such book or matter
thus seized is of the character the entry of
which is by this section prohibited, it shall
be ordered destroyed and shall be destroyed.
Upon adjudication that such book or matter
thus seized is not of the character the entry
of which is by this section prohibited, it
shall not be excluded from entry under the
provisions of this section.

 

 

 

 

 

 

 

 

 

 

In any such proceeding any party in

interest may upon demand have the facts at

issue determined by a jury and any party may

have an appeal or the right of review as in

the case of ordinary actions or suits.

19 U.S.C. § l305(a)(l980)(emphasis supplied).

The plain language of the statute and the cases inter-
preting it make clear that the detailed procedures set forth in
§ 1305 are mandatory and, indeed, constitutionally required, when
allegedly obscene material is seized. The government in this
case completely disregarded the statutory procedure and without

authority shipped the material to Reston, Virginia and delivered

the envelope to 2019 Connecticut Ave. Thus, even if the initial

 

border search was lawful, the subsequent delivery of the envelope

to the District of Columbia was in violation of a federal

statute. lt is that delivery which provides the sole basis for

LAW OFFlCES
WlLLlAMs l c°NN°LLv
H|LL BU|LD|NG
WASH|NGTON, D.C 20006

 

AIEA CODE 202
331-8000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 44 of 311

the search of the home where defendant lived. See Exh. B, Search
Warrant; Exh. A, Bludworth Aff.
The procedures required by § 1305 were set forth in

detail by the Second Circuit in United States v. Various Articles

 

of Obscene Merchandise, 562 F.2d 185, 186 (2d Cir. 1977):

 

The customs employee is directed to seize the
in-his-opinion offending article to wait the
judgment of a district court thereon. To this
end, the customs employee must transmit the
article "to the district attorney of the dis-
trict in which is situated the office at which
such seizure has taken place", and he,
undoubtedly through one of his assistants,
"shall institute proceedings in the district
court" for the confiscation and destruction of
the matter seized.

Some Assistant United States Attorney
prepares a complaint whereby he demands judg-
ment that the article is obscene and declares
that he wants it destroyed. He attaches a
schedule of all seized items (usually a week's
collection) and prays that all interested
persons be duly cited to answer. To all
addressees he then sends a notice, giving them
20 days in which to file a clahn, together
with a form for such claim and answer. Upon
receipt of such claims, if any, the matter is
set for a so-called hearing before a District
Judge. The notice to the addressees does not
appear to advise them of their right to a
trial by jury, but this right can be
claimed. (Emphasis supplied).

See alsolr United States v. One Book Entitled "The Adventures of

 

 

Father Silas," 249 F. Supp. 911 (S.D.N.Y. 1966).
Section 1305 dates back to 1873 and was part of the
original Comstock Act, entitled "An Act for the Suppression of

Trade in, and Circulation of, Obscene Literature and Articles of

Immoral Use." See §nited States v. One Package, 86 F.2d 737, 739

 

LAw oFFlcEs
WlLL|AM$ l CONNOLLY
mL.L aulL.mNr.
wAsHlNGToN. o.c. 20006

 

AIEA CODE 202
33|-!000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 45 of 311

(2d Cir. 1936)(Augustus Hand, J.). The procedures to be followed
upon seizure of allegedly obscene material were passed at the
same time that it was made a crhne to import obscene material by

what is now 18 U.S.C. § 1462. See Manual Enterprises v. Day, 370

 

U.S. 478, 506 (1962)(Brennan, J., concurring).

The Supreme Court on numerous occasions has held uncon-
stitutional statutes permitting administrative seizures of
allegedly obscene material. In Freedman v. Maryland, 380 U.S. 51
(1965), the Court held unconstitutional the Maryland system of
film censorship because there was no assurance of prompt judicial
review of the censor's prelhninary judgment that a film was
obscene. That rule was applied to seizures made of allegedly
obscene material found in the mails by a unanimous Supreme Court
in Blount v. Rizzi, 400 U.S. 410 (1971). In Blount the Supreme
Court struck down a federal statute that permitted the Postal
Service to refuse to process the mailing of any material relating
to the purchase of obscene matter. 400 U.S. at 411-14. The
Court held that procedures for the seizure of mailed material

violate the First Amendment unless they

include built-in safeguards against

curtailment of constitutionally protected

expression, for Government 'is not free to

adopt whatever procedures it pleases for

dealing with obscenity . . . . without regard

to the possible consequences for constitu-

tionally protected speech.' Marcus v. Search

Warrant, 367 U.S. 717, 731 (1961). Rather,
the First Amendment requires that procedures
be incorporated that ensure against the
curtailment of constitutionally protected
expression, which is often separate from
obscenity only by a dim and uncertain line

. . . . Our insistence that regulations of

_ 17 _

LAw oFFlc£s
W|LL|AMS a CONNOL|.V
HlLL sulLolNG
wAsHlNG'roN. D.c. 20006

 

AIEA CODE 202
33|~50“)

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 46 of 311

|
|
|
l obscenity scrupulously embody the most
rigorous procedural safeguards. . . is . . .
but a special instance of the larger principle
that the freedom of expression must be ringed
about with adequate bulwarks. . . . Bantam
Books, Inc. v. Sullivan, 372 U.S. 58, 66
|

(1963).

Under the criteria established in Freedman, to avoid
l constitutional infirmity a statute permitting seizure must:

place the burdens of initiating judicial

review and of proving that the material is

unprotected expression on the censor; require

| prompt judicial review -- a final judicial

l determination on the merits within a
specified, brief period[.]

|
l
l
l
l
l

l§: at 417. The Postal regulatory scheme in Blount failed this
test because it had "no statutory provision requiring govern-

l mentally initiated judicial participation in the procedure which
bars the magazines from the mails, or even any provision assuring

prompt judicial review." _ld. at 417-18.

 

l In United States v. Thirty-Seven Photographs, 402 U.S.

 

 

363 (1971), the Supreme Court "saved" § 1305 from a finding that
it was an unconstitutional infringment upon First Amendment
ll rights by reading into the statute strict time limitations upon l
|| the institution of the proceedings required by the statute.
| Absent the judicially imposed time limit, the Court stated that
the whole statutory framework permitting the Customs Service to
seize allegedly obscene matter would be unconstitutional. ldf at

l 372 ("The only alternative would be to hold § 1305(a)

LAW OFFlCES
WlLLlAMS l CONN°LLY
HlLL BU|LDlNG
WASH|NGTON, D C. 20006

 

AIEA CCDE 202
38|-50°0

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 47 of 311

unconstitutional in its entirety[.]"). Citing Blount v. Rizzi,

 

400 U.S. 410 (1971); Freedman v. Maryland, 380 U.S. 51 (1965).

 

The legislative history reviewed by the court in Thirty-

Seven Photographs and the language of statute support the view

 

that the forfeiture proceedings are mandatory. Justice White
pointed out that there was great resistance in the Senate to any
law that would vest an administrative officer with power to
confiscate written material, because, in his judgment, it was
obscene or indecent. 402 U.S. at 370. The determination was
made that a judgment on obscenity should be left to the Court and
jury, and that judicial proceedings should be commenced and
concluded promptly. lg: at 371. Two comments by supporters of
§ 1305 are instructive: one Senator noted "that a customs
officer seizing obscene matter 'should immediately report to the
nearest United States district attorney having authority under
the law to proceed to confiscate . . ." i§, at 371 (emphasis in
original), and another "noted that officers would be required to
go to court 'immediately.'" ldf

Based on this history the court held that a prompt
determination by a court as to the question of obscenity was
intended by the legislature, and construed the statute "to
require intervals of no more than 14 days from seizure of the
goods to the institution of judicial proceeding for their for-
feiture and no longer than 60 days from the filing of the action

to final decision in the district court." ld: at 373-74.

_.19_

LAW OFFlCES
WlLLlAMS h C°NNOLLY
HlLL BU|LD|NG
WASH|NGTON, D.C. 20006

 

AREA CQDE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 48 of 311

There is no exception from these mandatory procedures
where the government intends to prosecute a case criminally. Nor
is there any possibility that in passing this procedure or con-
struing it Congress and the Court were not congnizant of the
possibility of criminal proceedings. As previously stated,

§ 1305 was enacted as part of the same statute that made importa-

tion of obscenity a crime, and Thirty-Seven Photographs was

 

decided the same day that the court upheld the constitutionality
of making it a crhne to send obscenity through the mail. §§§
United States v. Reidel, 402 U.S. 351 (1971). The statute is
consistent with the government's ability to initiate proceedings
under § 1462. But it establishes mandatory procedures for
handling allegedly obscene material when the seizure is made by
Customs officers.

The government in this case completely ignored the stat-
ute. No transmition of the article was made to the United States
Attorney in New Jersey; no proceeding against the article was
instituted; no notice of the seizure was sent to the addressee;
no decision as to obscenity was made in the constitutionally
required period of time. Instead, without authority, the seized
material was sent to Washington so that it could be delivered by
the government to the address on the package and provide the
basis for a search warrant to enter the premises. The material
was reseized from defendant's home on April 12, 1984. For over
nine months the government did nothing except deprive defendant

of the material seized. lt was not until January 29, 1985 --

_20_

LAw oFFlcEs
WlLLlAMS a CONNOLLY
MILL BulLolNG
wasmNs\mN, o.r. zocmo

 

AREA CODE 202
83|-51000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 49 of 311

more than nine months later -- that this indictment was

returned. The procedure is a flagrant violation of the statute
and of the defendant's First Amendmend rights. In the one
hundred and twelve year history of the importation provision of
the Comstock Act we have not found a single case where the
Customs Service seized allegedly obscene material and sent it to
another agent outside the jurisdiction while utterly ignoring the
mandatory provisions of § 1305.§/ Moreover, because the
constitutionality of the statutory framework under which the

material was seized depends upon following the procedures set

forth in Thirty Seven Photographs, the seizure and subsequent

 

delivery to defendant's address were unconstitutional.

C. The Government's Violation Of Federal
Law Requires The Suppression Of
Evidence Obtained In The Subsequent
Search.

Where government agents violate a federal statute in

obtaining evidence, the exclusionary rule requires suppression of

§/ This is not a case where the initial seizure was made under
authority of a warrant. Compare Heller v. New York, 413 U.S.
483 (1973). In Heller, the Court held that there was no
constitutional violation where the initial seizure is made
pursuant to a warrant and the defendant is afforded a prompt
post-seizure hearing on the obscenity issue. Here, in
contrast, the initial seizure was made without a warrant
pursuant to a statute, the express terms of which were vio-
lated. As discussed below, the subsequent warrant cannot be
utilized to sanitize the violation of federal law. See pp 21
- 27, infra. In this situation suppression of the seized
material is the appropriate result even if the material is
ultimately found to be obscene. Roaden v. Kentucky, 413 U.S.
496 (1973)(warrantless seizure of film resulted in
suppression).

 

 

LAW OFFlCES
WlLLlAM$ l C°NN°LLY
HlLL BUILD|NG
WA$H|NGTON. D C. 20006

 

AREA CODE 202
381-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 50 of 311

the evidence seized and the fruits of the search. Wong Sun v.
United States, 371 U.S. 471, 484-88 (1963).

In Miller v. United States, 357 U.S. 301 (1958), the

 

Court held that evidence obtained in violation of a federal
statute setting forth procedures for police entry into a home
required that the evidence seized be suppressed. Miller
recognized that Congressional limits on government power must be

enforced by the courts. 357 U.S. at 313; see also Rea v. United

 

States, 350 U.S. 214, 217 (1956)(app1ying exclusionary rule
indirectly by enjoining federal agent from testifying in state
proceeding where agent violated federal "Rules prescribed by this
Court and made effective after submission to the Congress

. . . . The power of the federal courts extends to policing
those requirements and making certain that they are observed.");
Nardone v. United States, 302 U.S. 379 (l937)(suppression for
violation of statute regulating wire interception).

In the recent case of United States v. Chemaly, 741 F.2d

 

1346 (1lth Cir. 1984), the court applied this principle to sup-
press evidence obtained in violation of the customs law governing
searches of outgoing passengers. In rejecting the government's
argument that suppression was unnecessary because the
Constitution permits warrantless border searches, the court

stated:

But what the Constitution does or does not
require is not the issue in this case. The
Constitution provides the outer limit of the
government's ability to act upon the individ-
ual. Congress, as the enunciator of national

_.22._

. LAW °FFlCE$
W|LL|AMS 0 C°NNOLLY

HlLL BU|LD|NG
WASH|NGTON. D.C. 20006

 

hR¢A CDDE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 51 of 311

policy and regulator of government officials,

can more severely restrict the customs service

in its encounters with citizens than would be

required by the Constitution.
741 F.2d at 1351-52 (emphasis in original). And in United States
v. Soto-Soto, 598 F.2d 545 (9th Cir. 1979), the Ninth Circuit
recognized that suppression was the appropriate remedy where the
statutory authority for conducting border searches was violated
because the search was conducted by the FBI rather than Customs
agents.

Here, the FBI agent's action violated

federal statutes. He ignored the divisions of

authority which Congress carefully legis-

lated. As in Mille£, supra, the exclusionary

rule is applicable.

598 F.2d at 550. Cf: United States v. Caceres, 440 U.S. 741,

 

755 n.21 (l979)(holding that violations of agency regulations did
not justify suppression and distinguishing Miller because "no
statute was violated by the" conduct of the government agent).
Moreover, the federal statute violated in this case is
of constitutional dimensions and is designated to protect the
rights of the addressee of the allegedly obscene material. As
previously discussed, Congress in passing the prohibition upon
importation of obscene material enacted the mandatory forfeiture
procedure in part to protect the addressee's right to notice and
a prompt determination as to the legality of the imported mate-
rial. The Supreme Court recognized that absent the procedure
enacted by Congress, engrafted with a strict time requirement for

initiating those procedures, the authority of Customs officers to

LAW OFFlCES
wlLLlAM$ a C°NN°LLY
HlLL BUILD|NG
WASH|NG'I’ON. D C 20006

 

AREA CoDE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 52 of 311

seize allegedly obscene material would violate the First
Amendment. See discussion at pp. 15 - 20. Thus, the illegal
government conduct in this case directly affected the

constitutional rights of this defendant. Compare United States

 

v. Payner, 447 U.S. 727 (1980).

Finally, the Court should suppress the evidence obtained
here not only to enforce the requirement of federal statutory
law, but on the basis of its supervisory powers. §§g_United

States v. Cortina, 630 F.2d 1207 (7th Cir. 1980). In Cortina the

 

Seventh Circuit invalidated a warrant and ordered the exclusion
of evidence seized during a search where the defendant estab-
lished that the agent who secured the warrant lied in his
affidavit to the magistrate. As the Seventh Circuit explained:

The court has inherent authority to regu-
late the administration of criminal justice
among the parties before the bar. McNabb v.
United States, 318 U.S. 332 (1943). Our
exercise of the supervisory powers here rests
firmly on the Constitution and Supreme Court
authority. As the Court states in United
States v. Payner, [447 U.S. 727, 735 n. 7
(1980)], "[f]ederal courts may use their
supervisory power in some circumstances to
exclude evidence taken from the defendant by
willful disobedience of law." See, e.g.,
McNabb v. United States (supervisory power
used to exclude confession taken from
defendant after two days of interrogation
without being taken before a magistrate, in
violation of statute); Elkins v. United
States, 364 U.S. 206 (1960) (supervisory power
is basis of rule excluding evidence obtained
by state officers in search which, if con-
ducted by federal officers, would have vio-
lated Fourth Amendment); Rea v. United Stateslr
350 U.S. 214 (1956) (federal court may enjoin
federal agent from testifying in state court
trial about information obtained during search

 

 

_.24_

LAW OFFlCES
WILL|AMS l C°NN°LLY
HlLL BU|LD|NG
WA$H|NGTON. D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 53 of 311

conducted without probable cause and evidence
seized on a warrant based on unsworn state-
ments); Hampton v. United States, 425 U.S.
484, 493 (l976) (Powell, J., concurring in
judgment) (supervisory power should be
available to bar convictions, when entrapment
not available as a defense, because of outra-
geous police conduct.)

630 F.2d at 1214.

The conduct at issue here is different than Cortina, but
no less deserving of sanction. In Cortina an agent lied to the
court in order to get a warrant; here experienced Customs agents
disregarded the plain requirements of federal law for the same
purpose.é/

Nor does the fact that a warrant was obtained, based on
the evidence uncovered by an illegal search or received in

Washington in violation of § 1305, save the evidence found in the

search of defendant's home. In United States v. James, 418 F.2d

 

1150 (D.C. Cir. 1969), the court announced the rule that if
unlawfully obtained evidence provided the basis for a subsequent
search warrant, the warrant was invalid and the evidence seized
must be suppressed unless the warrant could be sustained based on

the remaining portion of the application. In United States v.

§/ In Cortina, the agent's misconduct was demonstrated during a
pre-trial hearing pursuant to Franks v. Delaware, 438 U.S.
154 (l978). In the case at bar, because of the statutory
violation, no hearing is necessary to demonstrate the
invalidity of the subsequent warrant. Suppression in this
case rests on the well settled principle that evidence
illegally obtained cannot be sanitized by using it to subse-
quently obtain a warrant based upon the unlawfully obtained
evidence, See United States v. James, 418 F.2d 1150 (D.C.
Cir. 1969).

 

_25_.

LAW OFFICES
WILLlAMS l C°NN°LLY
HlLL BU|LD|NG
WAIH|NGTON. D C. 20006

 

AIIA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 54 of 311

Watson, 307 F. Supp. 173, 175 (D.D.C. 1969), Judge Gasch applied

the James rule to exclude evidence where the basis for the

warrant was obtained in violation of a federal statutes

A search warrant issued on the basis of
information which has been obtained other than
by lawful means is not a valid warrant. Con-
sequently, a defendant is entitled to have
suppressed any items seized during the execu-
tion of such a warrant, unless the finding of
probable cause underlying the warrant was
based upon other "untainted" information which
alone would have supported the finding of
probable cause.

See also United States v. Giordano, 416 U.S. 505, 529-533 (1974)
(evidence obtained from extension of wiretap order excluded where
initial tap conducted in violation of the requirement of federal
statute regarding necessary approval from Assistant Attorney

General); United States v. Taheri, 648 F.2d 598 (9th Cir. 1981).

 

ln this case it is clear that absent the violation of
the statute, there was no probable cause to search defendant's
residence. The mere fact that the government learned that
defendant was the addressee of the package does not Suffice to
establish cause for a search of his residence.

[T]he fact that there is probable cause to
believe that a person has committed a crime
does not automatically give the police
probable cause to search his house for evi-
dence of the crime. 'If that were so, there
would be no reason to distinguish search war-
rants from arrest warrants, and cases like
Chimel v. Californiar 395 U.S. 752 (1969),
would make little sense.‘ United States v.
Lucarz, 430 F.2d 1051, 1055 (9th cir. 1970).
See enerall , l La Fave, Search and Seizure,
§ 3. at -708 (l978). We have consistently
held that facts must exist in the affidavit

 

 

 

_26_

LAW OFFlCE$
W|LL|AMS h C°NNOLLV
HlLL BU|LD|NG
WASH|NGT°N, D.C. 20006

 

AREA COD¢ 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 55 of 311

which establish a nexus between the house to
be searched and the evidence sought.

United States v. Freeman, 685 F.2d 942, 949 (5th Cir. 1982). The

 

accepted rule is that to "justify the search of a residence, the
facts supporting the warrant must show probable cause to believe

that the evidence is presently in the place to be searched."

 

United States v. Foster, 711 F.2d 871, 878 (9th Cir. 1983), cert.
denied, 104 S.Ct 1602 (1984). In United States v. Hendricks, 743
F.2d 653, 655 (9th Cir. 1984), cert. denied, 53 U.S.L.W. 3617
(1985), the Court held that where the basis for a warrant is that
the person occupying the premises to be searched is the recipient
of contraband, there is no probable cause unless there is reason
to believe that the contraband is currently on the premises. §§§
also United States v. Flanagan, 423 F.2d 745, 747 (5th Cir.
l970)(same).

Thus, it is clear that absent the violation of the
mandatory procedures of § 1305 there would have been no basis for
the warrant to search defendant's home. Accordingly, the
evidence seized in that search must be suppressed.

III. THE STATEMENTS ALLEGEDLY MADE BY

THE DEFENDANT WERE THE FRUIT OF
THE UNLAWFUL SEARCH.

 

The exclusionary rule "bars the introduction at trial
not only of evidence seized in violation of the Fourth Amendment,
but also of evidence obtained as an indirect result of the
illegal seizure -- the fruit of the poisoned tree." United

States v. Scios, 590 F.2d 956 (D.C. Cir. 1978); Wong Sun v.

_ 27 _

LAW OFFlCES
WlLLlAMS l CONN°LLV
HlLL BUILD|NG
WASH|NGTON. D C. 20008

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 56 of 311

United States, supra. Where a defendant makes statement after

 

being confronted with evidence seized in an unlawful search,
"there is little doubt as to what the result Should be."

In the typical case in which the
defendant was present when incrhninating
evidence was found in an illegal search or in
which the defendant was confronted by the
police with evidence they had illegally
seized, it is apparent that there has been an
'exploitation of that illegally‘ when the
police subsequently question the defendant
about that evidence or the crime to which it
relates. This is because 'the realization
that the 'cat is out of the bag' plays a
significant role in encouraging the suspect to
speak.'

3 W. LaFave, Search and Seizure, § ll.4(c) at 639 (1978)
(citations omitted). As explained by the Illinois court, in

People V. Robbins, 54 Ill. App. 3d 298, 369 N.E.Zd 577, 581

 

(l977), statements made based on the presence of illegally seized
evidence are more suspect even than statements made after an
illegal arrest, because

confronting a suspect with illegally seized
evidence tends to induce a confession by
demonstrating the futility of remaining
silent. On the other hand, the custodial
environment resulting from a false arrest is
merely one factor to be considered in
determining whether a confession is
inadmissible.

Thus, numerous cases have recognized that statement made
by a defendant after being confronted with illegally seized

evidence cannot be admitted as evidence. See, e.g., Ruiz v.

Craven, 425 F.2d 235 (9th Cir. l970); Amdor-Gonzales v. United

States, 391 F.2d 308 (5th Cir. 1968); United States v. Nikrasch,

 

_28_

Law oFFlcEe
wlLLlAMs a CoNNOLLY
HlLL aulLolNG
wAsHlNc~roN. o.c. zoooe

 

AR¢A CODE 202
331-8000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 57 of 311

367 F.2d 740 (7th Cir. 1966); United States v. Marrese, 336 F.2d

 

501 (3d Cir. 1964).

There is no doubt in this case that the statements which
the government will contend were made by defendant were the
direct result of the illegal search.l/ The basis for the
interview at which defendant is alleged to have made certain
incrhninatory admissions was to review the material seized during
the search. §/ Agents Bludworth and Northrop told Mr. Nader and
his counsel that if they would appear and review with them the
material seized, it would be returned to him. The entire
discussion between Mr. Nader and the agent was in the course of
reviewing the bags of material taken from Mr. Nader's home.

Near the end of the interview, the agents read Mr. Nader
his rights and obtained a written Miranda waiver. But, "it is
crystal clear that giving the defendant the Miranda warnings will
not break the causal chain between an illegal search and a subse-
quent confession." 3 W. LaFave, supra at 640. In Brown v.

Illinois, 422 U.S. 590 (1975), the Supreme Court held that the

l/ The result is the same whether the search is found invalid
because the product of an unlawful general warrant or because
the warrant was obtained in violation of federal law.

§/ We say "alleged statements" because the interview memorandum
prepared by the agent contains statement never made by
defendant concerning subjects not even discussed during the
interview. Nevertheless, under the fruit of the poisonous
tree doctrine, whatever statements were made by defendant in
reaction to the illegally seized evidence must be suppressed-

_.29_

LAW OFFlCES
W|LL.|AM$ 0 CONNOLLY
HlLL BU|LD|NG
WASH|NGTON. D.C. 20006

 

ARIA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 58 of 311

Miranda warnings did not purge the taint of an illegal arrest in
obtaining subsequent statements from a defendant. See Wong Sun

v. United States, supra. "[T]he warnings have even less impact

 

when the prior Fourth Amendment violation was a fruitful illegal
search." 3 W. LaFave, supra. As explained in People v. Johnson:

If Miranda warnings were held to insulate
from the exclusionary rule confessions induced
by unlawfully obtained evidence, the police
would be encouraged to make illegal searches
in the hope of obtaining confessions after
Miranda warnings even though the actual l
evidence seized might later be found
inadmissible. . . . To so hold would result
in the Miranda warnings -- intended to protect
the defendant's rights to counsel and to
remaining silent . . . and to prevent
exploitive police practice . . . -- becoming
the instrument of a bootstrap operation to
insulate unlawful police activities from the l
effects of the exclusionary rule. l

70 Cal. 2d 541, 550, 450 P.2d 865, 871 (1969), cert. denied, 395
U.S. 969 (1969). In this case the warnings were especially
meaningless because they were provided to a defendant who already
had counsel and aft§£ he had been questioned about the illegally l

seized material.

IV. THE DEFENDANT'S STATEMENTS WERE OBTAINED AS
A RESULT OF MATERIAL MISREPRESENTATIONS BY
GOVERNMENT AGENTS~

 

Defendant is prepared to prove at an evidentiary hearing
pursuant to Jackson v. Denno, 378 U.S. 368 (1964), that the
statements made by the defendant were obtained as a result of
material misrepresentations by government agents and prior to
giving him Miranda warnings and were therefore involuntary.

Shortly after the search, Mr. Nader was contacted by postal

_30_.

LAW 0FFICE$
W|LL|AMS l CONNOLLY
HlLL BU|LD|NG
WASH|NGT°N. D.C. 20006

 

AREA CODE 202
331-8000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 59 of 311

inspector Northrop who indicated he wanted to discuss the

l material seized with the defendant. Defendant's attorney called
Northrop regarding the purpose of such a meeting. Northrop
advised counsel that if the defendant came in for an interview
the government would return to him the material seized at his
home. Northrop said he wanted to review the material with the
defendant prior to returning it and explain to him why he should
not have the material the agents found obscene. Counsel was
further advised that Mr. Nader would not be arrested and no

| prosecution was planned.'2

On April 16, 1984, a meeting was held at government

l offices between the defendant, his counsel Gweneth Moolenaar,

l agent Northrop, and agent Bludworth. Consistent with the agent's
| statements prior to the meeting, defendant was not read his
Miranda rights at the outset of the interview. It was only after
' one and a half hours of discussion when defendant refused to
initial the envelope which forms the basis for this prosecution
that the agents first informed defendant and his counsel that
there was a possibility of prosecution and decided to give the
Miranda warnings. No statements germaine to this case were made
by the defendant after his rights were read and the waiver form

was signed. The agents then refused to return any of the seized

2/ The agent's statement that no prosecution was planned was
especially credible because prosecution for receipt of
obscene material where there is no evidence of intent to
distribute or actual involvement in sexual offenses is
contrary to Justice Department guidelines.

_31..

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 60 of 311

10
property__/ and the government now intends to introduce

statements it alleges were made by the defendant during the
course of the meeting.

A statement obtained from a criminal defendant is
"involuntary" within the meaning of the Fifth Amendment if it is
"extracted by any sort of threats or violence, [or] obtained by

any direct or implied promises, however slight, [or] by exertion

 

of any improper influence." Hutto v. §Q§§J 429 U.S. 28, 30
(l976)(brackets in original)(emphasis supplied), quoting §£§m_v.
United States, 168 U.S. 532, 542-43 (1897).

It is now well settled that a statement is involuntary
if it is obtained by "fraud," United States v._£gy§, 591 F.2d

833, 841 (D.C. Cir. 1978); Robinson v. Smith, 451 F. Supp. 1278,

 

1291-92 (W.D.N.Y. 1978), or by "a promise of leniency." McLallen
v. Wyrich, 498 F. Supp. 137 (W.D.Mo. 1980). In McLallen, the
court granted a writ of habeas corpus where a statement was
obtained after the defendant was told he would be "better off" if
he confessed. The court held that the comments amounted "to a
promise of leniency and was an important consideration in [his]
decision to make a statement[.]" l§: at 138. Therefore, "under

the doctrine laid down in Bram v. United States, supra, the

 

prosecutor‘s statement to the defendant must be regarded as a

direct or implied promise which induced the petitioner to give a

LAw oFFlc£s
wlLLlAM$ h CONNQ|.L¥
HlLL BulLDING

W“m“"*°°=®“ 12/ Subsequently, a few of the items taken in the search were
returned to the defendant.

 

AIEA CODE 202
331-5000

LAW OFFlCES
WlLLlAMS 0 CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D.C. 20006

 

AREA CQDE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 61 of 311

confession which he would not have otherwise given and that it
was unconstitutionally admitted against him . . ." lg: at 139.
The promise of leniency need not be a binding plea
agreement. It is enough that the government agent induced the
defendant to believe his statement would not be used against
him. ln the leading case of §£ad§§_v. Boles, 398 F.2d 409 (4th
Cir. 1968), the court suppressed statements made by the defendant
after the prosecutor advised him that if he cooperated on one
charge, "as the matter stood at that time, he would be tried only
on one case . . . [and] if he were tried or entered a plea of
guilty [on this robbery charge], he would not be tried on any
other indictment." 398 F.2d at 411 (brackets in original), The
court rejected the government's argument that these statements
were merely expressions of policy and held that the statements
were a "direct or implied promise, unconstitutionally inducing
and thus rendering inadmissible" the defendant's statements. 398
F.2d at 412, 414. The same rule applies where the inducement is
supplied by a law enforcement agent or even someone working on

his behalf. United States v. Gonzalez, 736 F.2d 981, 982 (4th

 

Cir. 1984).

Here the defendant's statements were obtained as a
direct result of the agent's representation that the purpose of
the interview was merely to review the seized property prior to
returning it to defendant and that there was no intention to
prosecute. Evidence procured by such statements "can no more be

regarded as the product of a free act of the accused than that

_33_

LAw oFFlc£s
WlLLlAMS & CoNNOLLV
HlLL BulLolNc
wAsHlNG'roN. o c 20006

 

AIEA CODE 202
33|-8000

 

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 62 of 311

obtained by official physical or psychological coercion."

Shotwell Manufacturing Co. v. United States, 371 U.S. 341, 347-48

(1963).

review
For the reason stated here, the Court should suppress
the evidence seized from defendant's home and the statements
obtained from the defendant as a result of the illegal search.
In the alternative, defendant requests an evidentiary hearing on
the circumstances of the initial Customs search and the
subsequent statements obtained from the defendant by government

agents.

Respectfully submitted

WILLIAMS & CONNOLLY

.'\r »; 3

.f ` _
By r.HAHZ%,;/Z;y{;h
`UHvid Povich
Richard S. Hoffman

    

839 17th Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Attorneys for defendant.

Aprii i, 1985

_34_

ANDREWS OFF|CE PRODUCTS WASH|NGTON DC

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 63 of 311

609
art-Ss-z>ls
F|LED‘/

/‘~.PR .` 1985
JAN|ES F. DAVEY, Clerk

/\

l;.l ", r"`
CaSe 1:85-Cr=g0(033-;]GP Document 10 Filed 03/08728 Page 64 0f311

b 105
w a/az

JlT FOR SEARCH WARRAN
ocsTn\cT Of Columbia

 

Ynited States Yistrict Court

 

DOCKET NC. MAG|STRATE'S CASE NO.

United States of America 95_35 84 _ 02 41 a 1 1

 

 

vs.
2019 Connecticut Avenue
Je£cribed as a 4-story residence with white
stone exterior on lst floor. Red brick ex-
terior on 2nd & 3rd floor and a greenish

§§EQ§D_Z§F:¥:§QW - tg),§r£fi?réjti!g_§£ll%ra h?§glltbarred fc)'_~rrar. 20 19 'i_s r:`l.e.la'r"l y win ¢'.i hip-____

NAME ANO ADDRESS OF .|\.JDGEll OR U.S. MlAG|STRATE

 

 

 

_'rre undersigned being,dmv.mm_ depo;e;.and says:._That there is reason-to believe that,--..-./- ,-.-..~.':s.r..-.=r-'_-'-.---f.--~-"-.;---"5== -" -
1 n th f m the remises known as oisTmc'r
on e person 0 °" P of Columbia

 

2019 Connecticut Avenue, described as a 4-stor.y residence with white stone exterior on
lst floor. Red brick exterior on an & 3rd floor and a greenish slate roof with white
trim on 4th floor. Front door on left ground side of front with a black barred foyer.
2019 is clearly visible.

 

 

mmwlngpmm<wmnumlw§a§w£meew ene%”'e"§sa.e:a£a§%w»:cesww

l 8MM Dpvie "File #ll lover boys Ri.ck & 'Ibny," l Magazine, Piccalo Ext.ra #15,,

l magazine "Fuck.ing Chi.ldren," l Magazine "Iolli Pops #2," l Magazine "Bambino #l and
Advertisement for Movie of Joe and Tom #3,_" in addition to other photographs, magazines,
and writings and documents which are evidence of violations of Title 18, U.S; Code,
Sect'_ion 1461, 1462.

 

\fiiant alleges:tha_'follmring grounds for saarch'and- seizure 2'_"_.--- » \ “_ '-='..--.-t-’:."`-.-.`.r_¢ t¢'-.».'c¢:;.-1'1~1'¢-'»*-""'*\:`\

F|LED*/
APR 11985

fl See attached affidavit which is incorporated as part of this affidavit for search warrant jAMES F_ DAVEY, C}e]-k
A_ffianwmi;g\_eifglpwing§cgesudishing the foregoing griaunds _for issuance of a Search Warrant --~_'-='»-'~_-'".»~:-.-~ v ‘- ..'.¢' +_...-. - -. __

(SEE A'ITACHED AFFIDAVIT)

/'"\ .__.._
C;;jrunz FM § oFF\ciALTlT\_E. lF ANY
d 51 Soecial Agent, U.S. Customs Service
Sworn to beforurng,and subscribed in mv prese_nce: ‘~i."- \.'r»- r'.'~'r=.~\-- " » »-- -`~'-),-'z'-~»`i~‘~ ~-"-.-~/:.~'-'}1~,..\-- t--'- = -- -- _ ;.' `

/l/F /9,/911 ‘°°°£`°““"/jfd/M
L/ ‘ f

LUnited States Judge or Judge al a State Court of Record.
2l1 a starch is to bl authorized "at any time in the day or night" pursuant to Federa| Ru|es 01 Criminal Procedurs 41(cl, show reasonable caum thereior.

 

 

 

 

 

 

CaSe 1:85-0€9€§033~:JGP Document 10 Filed OB/OSL/g Page 65 of 311 _
84°0241“ '1

AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT FOR
2019 CONNECTICUT AVENUE, NW, WASHINGTON, DC 20008

Donald Bludworth is your affiant and is a Special Agent with U.S.
Customs .

The affiant has been informed that:

On or about March 27, 1984, Andrew Taylor, Customs Inspector, Special

Processing, while performing customary, normal border searches of

incoming mail at the Jersey City, NJ Mail Processing Plant for Incoming

Hail, performed a customs inspection on a first-class letter addressed to

Mr. J. Nader c/o International Insight, 2019 Connecticut Avenue, NW,

washington, DC 20008, U.S.A. The customs declaration disclosed that it

contained books. The letter itself is described as a brown mailing pack_
type envelope, approximately 12" by 8 1/2“ bearing the above*namedf
address and a return address of Ralf Zonatz, 1012 LK Amsterdam, Domrak,

42*43 Holland,-bearing two green postage stamps from the Netherlands.

The envelope was also marked "book" twice on the front side. This was

handwritten in-a black pen. The package was opened as per the authority

of the U.S. Customs Department, upon which the following items to which

affiant has probable cause to believe are obscene, were discovered and

seized:

1. One (1) 8 MM Movie "Film #11 Lover boys Rick & Tony"
. One (1) Magazine "Piccalo Extra #15"

. One (1) Magazine "Fucking Children"

. One (1) Magazine "Lolli Pops #2"

One (1) Magazine "Bambino #l"-

One (1) Advertisement for movie of Joe & Tom #3

multh

This-seizure occurred at approximately 8:30 a.m. on March 26, 1984, and
was given Seizure No. 84-46-01-00281.

Also received were one magazine entitled "Boy No. 53" containing photos
of nude and dressed boys, one magazine entitled "Sweet Little 163
Volume 3, No. 8" and two black and white pictures of nude boys.

The material was reenclosed in the original container and then mailed to
Special Agent Carol Hawkins, Office of Investigations, U.S. Customs
Service, 12310 Pinecrest Road, Suite 202, Reston, VA 22091, via
Registered Mail. The package was mailed under Registered Mail
No. R070-949-069. The material was delivered to the Customs Office in
` Reston and personally opened by Special Agent Don' Bludworth. An
inventory of the materials contained in the original package was made by
Agent Bludworth, and it was the same as the original inventory conducted
by the Customs Inspector in New Jersey. The material is currently in the
possession of Agent Bludworth.

/ _
CaSe 1:85-cr@033-.]GP Document 10 Filed OB/OS/;l;i Page 66 of 311
§ " 84-024;M

The magazines entitled "Piccalo Extra No. 15", "Lolli Pops No. 2" and
"Bambino No. l" listed as Nos. 2, 4, and 5 above contain color and black
and white photographs of young boys committing acts of masturbation, and
fellatio. Additionally, magazines "Piccalo Extra No. 15" and "Lolli Pops
No. 2“ listed above as Nos. 2 and 4 show young boys engaged in anal
intercourse.

The magazines entitled entitled "Fucking Children" contains color
photographs of young boys and girls committing fellatio, masturbation and
intercourse. The back cover of the magazine has an advertisement for
"Lolita" and "Perverse Kinder" magazines described as "Lolita" magazines
and "Children Making Love..."

The eight millimeter movie entitled "Film No. ll, Lover Boys Rick and
Tony“ is contained in a wrapper, depicting two boys, who appear to be
pre-pubescent, committing anal intercourse and fellatio. The text of the
wrapper describes the boys as ages ll and l4. Your affiant was informed
by Customs Agents in New Jersey that they viewed the film and that it
contained scenes consistent with the photographs on the wrapper.

The advertisement for the movie "Joe and Tom No. 3" show§"two boys who
appear to be pre-pubescent committing mutual masturbation and fellatio.
The text of the advertisement says "having seen this film, who in the
world could deny that kids of 10 are not interested in sex..."

On April lO, l984, the originals of the items listed above were shown to
U.S. Magistrate Patrick J. Attridge. Copies of the items are attached
hereto and incorporated by reference.

Affiant interviewed S/A Walter E. Hekala, Jr., of the U.S. Customs
Service who during the period 1975 - 1980 conducted approximately 150
investigations of illegal importation of pornography, particularly
pedophelia. In S/A Hekala's experience, persons who order pedophelia
material from overseas retain copies of order blanks and catalogs for
such material and evidence of payment for it. Hekala stated that payment
is generally made by LLS. Postal Money Order or bank money order in
American dollars. Hekala states that during the period of his investi-
gation, pedophelia magazines typically cost $15 each and 8MM films
typically run $50 - $75 per film.

Hekala further states that in his experience pedophiles keep records of
all purchases to keep track of ‘the reliability' of suppliers. Hekala
further states that in his experience, pedophiles generally have large
quantities of pornographic material which is usually of foreign origin.

On April _lZ, 1984, at /:""[O W‘¢/¢'S, the above described items were
delivered in the original package to 20l9 Connecticut Avenue, NW,
Washington, DC 20008.

n _ /.)

Case 1:85-cr-00033-.}GP Document 10 Filed 03/03z18 Page 67 of 311
84-0241M

Based on the above described facts, your affiant has probable cause to
believe that there is currently secreted inside of 2019 Connecticut
Avenue, NW, washington, DC 20008, items described herein as well as
other photographs, magazines, writings and documents which are evidence
of violations of Title 18 USC l462 and l461.

MZZ.LM@€

onald'Bludworth
Special Agent, U.S. Customs

Sworn to and subscribed before me this /;l_
day of April 1984.

 

Uéjjed/Stztés Magistrate

ANDREWS OFF|CE PRODUCTS WASH|NGTON DC

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 68 of 311

663

e&'g$'°"?’

F|LED

APR .. 1985
]AMES F. DAVEY, Clerk

~R‘ mo i,a./-m . Case 1: 85- -cr-€A 3- -JGARRRH+mSHt %vORl_IF_l||_<§d|O§{:Ol§l/rli§ Page 69 of 311

 

 

Ynited States District Court msch Of_Col la

 

 

 

uNn'Eo sTATes or= AMERch °°°"" "°' 3533 "‘"§'.1'§"6§3"¢°1"{§]'°° ,
V.
2019 Connecticut Avenue, N.W. 'ro: Agent of U.S. Customs Service

Described as a 4-story residence with
white stone exterior on lst fl. Red
brick exterior on 2nd & 3rd Fl. and
greenish slate roof with white trim on
side

 

 

e
of front with a black barred foye.r
Affidavit(s) having been made before me by the below-named affiant that he/she has reason to believe that (mntim

men (on the premises known as) _ZOJS_.Cnnnecd;icut_szepne,_N.Ial_,_Washim_p~m mr"

 

 

 

 

_ in the District of C`n`limhi a there is now being
concealed certain property. namely l BMM Movie "Film #ll lover boys Rick & 'Ilony", 1
Magazine "Piccalo Extra #15", l Magazine "Fucking Children", l Magazine "T.olli
Pops #2,"1 Magazine ”Bambi.no #1, and 1 Advertisement for Movie of Joe and & mem #3,"
in addition to other photographs, magazines, writings and documents which are
evidence of violations of Title 18, U.S. Code, Section 1461 and 1462.

/
F|LED

APR 1935
- JAMES F. DAvEY, clerk

and as l am satisfied that there' rs probable cause to believe that the property so described is being concealed on the
person or premises above-described _and the grounds for application for issuance of the search warrant exist as

stated in the supporting aftidavit(s), l l
._ N /jk

YOU AFlE HEREBV COMMANDED to search on or before April B;LBEA-
(not to exceed 10 days) the person or place na`rned above for the property specified, serving this warrant and making

the search (in the daytime - 6: 00 A. M. to 1000 P. M )( )' and il the property be found
there to seize it, leaving a copy of this warrant and receipt for the prope Mare a written inventory of
the property seized and promptly return this warrant to

as required by lé/a “yi“;/‘F°"v?"' “

 

 

 

NAME OF AFFIANT sicNATu AE'*o us AcalsTnATE DATE/'rlME lssuED
% Ar¢tLO pt VDW °'LTV K/]"'/ /2//? X?

 

 

/.i'

 

‘ll a search is to be authorized' ‘at any time in the day or nignt"pur§/ uarrt to Federal Rule of CF( inel Procodure Rule 41(c). show reasonable
cause therefor
°°l himri gutij nr jrkn nfa gram f`nrn nf Rs!~rd

 

ANDREWS OFF|CE PRODUCTS WASH|NGTON DC

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 70 of 311

apt 255-35

r/
F l L E D
/\PR '.'. 1985
]AMF.S F. DAVEY, C\Bl'k

LAW °FFlCES
W|LLIAM$ & CONN°LLY
HlLL BU|LD|NG
WA$H|NGTON. D.C. 20006

 

AIEA C°DE 102
83|-900°

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 71 of 311

/"-

L./
UNITED sTATES DISTRICT coURT F| |_ E D
FoR THE DISTRICT or coLUMBIA _
1 1985
UNITED STATES oF AMERICA JAMES F DAVEY C|erk
, ,.I_ l_

criminal No. 85-00033L/
Judge John Garrett Penn

GEORGE A. NADER Motion To Suppress Evidence

`_/Vvvvvvv

 

Defendant, George A. Nader, by and through his under-
signed counsel, hereby moves this Court pursuant to Rule 12(b)(3)
of the Federal Rules of Criminal Procedure for an order suppress-
ing evidence obtained during a search of defendant's home and
statements allegedly made by the defendant thereafter.

The grounds for this motion are:

1. The search of defendant's home was conducted
pursuant to a general warrant in violation of the defendant's
rights under the First, Fourth and Fourteenth Amendments to the
United States Constitution.

2. Customs agents lacked "reasonable cause" for the
initial search of the envelope addressed to the defendant as
required by 19 U.S.C. § 482.

3. The subsequent delivery of the envelope to
defendant's home was in violation of federal law. 19 U.S.C.

§ 1305. Absent the unlawful delivery, there was no probable

cause for issuance of a search warrant.

 

"j“c"imm

LAW OFF|CES
WlLLlAMS d CONN°LLY
HlLL BU|LD|NG
WA$H|NGTON. D C 20006

 

AREA C°DE 102
331-5000

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 72 of 311

4. The statements allegedly made by defendant were a
direct result of the unlawful search and seizure of material from
the defendant'S home.

5. The statements allegedly made by defendant were
obtained in violation of his Fifth and Fourteenth Amendment
rights because they were induced by material misrepresentations
by government agents.

In support of this motion, defendant relies on the
constitutional and statutory provision cited above, the
memorandum of law attached hereto, and the arguments of counsel
and evidence produced at any hearing ordered by the court.

Because the warrant is facially invalid and was obtained
in violation of federal law, no evidentiary hearing is necessary
to suppress the evidence obtained during the unlawful search.
Moreover, we believe there will be no factual dispute that the
statements allegedly obtained from the defendant were a direct
result of confronting the defendant with the material seized
during the search and must, therefore, also be Suppressed. If,
however, the Court denies the motion with respect to the facial
validity of the warrant and the violation of federal law, a
hearing is hereby requested on the separate issues of the

legality of the initial border search and the circumstances under

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 73 of 311

which the government obtained the statements allegedly made by
the defendant. See Jackson v. Denno, 378 U.S. 368 (1964).
Respectfully Submitted,

WILLIAMS & CONNOLLY

BY

 

Richard S. Hoffman

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Attorneys for George A. Nader

April 1, 1985

LAW OFF|CES
WlLLlAMS l CONN°LLV
HlLL BU|LD|NG
WABH|NGT°N, D.C. 20006

 

AIEA C°DE 202
33|~9000

\_AW OFF|CES
WlLL.lAMS h CONNOLLY
HlLL BU|LD|NG
WASH|NGTON. D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 74 of 311

Certificate of Service

 

I hereby certify that a copy of the attached
Motion to Suppress Evidence and the Memorandum in support
thereof, were mailed first-class mail, postage prepaid,
on April l, 1985 to Douglas J. Behr, Assistant United States
Attorney, Constitution Avenue & 3rd Street, NW, Washington,

Dc 20001, rig

   

Richard S. Hoffma

  

ease 1:35-cr-00033-JGP Documem 10 Filed 03/08/13 Page 75 of 31%)/,)4/)4/_

/ l

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Fli.El)y
APR 19 1985

cLERk. u.s. orsi'wicr couRT
oisTRicT or= coLuMeiA '

Holding a Criminal Term

UNITED STATES OF AMERICA,

CRIMINAL NO.: 85-33
V.

GEORGE A. NADER :

 

MOTION FOR ENLARGEMENT OF TIME IN WHICH TO FILE MOTIONS

The United States of America, by and through its attorney, the
United States Attorney for the District of Columbia, respectfully
requests this Court to enlarge the time in which we may file
oppositions to defendant's motions. In support of our request, we
note the following:

l. The defendant has pending before the Court motions to
suppress evidence and statements. The responses of the United
States are currently scheduled to be filed on April 22, 1985, The
United States requests this Court to allow the United States to
file its motions on Wednesday, April 24, 1985.

2. The United States has been diligently working on its
responsive pleadings. However, the Offices of the United States
Attorney are being moved over the weekend of April 20 ~ 21, 1985,
and counsel and his Staff will be unable to complete the motions in
the scheduled time because of the move.

3. Counsel for the United States has spoken to counsel for
the defendant and was informed that the defendant has no objection

to our request.

COURTRAN

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 76 of 311

Respectfully submitted,

JOSEPH E. DIGENOVA
United States Attorney

DoUGLm§§;;$EEHR
Assist ited States Attorney

‘3.\

’cERTIEjCAGb or SERVICE

 

I HEREBY CERTIFY that I hadei served a copy of the foregoing
upon defendant by mailing copi_es‘t ereof to his attorneys, David
Povich, Esquire and Rick Huffman v squire, WILLIAMS & CONNOLLY,
Hill Building, Washington,' D C. f 20006, on this 19th day of April,

1985.  Fd
DoUGLitbn EHR
Assis tied States Attorney

U.S. District Courthouse

Room 3836

Washington, D.C. 20001
633-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 77 of 311

F l L F. n !/'
UNITED STATES DISTRICT COURT '
FOR THE DISTRICT OF COLUMBIA .

APR 24 1985

CLERK, U. S. DlSTR|CT COURL

UNITED sTATEs oF AMERICA D,STR\CT 0;=_ co\_umam

v. : Criminal No. 85-00033
(Judge Penn)

GEORGE A. NADER

OPPOSITION TO DEFENDANT'S MOTION TO SUPRESS EVIDENCE

 

The United States of America by and through its attorney, the
United States Attorney forrthe District of Columbia, relies on the
following points of authorities in opposition to the defendant's
motion to suppress physical evidence and statements.

This cases arises out of the seizure by Customs Officials of
a package containing merchandise mailed from Amsterdam to the
defendant in the District of Columbia. The package was opened in
at a mail processing plant in New Jersey and found to contain
child pornography in the form caf commercially produced magazines
and films primarily of boys, The package was forwarded from New
Jersey to customs authorities in the District of Columbia and
delivered under controlled circumstances to the defendant's address.
Shortly after the delivery, a United States Magistrate's search
warrant was executed at the defendant's residence resulting in the
seizure of the package as well as similar' magazines and films,
among other things. The defendant seeks to have supressed the
items contained in the package, the items found during the course
of the search warrant - including the items in the package, and
all statements made by the defendant in a subsequent meeting between

himself and his counsel and investigators for the Government. We

respectfully disagree.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 78 of 311

_2_

FACTS

On March 26, 1984, Andrew Taylor, a mail specialist with the
United States Customs Service, while working at a customs facility in
Jersey City, New Jersey, conducted a customs review of a package
addressed to "Mr. J. Nader c/o International Insight, 2019 Connecti-
cut Ave., N.W., Washington, D.C." The return address on the
package was "Ralph Zonatz, 1012 LK, Amsterdam/DOIMRAK 42-43/Holland".
According to the green Customs declaration attached to the package,
the contents were books being sent as a g§ét. Based on Taylor's
knowledge that Amsterdam is source city for pornography, as well
as, the declaration which indicated the package contained books,
Taylor opened the package to determine the nature of its contents.
Taylor found in the package magazines and one 8 lnilimeter film
all which contained child pornography, The package was seized
and later released to Special Agent Padlo of the United States
Customs Service.

Special Agent Padlo came into custody of the package on March
29, 1984. On March 30, 1984, Padlo notified the United States
Assistant United States Attorney about the seizure. Padlo received
permission to forward the seized package and its contents to the
U.S. Customs office in Reston, Virginia so that a controlled delivery

to the addressee could be accomplished in order to further investigate

that individual. Padlo then sent the package by registered mail

1/ A xerox copy of the Customs declaration is attached
hereto as Exhibit A.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 79 of 311

_3_.

to the customs office in Reston where it came into the possession
of Special Agent Donald Bludworth.

Bludworth prepared an affidavit in support of a search warrant

for the premises of the addressee of the package and presented it
along with Xeroxed copies of the contents of the package to

2/
United States Magistrate Attridge. Bludworth was informed by the

Magistrate that it was the Magistrate's belief that once the
package was delivered to the addressee's premises, probable cause
existed to search the premises for the contents of the package as
well as other related items.

The affidavit submitted by Special Agent Bludworth, which is

attached hereto as Exhibit B, indicates that the package addressed
to the defendent contained one 8 milimeter film "Film #11, Lover
Boys Rick and Tony" as well as six magazines entitled, "Piccalo
Extra Number 15", "Fucking Children", "Lolli Pops" #2", "Bambino
#l" "Boy #53", "Sweet Little 16, volume 3, number 8“. The affidavit
goes on to describe in some detail, the photographs contained in

each of the magazines, which can be accurartely described as child

pornography, The affidavit contains the following additional
information:

Affiant interviewed S/A Walter E. Heckala, Jr.,
of the United States Customs Service who during the
period of 1975-1980 conducted approximately 150 inves-
tigations of illegal importation of pornography,
particularly pedophilia. In S/A Heckala's experience,
persons who order pedophilia material from overseas
retain copies of order blanks and catalogs for such

__ _2_/ The Magistrate maintains the xerox copies of the material
under seal. The copies are available to the Court upon request.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 80 0f311
-_ 4 _

material and evidence of payment for it.
Heckala stated that payment is generally
made in U.S. Postal Money Order or bank
money order in American dollars. Heckala
states that during the period of his inves-
tigation, pedophilia magazines typically
cost $15 each and 8 MM run $50-70 per film.

Heckala further states that in his
experience pedophiliacs keep records of
all purchases to keep track of the
reliability of suppliers. Heckala
further states that in his experience,

pedophiliacs generally have large
quantities of pornographic material
which is of foreign orgin.
On April 12, 1984, the above described package was delivered
to the defendant's landlord. Shortly thereafter, a search warrant
was issued for the defendant's premises.

The search warrant, a copy of which is attached hereto as

Exhibit C provided for the seizure of

l 8mm Movie "Film #11 Lover boys Rick

& Tony," l Magazine "Piccalo Extra #15,

1 Magazine "Fucking Children," 1 Magazine
"Lolli Pops #2," 1 Magazine "Bambino #l,

and l advertisement for movie of Joe and Tom
#3' in addition to other photographs,

magazines, writings and documents which are
evidence of violations of Title 18, U.S.

Code, Section 1461 [Mailing Obscene Matter]
and 1462 [Importation of Obscene Matters].

The search warrant was executed by Special Agent Bludworth
in the company of Special Agent Robert Northrop, United States
Postal Service among others. Inspector Northrop has extensive
experience in the investigation of individuals involved in child
pornography and pedophiliac activities. At the time of the

execution of the search warrant, the investigators became aware

that the defendant only rented a room at 2019 Connecticut, N.W.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 81 of 311

..5_.

The execution of the search warrant was therefore limited to the
seizure of the described package, which had been left on a
table in the hallway by the landlord and the search of the
defendant's room. Seized from the defendant's room were numerous
foreign produced magazines and films similiar in kind to those dis-
covered in the package, films, the wrappers of which indicate
that they show boys involved in sexual activity brochures offering
foreign produced pornography for sale, financial materials believed
to be related to the ordering of such materials, envelopes from
Amsterdam, photo albums which included the defendant with boys
who appeared not to be relatives, address books and childrens
toysT/ More specifically, among the magazines seized from the
defendant's room were, in approximate numbers, 2 copies of "Super
Piccalos" , 3 copies of "Boys", l copy of "Joy Boy", 2 copies of
"Lover Boy" , 4 copies " Super Boy", seventeen copies "Wonder
Boy", l copy each of "Action Kids", "Fawn" "Show Boy", "Golden
Boys", "Dream Boy", "Geil-Boys", "Teen Sex", 3 copies of "Pan -
a magazine about boy-love." All the magazines are clearly marked
as having been produced outside of the United States, No two
magazines were duplicated. Also were recovered assorted photo-
graphs of naked boys.

The day after the search, Gwynneth Moolenar, Esquire, acting

as counsel for the defendant contacted Postal Inspector Northrop

:/ A copy of the inventory of the search is attached hereto
as Exhibit D.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 82 of 311

_6_

and a meeting was scheduled for April 16. On April 16, defendant
and his attorney met with federal agents to discuss the investiga-
tion. During the course of the interview, the defendant admitted
ordering and importing child pornography,

After extensive discussion between the parties, the defendant
was indicted for violations of 18 U.S.C. §1461, 1462 and 2.

Defendant now challenges the search of his room, the opening
of the package, the handling of the package and his interview. We
do not feel that there exists any basis for these challenges and

respectfully suggest that the defendant's motion should be denied,

I. SEARCH OF THE DEFENDANT'S ROOM WAS LAWFUL

 

Introduction

The defendant seeks to have supressed the items seized
from 2019 Connecticut Ave., N.W. as being the result of impermis-
sable search based on a "general" search warrant. The defendant
argues that since the search was conducted pursuant to a "general
warrant" it was illegal ab initio and thus the seizure both the
specifically described items (the package contents) as well as
the items seized from the defendant's roon\ must be supressed.

Initially, we note that the defendant ignores the fact that
the package and its content were seized from a different place
than the other items. It is the position of the United States
that the defendant lacks standing to object to the seizure of

the package, and its contents, because it was not in his room.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 83 of 311

_'7_

Second, we submit that the search warrant was not a "general
warrant" either as drafted or when read in conjunction with the
supporting affidavit. Third, we submit that if the wording was
unprecise, the good faith action of the investigators in relying
on the warrant makes supression inappropriate.

A. Standing

Defendant lacks standing to object to the seizure of the

package from a table in the hall in the house in which he rents a
room.

Defendant has the burden of showing "standing" to contest

the seizure of the package. United States v. Salvucci, 448 U.S.

 

83 (1980); §aka§_ v. Illinois, 439 U.S. 128, 131 n.l (l977).
Defendant has not alleged the facts upon which he claims "standing"
nor is he able to.

Although the agents entered the premises with a warrant for
the entire house, they became aware that defendant only had
exclusive control over a bedroom. lt was this bedroom which
became the focus of the search. While going to the bedroom, the
agents found on a table in the hall of the landlord's house the
package which had been previously searched, The package was
seized. The area from which the package was seized was not one
in which the defendant had a "legitimate expectation of privacy."

The instant situation is analogous to that of a boarding
house in which there are private and common areas. The area

in which the table was located was, from the defendant's point of

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 84 of 311

_.8..

view, a common area and the defendant does not have a "consitu-
tionally protected reasonable expectation of privacy." United

States v. Anderson, 533 F.2d 1210, 1214 (D.C. Cir. 1976).

B. The Warrant
The defendant challeges the warrant in this case as not
complying with the particularity requirement of the Fourth Amend-
ment, Defendant claims that such failure resulted in a general
search in violation of the Fourth Amendment and that suppression
of the package and the evidence seized from the defendant's room
is required, We disagree.
The Fourth Amendment requires that a warrant issue "particu-
1arly describing the. .. things to be seized." These requirements
make general searches, . . impossible and
prevent the seizure of one thing under a
warrant describing another. As to what is
to be taken, nothing is left to the discretion
of the officer executing the warrant.
Andresen v. Maryland, 427 U.S. 463,400(1976) quoting Stanford vs.
Texas, 379 U.S. 485. However, "the degree of specificity required

is flexible and may vary depending on the circumstances and the

type of items involved." United States v. Muckenthaler, 584 F.2d

 

240, 245 (8th Cir. 1978).

The instant warrant provides for the seizure of one named film,
four named magazines, one described advertisement "in addition to
other photographs, magazines, writings and documents which are evi-

dence of violations of Title 18 U.S. Code Section 1461 and 1462."

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 85 of 311

_9_

Defendant, relying primarily on Lo-Ji Sales Inc. v. New York,

 

422 U.S. 319 (l979) asserts that the instant warrant called for
"[t]he seizure of anything else the officers determined in their
sole discretion, violated federal obscenity laws. "Defendants
motion P.7. However this case differs greatly from Lo-Ji.

The Lo;li warrant, a copy of which is attached as Exhibit
E, allowed for its completion after issuance and while at the
scene of the search. The police took the magistrate with them
and he became actively involved in the execution of the warrant.
The Supreme Court rejected the search on a totality of the circum-
stances: the wording of the warrant, including its open ended
nature; the execution of the warrant including the presence and
participation of the magistrate; the lack of probable cause for
anything other than the two named films; and the public nature
of the premises which led it to conclude that the execution of
the warrant had became a general search.

In contrast, the warrant in this case provided for the seizure
of specific magazines; of documentary evidence of specified crimi-
nal laws; and magazines and photographs which were evidence of
illegally imported pornography or mailed pornography. Since
document searches are valid, e.g., g§i§ed States v. Espinoza, 641

F.2d 153 (4th Cir. 1981); United States v. Torch, 609 F.2d 1088

 

(4th Cir. l970), g§£t. denied, 446 U.S. 957 (1980); United

States v. Jacobs, 513 F.2d 564, 567 (9th Cir. 1975), the only
infirmity could arise out of the authorization of the seizure of
"magazines and pictures". By the wording of the warrant, however,

those magazines ¢or pictures have tx) be foreign produced and/or

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 86 of 311

_ 10 _

evidence having been mailed. These directs are Sufficiently
specific§/

Even if the language of the warrant was overbroad, it can be
narrowed when read in light of the accompanying affidavit. In the
light of the warrant it is clear that the search is for foreign pro-
duced pedophelia material.

Our Court of Appeals has approved the reading of search war-
rants in conjunction with the underlying affidavit. Although the
instant warrant does not specifically incorporate the affidavit
by reference, it does state

I am satisfied that there is probable cause to

believe that the property so described is being

concealed on the person or premises above-described

and the grounds for application for issuance of the

search warrant exist as stated in the supporting
affidavits.

 

(Emphasis added.)

 

3/ Defendant points to the execution of the warrant to prove its
general nature. Defendant claims the agents took eleven large
bags of evidence. However, these eleven bags, used to segregate
evidence by place of seizure, fit into two boxes approximately 12
x 24. While the execution of a sufficiently particularized
warrant can become unlawfully general, United States v. Hubbard,
493 F. Supp. 209, 224 (D.D.C. 1979) aff'd, 650 F.2d 293 (D.C.
Cir. 198). such is not the case here, Inspector Northrop was
aware, based in his experence and training that pedophiles engage
in sexual molestation of children. Northrop was further aware
that such individuals often keep photographs and other information
about their victims. Based on the materials discovered during
the execution of the search warrant, there was no question that
the defendant is a pedophile. Northrop thus believed that it was
probable that photograph of the defendant and younger boys portray-
ed victims of sexual assault and that the children's toys in the
defendant's room were instrumentalities of criminal Conduct.

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 87 of 311

n ll _

In United States v. Thompson, 495 F.2d 165, 170 (D.C. Cir.
1974), Judge Leventhal observed that

[W]e have construed the terms of a warrant
by reference to the underlying circumstances
disclosed in the accompanying affidavit.
Moore v. United States, 149 U.S. App. D.C.
150, 461 F.2d 1236 (l977). 4/

That course is appropriate here with a war-
rant whose terms are sparse even when
measured against the requirement that only
the "generic class" of items to be seized
must be described. See James v. United
States, 416 F.2d 467, 473 (5th Cir. 1969),
cert. denied, 397 U.S. 907 (1970).

 

 

 

4/ In Moore we held that language of the warrant
could be narrowed by reference to the affidavit
provided that the affidavit accompanies the
warrant and is incorporated by reference
therein, and we further noted that the require-
ment of incorporation would be satisfied by the
common practice of the United States Magistrates
for the District of Columbia of requiring
annexation of the affidavit to the warrant
and delivery of both documents at the premises
searched. 149 U.S. App. D.C. at 15, n.6,

461 F.2d at 1240 n.6. [It's unclear what
happened in Thompson]. We adhere to our view
that the requirements of Moore represent sound
practice. In this case, in which the crucial
events occurred well before Moore, both affi-
davits, . . ., were made by a member of the
search detail and carried to the scene of the
search. The circumstances do not embody the
dangers we sought to avoid by the requirements
announced in Moore, and we conclude construction
of the warrant in light of the affidavits is
appropriate.

 

 

In United States v. Wuagneux, 683 F.2d 1343 (llth Cir. 1982),

cert. denied, 104 U.S. 104 S. Ct. (1983), the defendant challenged a

 

search warrant to seize records of "the receipt and disbursement

of kickback funds". Id. at 1350. The Court rejected the challenge

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 88 0f311
_ 12 _ .

based on its finding that "kickback funds" has a generally understood
meaning. The Court then relied on the affidavit in support of the
warrant to resolve any ambiguities about the kickback scheme. In
so doing, the Wuagneux Court shows the same flexibility attitude

evinced in United States v. Thompson, supra.

 

The thrust of Wuagneux applies in this case. Clearly, there
exists a minimum understanding of what is obscene. §§§, Jacobellis
v. Ohio, 378 U.S. 184, 197 (1964)(Stewart, J. Concurring).

In certain contexts, such as customs inspections, agents can seize
evidence based on their common-sense decision about its obscenity.

See 19 U.S.C. § 1305; United States v. Thirty-Seven (37) Photographs,

 

402 U.S. 363, 376 (1971); Cherry v. Secretary of Treasury, 460

 

F.Supp. 606 (S.D.N.Y. 1978), aff'd., 441 U.S. 938 (1979)(seized
material can be held until judicial determination of obscenity).

Cf. United States v. Nemuras, 567 F.Supp. 87 (D. Md. 1983) ("1ewd"

 

has a generally, well recognized meaning). Some courts have even
authorized warrantless seizure of obscenity under exigent circum-
stances, §mi§h v. United States, 505 F.2d 824 (6th Cir. 1974) or
based on plain view, Scherger v. §§a§§, 371 So.2d 515 (Fla. Dist.
Ct. Aps. 1979) appeal dismissed, 374 So.2d 100 (Fla. 1979). When
the warrant is then read in conjunction with the affidavit it
becomes clear that the search is authorized for evidence of foreign
produce child pornography and evidence of its purchase. The seizure
was confined to those items.

Lo-Ji Sales, supra, and the other cases cited by defendant

 

arise in the context of the First Amendment, Our case does not;

therefore, more liberal standards apply and the defendant's challenge

must be denied,

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 89 of 311
1 13 _

The common thread of Marcus [v. Search Warrant,
367 U.S. 717 (1961)], A Ouantity of Books[v.
Kansas, 378 U.S.205 (1964)] and Lee Art Theatre
[v. Virginia, 392 U.S. 636 (1968)] is to be
found in the nature of the materials seized

and the setting in which they were taken, See,
Stanford v. Texas, 579 U.S. 476, 486 (1965),

In each case the material seized fell arguably

within First Amendment protection and the taking
brought to an abrupt halt an orderly and presump-
tively legitimate distribution or exhibition.

 

 

Roaden v. Kentuckyr 413 U.S. 496, 500 (1973).

The particularity requirement is applied with "scrupulous
exactitude“ in cases involving the First Amendment, Zurcher v.
Standord Daily, 436 U.S. 547 (l978). See also, United States v.

Pryba, 502 F.2d 391 (D.C. Cir. 1974); United States v. Apker 705

However, to paraphrase Roaden, supra, 413 U.S. at 501, a

seizure unreasonable as to one type of material in one setting

maybe reasonable in a different setting.

In contexts that do not involve First
Amendment considerations, the test for

the necessary particularity is a pragmatic
one: "The degree of specificity required
when describing the goods to be seized may
necessarily vary according to the circum-
stances and type of items involved. . .
[T]here is a practical margin of flexibility
permitted by the constitutional requirement for
particularity in the description of items

to be seized.

United States v. Torch, 609 F.2d 1088 (4th Cir. 1979) cert.

denied, 446 U.S. 957 (1980) quoting United States v. Davis,

 

542 F.2d 743, 745 (8th Cir. 1976). §f. United States v. Pryba,

312 F.Supp. 466 (D.D.C. l970), aff'd, 502 F.2d 391 (D.C. Cir. 1974).

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 90 of 311

_ 14 _

In United States v. Cangiano, 491 f.2d 906 (2d Cir.) g§£t. denied,
419 U.S. 904 (1974), the storage facility of an underground porno-
graphy operation did not "presumptively invoke First Amendment
protection." Neither the defendant's room nor his possession of the
magazines were protected by the First Amendment. The Supreme Court

has observed as long ago as Roth v. United States, 354 U.S. 476,

 

485 (1957) that obscenity is not within the area of constitutional-
ly protected speech or press. In New York v. Ferber, 458 U.S. 747
(1982) the Court noted that child pornography is not a subject
protected by the First Amendment, Also, United States v. Various

Articles of Obscene Merchandise, 460 F.Supp. 826, 830 (S.D. N.Y.

 

1978).

Even if the Court were to find that the warrant was overbroad
as to the seizure of "evidence of violations of 18 U.S.C. §
1461 and 1462", the Court can sever the particularly described
items, the package and the documents from the others. §;g;, United
States v. Fitzgerald, 724 F.2d 633 (8th Cir. 1983)(§§ b§§§), cert.

denied, 104 S. Ct. 2151 (1984); Sovereign News Co. v.

 

United States, 690 F.2d 569, 576 (6th Cir. 1982), cert. denied,
104 S. Ct. 69 (1983), The package and documents are thus admiss-

ible.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 91 of 311

_15_

Finally, even if the warrant in question is irrepairably
overbroad suppression would be inappropriate. The agents conducted
the search of the defendant's room based on their good-faith
reliance upon the Magistrate's warrant. Therefore, the good-faith
exception to the exclusionary rule applies. United States v.

Leon, U.S. , 104 S.Ct. 3405 (1984); Massachusetts v. Sheppard,

 

____U.S. , 104 S.Ct. 3424 (1984); United States v. Accardo, ____
____F.Zd (llth Cir. 1985), 36 Cr.L.Rptr. 2303 (Jan. 30, 1985);
United States v. Segovia-Melgar, 595 F.Supp. 753 (D.D.C.

1984). The officers could reasonably rely on the warrant and

they did so.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 92 of 311

_ 16 _

II. The Original Search of the Package Was Lawful

 

Defendant challenges the border search of the suspect package

claiming that the opening was in violation of Title l9, U.S. Code,
§/
§ 482 and United States v. Ramsey, 431 U.S. 606 (l977). However,

 

defendant's challenge is based on an incorrect characterization of
the package as “lettermail" rather than merchandise.

The package addressed to the defendant was opened during a
routine customs search at a mail facility in New Jersey. The
package was addressed to "Mr. Nader" and Inailed fron\ Amsterdam,
Holland. The package which has the words "Books" handwritten on it
also has an official Customs declaration (a copy of which is attached
as Exhibit A), which states that it contains "books", as a gift.
The Customs declaration authorizes the opening of the package
without any justification.

The Customs declaration on the package authorizes the search
of the package for three reasons: First, the declaration notifies
the Customs inspectors that the package contains merchandise thus

making it subject to an unfettered border search. Second, the

5/ 19 U.S. Code, § 482 provides: Any of the officers or
persons authorized to board or search vessels may . . . examine . .

. any vessel, beast or person, on which or whom he or they shall
suspect there is merchandise which is subject to duty . . . and to

search any . . . envelope . . ., in which he may have a reasonable

cause to suspect there is merchandise which was imported contrary
to law.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 93 of 311

_ 17 _

declaration constitutes a consent to search the declaration contains
the notation "Peut etre ouvert d'office" which translates as may be

opened officially. And third, the fact that the package contains

merchandise provides "reasonable suspicion" under Ramsey that it
contains dutiable goods.

The issue raised by defendant was rejected in the case of
United States v. Glasser, 750 F.2d 1197 (3rd Cir. 1984). In
Glasser, Customs officers inspected two packages containing carved
wooden heads mailed to the United States from Jamaica. The Court,
in approving the search of the packages, noted that

On a constitutional level, then, it
is beyond question that agents of
the federal government may, without
cause, search persons and packages
entering the country without viola-
ting the rights guaranteed by the
Fourth Amendment.

1§. at 1201. The Glasser Court rejected the argument that the

search was controlled by 19 U.S.C., § 482 finding instead that 19

U.S.C. § 1582 applied.

Customs' authority to conduct searches
at the border, however, is not limited
to section 482. Section 1582 of Title
19 also confers a broad authority to

conduct discretionary searches at the

border, Section 1582 in pertinent
part provides that:

The Secretary of the Treasury
may prescribe regulations for
the search of persons and bag-
gage [...] and all persons
coming into the United States
from foreign countries shall
be liable to detention and
search by authorized officers
or agents of the Government
under such regulations.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 94 of 311

_ 18 _

19 U.S.C. § 1582 (1982)

In furtherance of this statutory man-
date, the Secretary of the Treasury
has promulated certain regulations.
Regulation 162.6 of Title 19 of the
Code of Federal Regulations provides
that "[a]ll persons, baggage, and
merchandise arriving in the Customs

territory of the United States from
places outside thereof are liable

to inspection and search by a Cus-
toms officer." 19 C.F.R. § 162.6
(1984) (emphasis added). Also rele-
vant is Article 145 of Title 19 which
contains regulations dealing speci-
fically with mail importations.
Regulation l45.2(b) in pertinent part
provides:

All mail arriving from outside
the Customs territory of the
United States which is to be
delivered within the Customs
territory of the United States
and all mail arriving from out-
side the U.S. Virgin Islands

which is to be delivered within
the U.S. Virgin Islands, is

subject to Customs examination,
except [certain governmental
and diplomatic correspondence].

19 C.F.R. § l45.2(b) (1984). Article
145 also contains more stringent re-

gulations dealing with the opening
of sealed letter class mail.

Id. at 1202.

After discussing the decisions in United States v. Ramsey, 431 U.S.

 

606 (l977) and DeVries v. Acree, 565 F.2d 577 (9th Cir. 1977), both
of which were involved letter class mails, the Glasser Court

continued

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 95 of 311

_ 19 _

It must be noted that neither Ramsey
nor DeVries discussed the applica-
bility of section 1582 to the search
of mailed packages. All the Courts
of Appeals that have considered the
entry of packages have held that,
without articulating a reasonable

suspicion, Customs may search pack-
ages mailed to the United States

from abroad pursuant to the autho-

rity of section 1582. See United
States v. Pringle, 576 F.2d 1114,

1116 (5th Cir. 1978); United States

V. Emer , 541 F.2d 887, 889 (lst
Cir. 1976); United States v. Odland,

502 F.2d 148, 150 (7th Cir.), cert.

denied, 419 U.S. 1088, 95 S.Ct. 679
42 L.Ed.2d 680 (1974).

 

1§. at 1203. See also, United States v. Ramsey, 538 F.2d, 415, 418

 

(D.C. Cir. 1976), rev'd on other grounds, 431 U.S. 606 (l977)

 

(and cases cited therein).
The Glasser Court then found that
the broad statutory grant of authority
in Section 1582 is clearly sufficient
to uphold the customs regulations
permitting the search of packages
without cause.
1§. at 1204. Thus, the opening of the package by Customs authorities
was lawful.

III. The Customs Service Lawfully Forwarded the
Package for Delivery

 

Defendant asserts that once the Customs authorities determined
that the package contained obscene materials that they were required
to pursue forfeiture pursuant to Title l9, U.S.C. § 1305(a)
and could not, as they did here, forward the package for delivery

and further investigation. Defendant further asserts that the

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 96 of 311

_20..

alleged violation of the statutory scheme requires suppression of
the package. We respectfully disagree.

The problem with defendant's approach arises from his reliance
on a statute, 19 U.S.C. § l305(a) designed to provide the Customs
Service authority to prevent the importation of obscene material¢
The statute allows for the forfeiture of goods found to be obscene,
and requires their destruction. Section 1305(a), however, is not
the exclusive method of dealing with the importation of obscenity.
Title 18 U.S.C. § 1462 makes the importation of obscenity a crime.
Certainly in the enforcement of Section 1462 the authorities have
the right to preserve the evidence of the crime and to use it during
the course of their legitimate investigations.

The defendant's argument was rejected by Judge Gilliam in
United States v. Mahan, Crim. No. 84-0662, Southern District of
California, a copy of which is attached hereto as Exhibit F, Judge
Gilliam noted:

The defendant's argument must be rejected.
It would be contrary to legislative in-
tent to burden law enforcement from col-
lecting evidence by not permitting them
to use controlled deliveries.

Judge Gilliam relies on United States v. One 1974 Jeep, 536
F.2d 1285 (9th Cir. 1976). Although _§eep_ involved drugs and a
claimed violation of 19 U.S.C. § 482, the rationale is the same.
The Court noted that to require the agents to merely seize the
drugs for forfeiture

would deprive federal officers of a most
effective method of obtaining evidence
which is clearly a result contrary to

congressional intent . . . [even] as-
suming the law was violated, [n]one of

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 97 of 311

_ 21 _

[the statutes allegedly notated] conferred
rights upon appellant. The allegedly
illegal cause to conduct of the agents
neither deprived appellant of any

substantial person right nor violated
any deep-rooted social value.

1§. at 1287 quoting United States v. Davis, 272 F.2d 149 (7th Cir.

 

1950). See also United States v. Ramsey, 431 U.S. 606 (1977);

 

United States v. Glasser, 750 F.2d 1197 (3rd Cir. 1984); United

 

States v. Doe, 472 F.2d 982 (2d Cir.), cert. denied, 411 U.S. 969

(1973).

THE STATEMENTS OF THE DEFENDANT ARE ADMISSIBLE

 

Defendant argues that statements made by him, in the presence
of his attorney some four days after the search of his room were
the fruit of the illegal search. We disagree.

On April 12, 1985, federal agents executed a search warrant in
the romn where the defendant resides. The next day Gwynneth M.
Moolenaar, Esquire contacted Postal Inspector Robert Northrop on
behalf of the defendant. Northrop indicated that he was interested
in a meeting to go over the materials seized and to talk about the
children portrayed in the personal photographs seized. A meeting
was arranged for April l6.

On April 16, 1984, at 3:25 p.m., a meeting was held at the
United States Post Office, Defendant came to the meeting accompanied
by Attorney Moolenar, Inspector Northrop told the defendant and

counsel that he did not know what was going to happen to the case.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 98 of 311

_22..

Northrop informed counsel and the defendant, that he was conducting
a criminal investgation of the defendant. Northrop indicated that
law enforcement had re-emphasized pornography investigation and he
could not be sure what course this investigation might take.
Northrop then reviewed the seized material with the defendant so
that he would be aware of what had been taken, During the interview
certain admissions were made. Northrop then asked the defendant to
initial and date certain materials. Counsel for the defendant
objected to this procedure. The defendant was then formally advised
of his rights at about 4:00 p.m., which he waived and be answered
the same questions again. Counsel for defendant was present during
the entire interview. The interview terminated at about 5:00 p.m.

I. The Statements of the Defendant Are Not The Fruit
Of Any Illegality

 

Obviously, if the Court agrees with the United States that the
seizure on April 12 was lawful, the statements are not tainted by
the search. However, if the Court were to find the search
illegal, the defendant's statement are not the fruit of that
illegality. Defendant's having retained counsel who accompanied
him when he lnade the statements overcomes any influence of the
illegal seizure.

Defendant's claim ignores the second part of the decision in
Wong Sun v. United States, 371 U.S. 471 (1963) dealing with Mr.
Wong Sun. Wong Sun was arrested under circumstances that were

later held to be illegal. He was arraigned and released on his

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 99 of 311

_23_

own recognizance. Several days later, Wong Sun came to the police
station, without counsel, and gave an inculpatory statement. The
Court held the statement was not the fruit of the illegal arrest
because the connection between the arrest and the statement had
become so attentuated as to dissipate the taint, citing Nardone.
ld. at 491. The test established by the Court is:

whether, granting establishment

of the primary illegality, the

evidence to which instant objection

is made has been come at by exploitation
of that illegality or instead by

means sufficiently distinguishable

to be purged of the primary taint.

ld. at 488. Our Court of Appeals noted that

In the case of statements, Wong
Sun requires that they be suffi-
ciently an act of free will to
purge the primary taint. "Id.
[371 U.S.] at 486. Courts must
make this determination on the
facts of each case after considering
such matters as" [t]he temporal
proximity of the arrest and the
confession, the presence of
intervening circumstances," and
the purpose and the flagrancy

of the official misconduct.
Brown v. Illinois, 422 U.S. 590,
603-04 (1975)

 

Qn1ted States v. Davis, 617 F.2d 677 (D.C. Cir. 1979). In Davis,
the Court refused to exclude grand jury testimony of Gelestino
given after he had retained counsel and reflected on his agreement
with the government even though he was the victim of an illegal

arrest at which other, suppressed, statements were made.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 100 of 311

_.24...

Based on the instant facts, we submit that the statements made
by the defendant were not the result of the seizure. Defendant had
not been arrested. Defendant came to a meeting with law enforcement
officers voluntarily and in the company of his attorney. Defendant
had the advice of his attorney during the course of the interview
and refused certain requests of the authorities based on that
advice. Finally, defendant was advised of his rights, waived them
and again made inculpatory statements. Certainly on these facts

exclusion is not appropriate.

2. The Defendant's Statements were voluntary

Defendant claims that his statements must be Suppressed because
they were involuntarv. Defendant's claim is based on his assertion
that Postal Inspector Northrop

"advised counsel that if the defendant
came in for an interview the government
would return to him the material seized
at his home. Northrop said he wanted
to review the material with the defen-
dant prior to returning it and explain
to him why he should not have the ma-
terial the agents found obscene. Counsel
was further advised that Mr. Nader
would not be arrested and no prosecu-
tion planned."

Defendant's motion. p. 31. While we dispute that any such repre-
6/

sentations were made. we submit that even if they were, the

defendant's statements were voluntarv.

6/ Counsel for the defendant. an experienced attorney who had
previously served as an Assistant United States Attorney was fully
aware that federal investigators could not make the promises it is
claimed were made. Counsel was further aware that the prosecutor
assigned to the case was out of town during her discussions with
Northrop, Finally, defendant can produce no document cn: writing
made by Northrop agreeing to not prosecute the defendant.

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 101 of 311

_25_

At a hearing on the defendant's claim, the government must
prove that the statements were voluntary by a preponderance of the
evidence in order to allow their admission. ngg v. Twomey, 404
U.S. 477, 482-484 (l972). The question to be determined is whether
the defendant's will has been overborne by coercive pressures or
illegal inducements. The test for voluntariness is whether the
confession is "the product of an essentially free and unconstrained
choice by its maker." Culombe v. Connecticut, 367 U.S. 568, 602
(1961). In making this judgment, courts have approached the problem
on a case-by-case basis based on the totality of the circumstances,
Frazier v. §uppL 394 U.S. 73 (1969), with particular attention to

the personal characteristics of the accused. Gallegos v. Colorado,

 

370 U.S. 49 (1962).

The operative factor in this case is the presence of the

defendant's counsel.

The presence of counsel . . . would be
the adequate protective device neces-
sary to make the process of police
interrogation conform to the dictates
of the privilege [against compelled
self-incrimination.] His presence
would ensure that statements made in
the government-established atmosphere
are not the product of compulsion.

Miranda v. Arizona, 384 U.S. 436, 466 (1966).

 

Defendant, however, cites the broad language of Bram v. United
States, 168 U.S. 532, 542-43 (1897) as forbidding any "direct or
implied promise." But the language in Bram was explained in United

States v. Brady, 397 U.S. 742 (1970). In Brady, the Court approved

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 102 of 311

_.26_

as voluntary a negotiated plea of guilty in order to avoid capital

punishment.

that Bram did not require a finding of involuntariness.

m-

Cir.

 

Bram dealt with a confession given by a
defendant in custody alone and unrepresen-

ted by counsel. In such circumstances, even a
mild promise of leniency was deemed sufficient
to bar the confession not because the promise
was an illegal act as such, but because defen-
dants at such times are too sensitive to induce-
ment and the possible impact on them too great
to ignore and too difficult to assess. But Bram
and its progeny did not hold that the possibly
coercive impact of a promise of leniency could
not be dissipated by the presence and advice

of counsel any more than Miranda v. Arizona,

 

 

 

After quoting the broad dicta of Bram, the Court ruled

384 U.S. 436 (1966) held that the possibly coercive

atmosphere of the police station could not be
counteracted by the presence of counsel or other
safeguards.

at 574. See also, United States v. Davis, 617 F.2d 677
1979).

whether an examination of all the
circumstances discloses that the
conduct of law enforcement officials
was such as to overbear [the defen-
dant's] will to resist and bring
about confessions not truly self-
determined,

(D.c.

The test, even in cases where some inducement exists is

United States v.

Reed, 572 F.2d 412 (2d Cir. 1978), cert. denied,

sub nom., Goldsmith v. United States, 439 U.S. 913 (l978).

Case 1:85-cr-OOO33-.]GP Document 10 Filed O3/O8/18 Page 103 of 311

_ 27 _

The circumstances in this case clearly show that the defendant
voluntarily met with and spoke to the agents. Even if there was
some thought, initially, that the defendant's statements might not
be used against him, there was no question after he was advised of
his rights of the adversary nature of the interview. After the
advice of rights, defendant continued to meet with and talk to the
agents for approximately one hour. To now claim that the defendant's
statements were not voluntary is absurd. Therefore, we submit the

defendant's motion should be denied,

Respectfully submitted,

JOSEPH E. DIGENOVA
United States Attorney

Wfi»_~

DOUGLA B HR
Assist United States Attorney

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that I have served a copy of the foregoing
Opposition upon defendant by mailing a copy thereof to his attorneys,

David Povich, Esquire, and Richard Hoffman, Esquire, WILLIAMS &
CONNOLLY, Hill Building, 839 17th Street, N.W., Washington, D.C.
20036, on this 24th day of April, 1985.

 

poll L s J BEHR '“
Assi t nited States Attorney

U.S. District Courthouse
Washington, D.C. 20001
272-9078

 

 

 

A
T
I
B
I
H
X
E

 

 

 

 

 

 

' ,/

ease 1:35-$@33-%1> FDBC\SEA¢HQIS W=MRBN$B(/i§ Page 105 of 311
EXHIBIT B '-“'_'

 

 

 

"_ ocs‘rmc'r of Co]_,m a
,#zx`.! States Yistrirt Court 7
'F . pocx¢'r No. v MAGIsTnA'r¢'s case No.
UnitedStatesofAmenca . ' 84-024'?_“ {,

 

 

NRM¢ AND AD°RL$S OF JUDGEL on U.S. MAG|STRAT¢

vs.
2019 Ccmnecticut Ave'me

gas a 4-sto.ry residaznewithwhite

cm lst floor. Red brick ex- . _ _ *'

mznd & 3rd floor and a greenisl;x

NM_@Q§MQM m M»imm. mm -im-S=-m___ .

&m\ being,cm\-y sworn demand nysa-That th¢n.i.s ransom to bl+ilv¢. trut.... :.»~ .=:.-`.':.-.'“_’.,..=v.'.`.`..i'._.=r"..r_-“.:.‘..Z...'-.?=:.‘.-"-..'_-_'¢',`,._ ..

TR GT

Jch¢¢"'*""°' m°“d"'m"“k"°*“°' fm l of Columbia

mecticutAvann,descrjbedasanryraidmcewidimibestmee¢eriorm
floor. Redbiid<mcberiormZni&Brdfloaraniagreenishslaperoofwithmite
m4d1floor.hontdoormleftgromdsideoffrontwithabladcban'edfoyer.
315 clearlyvisible.

 

 

 

 

 

 

 

 

 

lalmbbvie'?ile#lllaverboysm.ck&'lbny,' lMagazine, Piccaloh'bct:ra#l$,, '
flnagazine "Fuddng€h.i.ldren," lMagazine"Ioll.iPops#Z,"lMagazine "Banbino#lmd
Advertisementforbbvieofd’oeand‘lmt$,_" inadditimtootherphomgraphs,_ magazines,
mdwritingsam&cmztswhichueevidmneofviohtimsofntlelB,U.S.Code,
Sect:i.cn'x1461, 1462.

 

nt.lnegu~.m“follawing gorman for som:h'a'ld»nimrl 2’:‘.»-~ -': -,‘.."-\'?.'»'.-=~.' "'--.r.-.,¥'"-. ...1-='..'-;.1-.:.--?'¢-‘-*."~`=-`---;.-.3'- ' '--

ec attad'led affidavit which is incorporated as pan of this affidavit for march warrant
M fol|amna_¢~acg,uutiwingd* foregoing grounds for issuance of aSur'ch warrant. -...;.: .-.. __ =:..-4-.--~.--. --~..-

 

h-
»~-»

(SEE m AF.E']DAVE)

 

 

irTURE FA T i§ _0FF|C|ALTITL¢,1FANY
ir°€@é;l Soecial Agent, U.S. Q.\sb:xns Service

`--,».. W‘¢ ».*_ ~/.-r-i-'P»"\_¢ -' "_ .','.' 1'..

}`.ml°~ .....WM

 

 

 

 

 

M$uulmuwoh$nucoun_¢…!
Bmhvh¢m\omd“¢mhhmmani¢¢¢°mmhdonlkuhdcrimhdhoudun‘"d. ammons-monica

  

   

8 '~F?age 106 of 311 _
84-0241l

 

CaSe 1:85' '@033-.JGP Document 10 Filed O3/6».,__,_

AFFIDAVIT IN suPPORT oF A sEARcH wARRANI FoR
2019'€0NEECTIcuT AvENuE, Nw, wAsHINGTBN, nc 20008

Donald Bludworth is your affiant and is a Special Agent with U. S.
Customs

The affiant has been informed that:

0n or about March 27,1984,Andrew Taylor, Customs Inspector, Special
Processing, while performing customary, normal border searches of
incoming mail at the Jersey City, NJ Mail Processing Plant for Incoming
Mail, performed a customs inspection on a first-class letter addressed to
Mr. J. Nader c/o International Insight, 2019 Connecticut Avenue, NW,
washington, DC 20008, U. S. A. The customs declaration disclosed that it
contained books. The letter itself is described as a brown mailing pack
type envelope, approximately 12“ by 8 1/2“ bearing the above-named
address and a return address of Ralf Zonatz, 1012 LK Amsterdam, Domrak,
42°43 Holland, bearing two green postage stamps from the Netherlands.
The envelope was also marked ”book“ twice on the front side. This was
handwritten in- a black pen. The package was opened as per the authority
of the U. S. Customs Department, upon which the following items to which
affiant has probable cause to believe are obscene, were discovered and
se zed:

1. One (1) 8 MM Movie uFilm 511 Lover boys Rick & Tony“
2. One (1) Magazine "Piccalo Extra #15“ ’

3. One (1) Magazine "Fucking Children"

4. One (1) Magazine "Lolli Pops #2"

5. One (1) Magazine "Bambino #l”

6. One (1) Advertisement for movie of Joe & Tom #3

This-seizure occurred at approximately 8:30 a.m.-on March 26, 1984, and
'was given Seizure No. 84:46-01°00281.

Also received were one magazine entitled "Boy No. 53" containing photos
of nude and dressed boys, one oagazine entitled "Sweet Little l6,
Volume 3, No. 8“ and two black and white pictures of nude boys.

The material was reenclosed in the original container and then mailed to

Special Agent Carol Hawkins, Office of Investigations, U.S. Customs
Service, 12310 Pinecrest Road, Suite 202, Reston, VA 22091, via

Registered Mail. The package was mailed under Registered Mail
No. R070-949-069. The material was delivered to the Customs Office in
Reston and personally opened by Special Agent Don‘ Bludworth. Ah
inventory of the materials contained in the original package was made by
Agent Bludworth, and it was the same as the original inventory conducted
by the Customs Inspector in New Jersey. The material is currently in the
possession of Agent Bludworth. .

   

'1

 

  

a Page107oi311 ,_

- ` 84-024‘_M
The magazines entitled "Piccalo Extra No. l5", "Lolli Pops No. 2" and
“Bambino No. l" listed as Nos. 2, 4, and 5 above contain color and black
and white photographs of young boys committing acts of masturbation, and
fellatio. Additionally, magazines "Piccalo Extra No. l5" and."Lolli Pops
No. 2“ listed above as Nos. 2 and 4 show young boys engaged in anal
intercourse. _

The magazines entitled entitled "Fucking Children" contains color
photographs of young boys and girls committing fellatio, masturbation and
intercourse. The back cover of the magazine has an advertisement for
"Lolita" and "Perverse' Kinder" magazines described as "Lolita" magazines
and "Children Making Love..." _ '

Tl'le eight millimeter movie entitled "Film No. ll, Lover Boys Rick and
Tony“ is contained in a wrapper, depicting two boys, who appear to be
pre-pubescent, comitting anal intercourse and fellatio. The text of the
wrapper describes the boys as ages ll and l4. Your affiant was informed
by Customs Agents irl New Jersey that they viewed the film and that it
contained scenes consistent with the photographs on the wrapper.

The advertisement for the movie "Joe and Tom No. 3"' show?'wo boys who
appear to be pre-pubescent comitting mutual masturbation and fellatio-
The text of the advertisement says "having seen this fi`lii, who in the
world could deny that`kids of l0 are not interested in sex..."

On April lO, 1984, the originals of the items listed above were shown to
U.S. Magistrate Patrick `J. Attridge. ' Copies of the items are attached
hereto and incorporated by reference. . .

Affiant interviewed S/A Walter E. Hekala, Jr., of the U.S. Customs
Service who during the period 1975 - 1980 conducted approximately 150
investigations of illegal importation of pornography, particularly
pedophelia.' In S/A Hekala's experience, persons who order pedophelia
material from overseas retain copies of order'.blanks an`d catalogs for
such material and evidence of payment for it. Hekala stated that payment
is generally made `by U.S. Postal Money Order or bank money order in
'American dollars. Hekala states that during the period of his investi-
gation, pedophelia magazines typically cost $15 each and BMM films
typically run $50 - 575 per film.

Hekala further states that in his experience pedophiles keep records-of
all purchases to keep track of the reliability of suppliers. Hekala
further'states that in his experience, pedophiles generally have large
quantities of pornographic material which is usually of foreign origin.

0n April 'lZ, l984, _at_. /j“[@ fi@'“/¢'$, the above _described items were
delivered in the original package to 2019 Connecticut Avenue, Nw,
Washington, DC 20008,

   

e-"" _.'.`: n -.

 

'i
ri
‘J
l
i
'i
15
i
!

   

age 103 of 311

' ` O3/O8/18 l
- _ ~ P Document 10 Fl|ed 1 l
CaSe 185-cr OOO§'§`\JG _

 

Based on the above described facts, your affiant

believe that there is currently secreted inside of 2019 Connecticut
Avenue, Nl»', Washington, DC 20008, items described herein as well as

other photographs, magazines, writings and documents which are evidence
of violations of Title l8 USC l462 and l48l.

_d__, Speci,al Agent, U.S. Customs

 

 

Sworn to and s_ubscribed before me this /2_
day of April 1984.

,1~ f
41
iii
ii
<“Z--
d_
ii
ll
d
m

l l

 

-»¢

sex 114 "ARRANT oN wan'rEN AFF f"v
»_-_--6&3€+'85_-€1‘-0_ d131;1;§-,.:.Evicg-§W§{%il-`_§age-199oi311EXHIBI'I‘ C '-
;¢ded States Ytstrtct loud

 

 

 

'__ ooc)<¢'r No. M 1 'rnA~rs‘s cAs .
uNrrEo sTAT:s 0F AMERch ‘§¢1 _0241‘§‘° `
19 Coxmecticut Avenue, N-W- To: Agent of U.S. Cus_tons Service

gcribedasa¢i-storyrecidmcewith
pitestoneexteriorcnlstfl. Red`
,r.i.d<exterioronhid&kdf'l.an:l 1
f gremishslateroofwithvdiitetrimon

 

 

of front with a black barred f.cye.t
Affdavii(s) having been made before me by the below-named affiant that he/sne has reason to believe that impute
mot)(onthe premises|oiownas)_££l_l$_€‘nnnm'_im:t_wmie N W Washiog+m h r"

 

 

 

 

 

in the District of_Co.limhia there is now being
concealedcerta'inpropeny.mmeiy lwtbvie 'Fi.l.m#]_llaverboysRick&'mny", l
Magazin'?ic:zlo£bd:ca#l$',lt‘hgazine'¥\icldnq€hildreo", lMaqa.zine "Iol.l.i
Pops#Z,"lMagazine 'Banxbim#l,andlAdvertise:rentfortbvieofJoearzd&m¢3,'
inadd.iiicntootberphotogra§is', mgazines, writingsanddocimentswhichare
evidenceofviolaticnsof'rit.l.e 18,U.S.Code, Sectiml461andl462.

 

andaslamsatisfiedttiattt\ereisprobabieceuaawbdievematmepmpenysodescnbedisbdngconcea|edonme
person orpremises above-described and the grounds for application for issuance of the search warrant exist as

 

stated m the rtih s, ¢

WP¢ gaffidavif() N /7\
vou ARE HEREBv coMMANoEptouarcn characters Aprii £. 1984 -
(nottoexceed10days)thepersonorplacenamedabovetorthepropenyspecified, sarvingthiswenantandme|dng
dieseerch(inthedaytirne-B.OOA.M totO:OOP..M)MWW)’ andilthepropertybefound
theretoseizeit. leaw'ngacopyofthiswarrantandreceiptiorthe areawn'!teninventoryot
the property seized and promptly retum thiswarrant to

 

 

erwme “7_“*'“"“7°

4¢‘

 

/J.

 

""‘“¢°' "'*”**“T l slom\.ru o s Accs'rnAT¢ oa‘rl;'rm¢lssu¢o n
11...,.‘.., mims /';Y; per towns

 

 

 

§'1|elevenleth'¢lthmedlyam¢r"llii~/Ibhdli~.d%ihmhbu(e).dnww
inasmuch

 

Cris@.li

..»

;-

 

 

 

 

»¢'-'\'e`

, ,<

»_. '

35-_cr`-G)0033-JGP `Documer®'§" Filed 03/08/18 Page f_l]n of)31_1

`. EXHIBIT D

salmon wAnnANT mvem'onv
' aaron ANo hamlin

  

Thefollo\uingllstcortedmtuanoffidellm¢ttoryoflmueeizedfrurn

l_;_:‘l‘_“_{_inqlfq f_:;__t.-/.».“'":fpm WMJ C*X,‘i~\ ;`1\6 nmi-hhc

humpm\`¢¢,eemeyeed

on_‘S/'_‘£_Z;Ln-T}-pm nnnur¢r¢u.s.owcrce.ns¢¢uiwm

managers-umwang UCG¢..-G:i.

hhs-rdimttlnvermrympnperedbv-IW z~{-{-' M-.~)r.~`. Qg,p_.»-\ .»-' A'./L/Q

_.r , .
..-."`//°r U$¢$` mlncumdmhzcé__,=~¢.&.,\/ o ' ' 5‘7¢\}~» 5

U.S.Peelihepeetlon$erwce.

lh¢ebyedmo~ddqencdptohcopyofd\eamdndhwmtoryaemmdwmebyem¢nb¢

de.$.Poetihepeclhn$-Moe.

r(/-~/,?- 1>‘/
(Dltll ` '.'.

j \-' cJ /.'L..w/‘€( '

_,.'/ ranch or admin

B NQTE: dieckHed:lfbadondu¢d\mmtw-Mpiedi)dcepylehlnculpim §
iecaden.

 

mexdmtobecempleudcnlyonoffldelnumwhrln|hdpl '-
rmmémmmh¢mmmm`ormmmum`wm;h
m . ’

 

_(Smetl.leothepector)_

 

__mehummmi:mmu marc

,1':

 

 

~ , iv .._-\ _5-1.‘ gi:_:`_f

 

_. -' ".\..T*'f. »:‘-\F=-_-"i-_:.-"‘"".°¢`. '1~‘ ..."'.1_'- -

_ Caée 1:€5.£1_00033- .]GP Document<lj- Filed 03/08/18 Pagé 1%01, 311 /

' "ru“-_;.--_. - - *

_i_

M¢___/ PmMAnY LocATtoN. 19/9__6"'““¢!*`1’;£1'*" 1141 wm 115’""“£
srschchocAT10N--__'w=L‘i‘_ip: “‘ "’~=' '°“ "'1““' 'é" 11:“1=‘ “"/" `/
bE$CRlFTION: wlj?#-L“L_,M=H_M:LT'L

_ ,'e 0 l ‘

L-

1' 0

    

 

 

 

 

 

 

 

- mci rmuAnY LocATioN= MMM¢A“[¢,~_
MA 'J
_ . srscmc LocAnoN; MWMMG. '

 

 

 

 

 

 

'1 '. - , oescmmo~= b-'l-_i-¢-LL_A=E_G.U¢£L¥_~_M" ~ "*1" l/“' ' f ` ¢’}
gm ‘_ _' . 1 e, A'r : § - _, . "
' ' ‘ _ . __ a r ¢ l . vi l ' _ 1

 

 

 

 

11 mm ¢__‘L natme LocATicn: ~ _
' m¢|¢|_ocxno~; Ni‘-,-< Dvr"ze»'.'/'. d'i"(¢'-,r».i§v., F.,-=M__»
. . . _ - _ _ , n , _ .

 

d
`°

l 1' "~ _ cwip-hogg Z!ag,`:g,»¢é(c ,€.“n-r./; find Tifyi £:.1 "/i\....'
_ _; ,,A dig¢,gi».,,~r~t- 1 ' U-

 

 

 

 

 

 

 

rnerAnsn's 1N11'1ALs_(/.._.°;LL~..-
""""" "__'_""-“ ' _ m
`..'. .`- ' .;__._. moon-_~.h¢p
Mm-neeee-.
cnw-w
v v j e-
""' \- .-f‘ "'.i_".':' -- ¢* - -v- -‘

 

 

 

 

Cas‘é_ 1:8

".'..\"'--

§-cF-ooos?,-J`GP Doehment`('\£..§Filed'03/03/13 Page 11' 'Qf§ll

M¢__L_

 

FRIMAR.Y LDCAT|ON:

spscxplc LgcA~noN T-_"-_E"' mm `D,' -».-, -`<’,r' )¢m ll ¢ §;¢5_ ;{_-,; a

oescmn_\on= A_h.¢¢...'.._w»"_;;' `¢i-»- _/

 

 

\' I'>
p l:"§'l¢/ /}'?¢M.F’»¢

 

 

 

 

mm o __L - rnmAnY \.ocAT'soN= _
mchl'c LocAT'°N: _L "' "').'P-§; -'- l l _)"9 ._L}C h{f\<{l- ."

 

DESCR|PT|ON:
1 , _ ,

.n un l..

 

 

malme Loc;mou: - .. L, c c
speciqu Locmo_u: M£s_n_?l\iégi_d.zac¢u__

DE$¢:R|FT!ON: '

ltcm¢?

 

 

 

 

 

 

 

rmuAaYLocA‘non= ~ - ‘ J.'.»J ,. ,.`..`..

' _~ sre¢':;!'lcc.ochqn_= JJ/?¢./c/_c£a~li£;n#ll_£_]£l§£gé§_ ' l

ml¢z£» _ ' -' --
' oncmmo~': '

 

 

 

 

 

 

 

' PnsPAnen'smmALs£‘Z§E£La_ '
m n -
“m-M
r_"' "'_" ~"._'. *' " 1"_" *r -¢ \~ _'-"

 

x mymmze.q);mwdmm.;¢..M_. ‘.1.=

 

`. J

Cése 1;&5-Cr

 

 

 

.
hint

¢?

4 ,_`

PmMAnY LocA'rcoN- ~»b-’j(?n .._-,..1[. . ,{,'M¢

d v ..".

"~.- .

-00033- JGF’ Document 10 ©lfed 03/08/18 Page 113 0%1:1

SFECIF|C LOCAT|ON:

.Q.a.l_mav_

   

_ " _ 3 "_'..."- -.*' _\ '_'-.'r\"\-.»..'\

.,.-,_.:-_-_. .,_,.`._._..._

fig

:“‘k/fr 'l'»

 

':“-.r_[ `¢'\jq\_: rcd/l"'l "-1' Md.-J'-'vs F*'~\J. _1

-'»{`/U`;f ¢:"/Mi_! °.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 olE$CHlFTlON: -A__HLL, !A- r")£" S'ch \:I;LL'H'E: . § n
.. l - “J;EJ 310 .
1 of n __/‘:;rllcl »)' UHAN;|
"~ OW\ l-\_ ‘
‘ _
hono_L nume LocAnoN; , -
. srscmc LocA'noN: `
l ' .! - ; n b n
*- ,_ nssc‘mr‘nom_
. - " " oh
.,‘ §
. ' ` . . ' '
m ¢_' rmuAnY Locmo~:
_ marlcl.o¢m'lom
` ¢
_` osscmmo~=
l
nn»_' mann LocAnoN:' "
a snech LocA‘nou= ` .
§ --” o . l
oescmrno~= i " `

 

 

 

 

§
' ' v ‘ /j/£?» *'
f rnspAnsn'smmALs ..r-.‘r’
i _ _ _,/
: :. m
. , _ _ mm_
, 1 _»-»-».
` _ ¢lll¢M-h.-¢
__L.:,::;_ _-.,,__._ -., _

 

 

 

 

__ ._ -»... -' ..-_y_._ - -' ._ ,_ ~

__,“_ nw _ . _,_

CaS_e 1. §E-Cr--OOQ33 -.JGP Document 10 filed 03/08/18 Page 114 of 311

“.“‘ 0 0 "

lu_n ¢ J'_ rnmAnv LocA'noN:

__ __ - ,‘_ _‘¢ ' ....,_ _‘--.
z ....-\. ~_.:,u.v_

 

 

-ermFchocATon= n f ¢mq . _ . \'¢ f.L~.

 

 

`f"'

OESCRlPTION: _B§L""‘-‘=-¢~ lump-meal !._=§' ,’ n,|:==, l.._._,JL_

. "f._.'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_.__. -- . ' __ ;-. ,
' -' f !-~~ =:*\.*F- "‘¢ '.:'~'- ’*f
. . `_‘J.'-'-_, \l *"° l
‘ wm o _L?._ PmMAnY LocATloN=
n _ ` ‘ ` srscxl=lcl.ocmo~. ~ .- ¢
____' _ '*`”=!L.._.` L..! __‘ ¢,
_ °:;Rl:flol'£= {-:: -»*» -E :.- .._g__..- »- 1/ .-,./..»-',~~Z,. f,'?,, `
..»._ l }:M //y( /__l¢~ /_/ !M_ ) !i/ 15 ‘l\LL o
_ !l_ ll ‘…“ :'{
._ _H»/J 4 .
¢l~_' -_ il ll /) lJ
_ moo_LL: PmuAnY-l.ocAnoN= l "
. . - \ _' . § l ‘_ , ‘ _
_`§ ' .' srs¢:mc Lo¢:A'noN= ."`X_-_ .»,4§¢ _.{'J. _'4', col . _ ,_.__ _
. _ - - pl .l. ,.. -: r` !‘- nl ',_
‘ l q :. - . l _
oescmmom L.-.;_f .., ,_‘__l,. _.,,,,, 0 , \’i( _-_” ,l -w_l
d h _ -'/ \ ' ll `é/~ "" f ".*I/*/"'/'l s
d r"';-» _-" ' .l '._l_ ¢ T` `*

 

-:._¢_.,¢- __ nom ol"!'__ § mMAn'Y l.ocA'noN:

 

 

 

 

 

 

 

 

 

__ . specific Locmou= if ~._${;' d 05 -;;J- .`/ »-'¢r,{` »..¢'- .»r _-
"_\° * . . 72;= §§ ' ,“_'? '.-r.__f l ,._¢¢.,., 1 __ j '/
‘_-`-l_ . - _ ' . ah .) .. l . .. ... t ,
_ DE$CR|FT|ON: .’ '.-r fr ' _-_"-{ _ -r . - - - 4.
`-i/.L`l‘|»»_/‘ ‘ f );, fe \ !..-;.- n _r , __.. '/_ ,
l ~ \.J.-_ l, ¢.'c.t ' f ij ]‘l.~ f y L,._'J !L,‘J£,_L*__ (;`.
. ’IF- ¢_ _)( r. ‘ _ : ,j n ~ "-'l l"-.fl
. -.- ' ' . l
0 L/'~/),,~».'/.
-"_1,
\_)_ y ‘_L
-- ___lt___` _ _ _ _ PREPAREH'S lNlTlALS _
_ _| - moon-mann
mvv-moen

nav-w

 

 

was next
uheatre
_.vidual
25 to 30
ELined

'zred

:ert McCarthy

'to

cans marked

'sealing

ith

-ed various

iarthy

1" The

'aging in
engaging
s sealing

observed
_ parked
. I
observed
within
ids appeared
6'0”,
ack beard.
the afore-
lgonally
¢le who
,iver three
1 J. Quigley
. 12-l4

 

Discount
this time
lelopes,
based one
t contents
are shown
are engaging
numerous
uera angle

hgh advised
illance in

ul Hill

ed a van-

Red with

nrs, Inc.

Hbout 9:38 A.M.
line into.

I observed
to washington
4 washington
nos into
ngton St.
hen entered
z counter
llave a

;iver one

n to 646
entered

\oaton Police

lore. McManul

'nd. The

counter

moving

;ing th.

1 that the

Io. 1' and

 

§)§'_IIBIT E

UNITED STATES v. GUARINO 881
cue as 729 F.2d 364 (1934)

APPENDIX A_Continued

Fellow F.B.I. Agent James A. ¥acobucci advised me that on
February 2, 1978, at about 10:30 A.M., he went to United Discount
at 646 washington St., Boston, and at the rear of the store on a
magazine rack he saw displayed magazines entitled "Sex Foto Piction
No. l" and "Sex Foto Fiction No. 2." He purchased the two magazines
for $6.00 each. Yacobucci turned the magazines over to ne. I have
reviewed both magazines. They both display numerous acts of fellatio,
cunnilingus and intercourse with the camera emphasizing the genitalia
as much as possihlc.

Detective Hurley advised me that on Tuesday, February l4, 1978,
he observed a truck bearing R.I. commercial plate 91826 parked at
681 washington St., Boston, about l:OO P.M. Thereafter, Hurley
observed a white male take seven cartons from the truck, and deliver
them to 646 washington St. The white male then made three delivery
trips to 10 Boylston St., delivering some eighteen cartons. He
exited 10 Boylston St. with five cartons.

Fellow Agent Philip Reilly advised me that on Tuesday,
February 21, 1978, he was on surveillance duty at 208 Laurel Hill
Ave., Providence, R. I. He stated that he observed a truck bearing
R.I. commercial plate 91826 loaded with about 35 or 40 cartons
from the loading dock area of Imperial Distributors, Inc. The
truck departed at about 9:35 A.M. Reilly followed the truck over
the state line into Massachusetts. At about ll:OO A.M., I observed
a truck bearing R.I. commercial plate 91826 turn into washington
St., Boston. A white male driver was observed to deliver nine
cartons at 6733 washington St., ten cartons at 646 washington St.,
thirteen cartons at 10 Boylston St., and two cartons at 18 LaGrange
St., all of Boston.

Fellow F.B.I. Agent Edward Kavanagh advised me that today
at S:lS a.m., he was on surveillance at lmperial Distributors, Inc.,
208 Laurel Hill Ave., Providence, R.F. He observed a truck
bearing R.I. commercial plate 91826 being loaded with cartons at
the Imperial Distributors loading dock. The truck left lmperial
Distributors at about 9:32 a.m. The truck was observed to cross
the state line into Massachusetts. For the foregoing reasons,
I believe that a truck bearing R.I. commercial plate 91826 contains
obscene, lewd, lascivious, and filthy books, magazines, newspapers,
prints, and other matter of an indecent and immoral character, and
that said truck has transported said materials in interstate commerce
for the purpose of sale and distribution;.all in violation of
Title 18, United States Code, Section 1465.

APPENDIX B

Lo-Ji Sales Search Warrant
(reproduced from Supreme Court
Record App. at 83 - 263)

LOCAL CRIMINAL COURT
Town of Wawaya.nda, County of Orange,
State of New York

Honomm Jonu O’CoNNon,
Issuing Judge.

To ANY Pouce Orrlcza or ma Nr-:w Yonx S'rA'rn Poucz

You are hereby authorized and directed to search the
following premises: a single story brown wood frame build-

 

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 116 of 311

882 729 FEDERAL REPORTER, 2d sEmES

 

APPENDIX B-Continued

ing named “Adult Store”, located on Route 17M directly
across from the Chadwick Motel in the Town of Waway-
anda, Orange County, New York.

You are hereby authorized and directed to`search for and
seize the following property, to wit:

1.) 200 foot reels of 8mm motion picture film entitled
me mo Duxs.

2.) 200 foot reels of super 8mm motion picture film en-
titled FoUs ron Dmm-:n.

3.) The following items that the Court independently has
determined to be possessed in violation of Art.icle` 235 of the

Penal Law: Tns Am_n
. . . S'rArs

[In- the warrant as originally issued, this space F
was left blank. M the search, it was filled b:nl:;
in with a multi-page list of the items found by direct
the search party.] Wawa

This warrant must be executed not more than 10 days
after the issuance and any property seized pursuant hereto Sun or
shall be returned and delivered to the Court without un- Comn.! l
necessary delay.

The Court hereby specially determines that this Warrant I' J°H‘
shall constitute notice to any persons arrested or charged and says
pursuant to its execution, that they are entitled to imme- 1. I n
diate adversary hearing, as soon as practicable, so that a the kind
determination can be made as to whether or not the mate- 690.05(1)
rial seized was possessed in violation of Article 235 of the Criminal
Pena.l LaW. 2_ The
Da'rsl): Goshen, New York Pr°P¢l'tY

June 25, 1976 loving pr
, named “£
/s/ JonN 0 CoNnon from the

Local Justice

'Orsnge (

 

""C

z 72
:v.8'821

 

10

11
12
13

14

16
17
18
19

20
21
22
23
24

25

26_

 

 

F_ . ___,
»~*”#' l _t;DGEL

ease 1: 35- --cr _Q0033- -JSP'» _D_oc;umem 10 Filed 03/03 13 Pagé*` 11`7£61\'§1'~1 ELHIBIT F

-:"` " " ’ ‘ECi OH’
btu 2 O‘@\* ‘ \ f aim us msmlcrcou?r
‘ ' -'.;P..'¢ o\STn.ci cr cr'_ ' omni '

 

._:Cl>ll_ \O~§.L»_Cs/_|

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, -
Criminal No. 84-0662-G
Plaintiff,

v.'

KEVIN RICHARD MAHAN, MEMORANDUM OF DECISION

 

Defendant,

V~.rv`_¢`,»vv~._¢vv

 

The defendant was indicted on four counts arising from his
receipt through the mail of four parcels containing child
pornography. Counts one and two charged the defendant with
receiving obscene materials in violation of 18 U.S.C. §545. Counts
three and four charged the defendant with knowingly receiving
through the mail materials depicting minor children engaged in
explicit sexual conduct in violation of 18 U.S.C. 2252(a)(2).

In April, 1984, defendant placed an order for magazines
featuring child pornography, apparently for his own personal use

within his home. On May 21, 1984, Congress passed the Child

(.;)

1
1

 

 

 

.__ _- ____ _*_...._.,“.

 

 

 

1O

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

 

 

   
  

ase 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 118 of 311

Protection Act of 1984, making it a crime to knowingly receive
child pornography through the mails. On May 29, 1984, U.S.
Customs officials intercepted a magazine containing child
pornography addressed to defendant. The magazine is not the
subject of this indictment. On June 22, customs officials

intercepted another child pornography magazine addressed to

.defendant. The defendant was called and asked to pick up his

international mail at the post office on June 28. Later that day,
agents entered the defendant's house with a search warrant and
found the two magazines named in the indictment, along with eleven
other child pornography magazines and thirteen pornographic films.
Defendant moved to dismiss the indictment on the following
grounds: l) that 18 U.S.C. §2252(a)(2) as applied ti defendant
was an ex ost facto law in violation of the Sixth Amendment;
2) that 18 U.S.C. §2252(a)(2) is unconstitutional because it
permits the government to seize privately possessed expressive
materials in violation of the First Amendment; 3) that the
magazines could not have been imported "contrary to law" since
customs agents permitted them to enter the country. Defendant
also asks that counts three and four of the indictment be
dismissed because 18 U.S.C. §2252(a)(2) is overly broad and
unconstitutionally Vague; that counts one and two of the
indictment be dismissed because-the seized materials are not
'obscene”; and that the seized materials not named in the
indictment be returned to defendant because they are the fruits of

an unauthorized seizure.

I`J

 

  
 
  
  

"_ _\'_“W_-. 1-_-

 

 

-OOOSS-.]GP DOCUm€n'[ 10 Filed 03/08/18 Page 119 01311

’rotcction Act of 1984
On May 21, 1984, Congress enacted the Child Protection Act of

1934, which replaced the Protection of Children Against Sexual

4 h Exploitation Act of 1977. Through the new Act, Congress intended
1
l to attack the growing problem cf child pornography in the country

 

 

5

6 by increasing prosecutorial powers in such cases. Amon: the more
7 § important changes in the law were the elimination of the

8 requirement that the defendant have transported, shipped, or

9 received child pornography through the mail ”for the purpose cf
10 sale or distribution for sale"; the elimination of the requirement
11 l that the child pornography be determined "obscene"; the raising of
12 the definition of a minor protected by the statute from a person
13 under the age of 16 to a person under the age of 18; the creation
14 L of a new offense of knowingly reproducing any visual depiction for
1551 distribution in commerce or through the mails; and the enlargement
15 § of penalties for violations under this secticn. 18 U.S.C. §2252.
17
18

19 DISCUSSION

 

20

21 Ex Post Facto Application of 18 U.S.C. §2252

22 l Defendant contends that he ordered the child pornography in
23 April, 1984, before Congress passed 18 U.S.C. §2252; thus he

24 argues that punishing him for receiving the materials weeks later

25 amounts to an ex post facto application of the statute.

26- a o c o o

 

 

 

  

10

11
12
13
14
15
16
17
18

19

21

22`

23
24
25

172
N.Bi€zl

 

 

 

 

 

   

ass 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 120 of 311

Defendant suggests that the ordering of the materials and the
subsequent receipt of those materials should be ccn:idered a
single event, since "(it) is as if one threw a ball up into the
air and while the ball was up in the air the Congress enacted
legislation making it a crime for one to throw a ball into the air
which drops to earth." Although the defendant's argument has
intuitive appeal, his novel expansion of the definition of the

”(T)o 'receive' something is to

word "receipt" is unacceptable,
take it into possession and control. Thus when an object is taken

into possession and control, it has been received.'l U.S. v.

Fikes, 373 F. Supp. 1052, 1056 (E.D.Mi. 1974). While this

narrower view of ”receipt" does not vindicate defendant's argument
that he had no choice but to receive the materials after he had
ordered them, neither is it patently unfair to the defendant. To
the same extent that defendant was guilty of a crime when he
received the package, so he was also free of guilt while awaiting
the packages even after the statute had been passed. Under 18
U.S.C. 52252(a)(2), receiving child pornography is a crime;
ordering such materials is not, Defendant cannot endeavor to
enjoy the beneficial aspects of a law without suffering its
burdens as well.

That the legislature intended to punish all knowing recipi-
ents of child pornography through the mails is evident in that the

crime of ”knowingly receives and distributes” is set out

 

 

  

  

11
_‘:.

72
S./BZ)

   
   

 

1¢'

3

‘ 1 , l ..' ,`. ' l
ly,epa;ately from knowingly transports or ships
i¥

The paramount concern of Congress in passing this legislation was

"':
`¥§F 1 "the harm to children involved in child pornography schemes,"

4 1 which "exists whether or not those who initiate or carry cut these

51
7
8
9

10

12
13
14

15

 

 

151
wl

l
18
19
20
21
22
23
24
25
26

 

 

schemes have a profit motive or commercial purpose." H.R. Rep,

1
6 1 No. 98-536, 98th Cong., 2d Sess. S, reprinted in 1984 U.S. Code

Cong. & Ad. News 501. The legislature has not exceeded the scope

\

of its powers in choosing to prosecute pedophiles who receive
child pornography in the mail at their homes.

when,“as in this case, there is no doubt that such a receipt
occurred after the enactment of the statute violated by the

receipt, the Sixth Amendment clause prohibiting ex cost facto laws

 

l18 U.S.C. §2252(a) reads:

Any person who

(1) knowingly transports or ships in interstate or foreign
commerce any visual depiction, if

(A) the producing of such visual depiction involves the use
of a minor engaging in sexually explicit conduct; and

(B) such visual depiction is of such conduct; or
(2) knowingly receives or distributes any visual depiction
that has been transported or shipped in interstate or

foreign commerce or mailed, if--

(A) the producing of such visual depiction involves the use
of a minor engaging in sexually explicit conduct; and

(B) such visual depiction is of such conduct;

shall be punished as provided in subsection (b) of this section.

 

  
 

?
5/82|

11

12
13

14

17
18
19

20

N\
_a

22
23
24
25
26

 

 

 

 

 

 

lOCUm€nt 10 Filed 03/08/18 Page 122 Of 311

5 not been violated. United States v. woods, GQQ_?.Zd 566 (Sth
113

cir_ 1982); United States v. Hopkins, 529 F.2d 775 (8th Cir.
1976), §g£t. denied 431 U.S. 965 (1977).

Lastly, we note that this was not a case in which the defen-
dant made an effort to avoid receipt but failed- Agents observed

the defendant willingly retrieve the envelopes from the post

office,

"heceipt” Under 13 U.S.C. §2255(a1(2)

The two magazines which are the subject of the four counts of
the indictment were seized at the defendant's home. Defendant
thus argues that 18 U.S.C. §2252(3)(2) violates the First
Amendment by punishing private possession of printed materials.

Private possession of obscene materials is protected by the
First Amendment, Stanley v. Georgia, 394 U.S. 557 (1969),
Moreover, most reported cases since Stanley involving seizures of
obscene materials have taken place at locations other than private
homes. See, e.g., United States v. Thirty-Seven Photogranhs, 402
U.S. 363 (1971); Paris Adult Theater I v. Slaton, 413 U.S. 49
(1973); United States v. Orito, 413 U.S. 139 (1973). None of
these cases, however, render unconstitutional a statute
prohibiting receipt of child pornography at a private home. In

United States v. Orito, 413 U.S. 139 (1973), the Supreme Court

rejected the notion that "the right to possess obscene material in4

the privacy of the home . . . creates a correlative right to

 
   
 

l

 

 

 

 

 

  

lOCUm€nt 10 Filed 03/08/18 Page 123 Of 311

transport it, Or distribute it." Id. at 141.
1
lTherefore, contrary to def_ndant
` f

Ymaterial that has travelled in interstate or foreign cemmerce is

‘s contention, receipt of such

 

 

 

 

11 3-
; 4 Hnot an element of possession. Hence First Amendment protection
F 5|'does not attach to the receipt of child pornography which comes
6 4through the mail.
7 y In this case agents observed the defendant willingly receive
8 |child pornography at the post office. The question of whether
9 !mere possession of child pornography in the home is
10 l constitutionally protected will not be addressed herein, since the
11 l court has heretofore decided that receipt of child pornography
12 through the mail is not protected by the First Amendment, The
13 v defendant herein is charged only with the act of receiving
14 ! material and, because of the foregoing reasoning of the Court, the
15 1 defendant's motion to dismiss on these grounds is denied,
16 l
17 l "Imported Contrary to Law"
il
13 ! Counts 1-4 of the indictment charge the defendant with
19 w importing obscene materials Contrary to law in violation of 19
20 d U.S.C. §1305. Defendant aug ests that since the customs officials
21 | initially seized the packages but then permitted them to be
22 1 delivered to defendant's home, the materials were not "imror“ed
23 _ contrary to law." v `
24 1 In United States v. One 1974 Jeep, Serial Number
25 J4835TE17237, 536 F.2d 1285 (9th Cir. 1976), the Ninth Circuit
25 i held that mere seizure of an article by the Government did not
h _
7
72
4.8/\21

 

 

 
  
  

 

    
   
  
 

3 72
ems/521

10

11
12
13

14

_.a
b'l

16

17

18

19

20

21

22-

l
24

25
26

.'_°5-cr-00033-.JGP Document 10 Filed 03/08/18 Page 124 0f311

gult in the article's losing its "contraband" charactcr. In
fe

lthat case, the court reasoned that the government must not b

(D

m
Ul

Hdeprived Of an effective method of obtaining evidence such

Fr
O

Wcontrolled deliveries, for such a result would be contrary

ll

i
l

Congress_~ onal intent

 

Alternatively, the defendant argues that 18 U.S.C. §1461
idm tes an absolute duty on the part of customs officials and
Hpostal authorities to prevent the importation and delivery of
iallegedly obscene materials, Thus the defendant reasons that he

q

vwas justified in believing that he was legally receiving the
Jpornog r'raphic items and that he should not be held responsible fo
the failure of the customs officials in their duties.

The defendant's argument must be rejected. It would be
'contrary to legislative intent to hinder law enforcement from
im leo ting evidence by not permittin .g them to use controlled
ideliveries. See Illinois v. Andreas, 103 S.Ct. 3319 (1983),
l

‘Constitutionalitv of 18 U.S.C. 52252

 

 

 

 

1
`should be dismissed because 18 U.S.C. §2252 (a)(2) is overly broad

1
grounds: first, that the term ”visual depiction” in the statute
is not defined and could arguably refer to many legitimate

i |
scientific and educational publications; and second, that no

person of common intelligence could discern from pictures of

. genitalia or the pubic area whether the individual in the picture

 

 

1 Defendant argues that counts three and four of the indictment

|
|a nd unconstitutionally vague. Defendant bases his argument on two

___._._' ____._._.__._..-_..

 

 

572
ev.B/821

   
 

10

11
12
13
14
15
16
17

18

19'

20
21
22
23
24
25
26

 

 

 

 

 

 

'35 Seventeen, or eighteen, nineteen or twenty~nine years of age_

U)

The Supreme Court's decision in New York v. Ferber, 458 U.

 

747 (1980), easily disposes with these arguments. The state
statute at issue in Ferber proscribed the usc of a child in a
"sexual performance". N. Y. Penal Law §263.05. A "performance is
defined as "any play, motion picture, photograph or dance" or "any

other visual representation exhibited before an audience.” N. Y.

 

Penal Law §263.00(4) (emphasis added). It is difficult to see why
the term ”visual depiction" should be considered
unconstitutionally vague while ”visual representation“ is not. In
addition, the Court specifically noted that “a work which, taken
on the whole, contains serious literary, artistic, political, or
scientific value may nevertheless embody the hardest core of child
pornography." Ferber, 458 U.S. at 761. Therefore, defendant's
contention that the statute is overly broad because it infringes
on the realm of science and education is rejected.

This Court cannot find 18 U.S.C. §2252(a)(2) to be
unconstitutionally vague simply because it is difficult for the
average person to distinguish the genitalia of a seventeen-year-
old from that of a nineteen-year-old. The New ¥ork statute at
issue in Ferber applied to minors under the age of sixteen, as did
the former 18 U.S.C. §2252(a)(2). It would be difficult to
distinguish the genitalia of a fifteen-year-old from that of a
seventeen-year-old in those cases; nonetheless, the Supreme Court
has never ruled those statutes unconstitutionally vague. There-

fore, for the following reasons, defendant's motion is denied,

 

 

 

 

72
v.B.'620

   
 
  

10

11
12
13
14
15
16
17
18
19

20
21

23
24
25

'26

 

 

S€ 1285-CI’-00033-.]

GP Document 10 Filed 03/08/18 Page 126 0f311

;J,Obecenity” of the Subiect Matter
»-_""”‘____

Defendant requests dismissal of counts one and two because
the articles at issue are not "cbscene” under the test set forth

in Miller v. California, 413 U.S. 15 (1973}. In Miller, the Court

 

ruled that a work is not entitled to First Amendment protection if
the work, taken as a whole, appeals to the purient interest in
sex; if the work portrays sexual conduct in a patently offensive
way; and if the work, taken as a whole, does not have serious
literary, artistic, political, or scientific value. ld. at 24,
Dismissal of the obscenity charges at this stage would be
premature. The Government is entitled to attempt to prove
obscenity at trial, and they have indicated that they intend to do

so. The motion to dismiss counts one and two of the indictment is

denied.

Return of Seized Materials Not Named in the Indictment
There is not sufficient evidence before the court for the
court to rule re this motion; therefore, the government may wish

to offer more evidence.

In view of the foregoing, defendant's motions are denied.

Dated: December /O , 1984.

al 6 lwle

Earl B. Gilliam, Judge
United States District Court

10

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 127 of 311

UNITED sTATES DISTRICT CoURT
FoR THE DISTRICT oF coLUMBIA F l |_ E D

Holding a Criminal Term

APR 3 0 1985

JAME§ f. DAVEY,_ Clerk
35-33 i/"l

UNITED STATES OF AMERICA,

v, CRIMINAL NO.:

GEORGE A. NADER

 

O R D E R

Upon motion of the United States of America to enlarge the

time within which to file its oppositions to defendant's motions,

M/ -
2° day of z°'/ ¢ 1985

ORDERED, that the time in which the United States of America,

it is"?}this

may file its oppositions to the defendant's motions be enlarged to

and including Wednesday, April 24, 1985.

   

 

;LLQ;JIEBJSTATES DISTRICT coURT JUDGE
A)~~o I°Eo'/"*Q.

LAW OFF|CES
WlLLlAMS & C°NN°LLY
HILL BU|LD|NG
WASH|NGTON. D C. 20006

 

AREA C°DE 102
331-m

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 128 of 311

UNITED sTATEs DISTRICT coURT _
FoR THE DISTRICT oF coLUMBIA E.;AY 61985

FUNITED sTATEs oF AMERICA JAM_ES. _Fl DAVEY, Clerl§

/
\/' //
/

._/'
Criminal No. 85-00033
Judge John Garrett Penn

-) GEORGE A . NADER Order

V`./`/v`./vvv

 

At the request of the Defendant, and there being no ob-

|jection by the government, it is this G n(day of May,
` ORDERED, that Defendant, when not in the United States,
may report to the pre-trial services agency by calling his attor-
`ney who shall then call pre-trial services on his behalf. De-
erndant shall report in this manner, or personally when in the

MUnited States, twice each week.

___ ._.-__~_~

' l couRTRAN:\

  

_'\____ __

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 129 of 311

4 . b////
UNITED STATES DISTRICT COURT Fl c E o

FoR THE DISTRICT oF CoLUMBIA
HAY 1 3 1955

CLER'K.u. .msrmcr conn
UNITED STATES oF AMERICA, : cuer orcoiumm

CRIMINAL No.= 85_33 \

V .
: (Judge Penn)
GEORGE NADER

SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO
DEFENDANT'S MOTION TO SUPPRESS

 

The United States of America, by and through its attorney, the
United States Attorney for the District of Columbia, submits the
following supplemental memorandum in opposition to the defendant's
motion to suppress.

During the course of the argument on the defendant's motion,
the Court inquired of the Government about the scope of the execution
of the warrant. The point the Government tried to lnake to the
Court is that the personal items such as photograph albums, letters,
and toys seized by the agents were not seized under the authority
of the warrant but were seized for the reasons set forth in footnote
three of our original opposition. In other words, given the
rationale put forth by Special Agent Northrop, he would have seized
those same items no matter how specific the wording of the warrant
had been essentially because he felt he had found evidence of other
criminal activity' in plain view, Thus, we submit, the question
raised by the seizure of personal items is whether the agents

exceeded the scope of the warrant as issued and not whether the

coUé"TTz`A"r-q._:)

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 130 of 311

warrant as issued was unconstitutionally broad. Since the United
States does not intend to use the personal items, and since the
defendant does not challenge the execution of the search warrant as
being overbroad, we do not address that issue,

The agents seized, under the authority of the warrant, a
number of pedophiliac, foreign produced magazines and brochures
advertising the availability of such magazines, These items, we
submit, were clearly authorized by the warrant and sufficiently
described therein, If the court is concerned about the seizure of
the other items and the reasons therefore, we would suggest that an

evidentiary hearing be held prior to the Court's ruling.

Respectfully submitted,

JOSEPH E. DIGENOVA
United States Attorney

BY:

\ f

DOUGLHS§J.:BEHR
Assist nited States Attorney

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 131 of 311

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing Opposition has
been made upon defendant by mailing a copy thereof to his attorney,

David Povich, Esquire, Rick Hoffman, Esquire, WILLIAMS & CONNOLLY,

Hill Building, washington, D.c. 20036, on this y§§§§zl_ day of

May, 1985.

    
  

DoUGL s J. asHR
Assist nited States Attorney

° 3 V ' 1392319;:;:%°§.§?“§:33§6
eeoc 21 1'5312`9°78

THUCU ','{»IHTR|C! .3 .U .WF!_ZJQ
NBMUJOS! “.Q F‘.'."h!|`c`,|o

LAW OFF|CES
W|LL|AMS & CONNOLLY

HlLL BU|LD|NG
WASH|NGTON, D C, 20006 l

 

AREA CODE 202
331~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 132 of 311

UNITED sTATES DISTRICT coURT F l L E D
FOR THE DISTRICT or coLUMBIA
HAYZI 1985

. . ¢UNKQ
United States of America -&Dmnmn
oasrmcr oF eq¢_mgz_vm

Judge John Garrett Penn

)
§

v. ) Criminal No. 8500033\//
)
)
George A. Nader ]
)

 

DEFENDANT'S RESPONSE TO GOVERNMENT'S
SUPPLEMENTAL MEMORANDUM IN
OPPOSITION TO THE MOTION TO SUPPRESS

 

The government argues in its Supplemental Memorandum
that the "personal items" such as photos, photo albums, and
correspondence seized from defendant's home were taken not
pursuant to the invalid general warrant but rather based on some
theory of possible wrongdoing related to child molestation not
disclosed to the magistrate prior to obtaining the warrant. The
purpose of this argument is to prevent the Court from relying on
the seizure of this material as evidence that the government
requested, was issued, and executed, an unconstitutional general
warrant. This post-hoc rationalization represents an attempt by
the government to separate that material seized from the
defendant's home which the government now no longer needs to
prosecute the case.

The warrant issued in this case permitted the government
to seize, in addition to the named publications, "other

photographs, magazines, and writings and documents." Pursuant to

 

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 133 of 311

the warrant, the agents made a wholesale seizure of practically
all such material in the defendant's home, including the items
described above.

In this case, nothing seized by the government offers
even remote support for the view that any other offense was
committed. None of the material seized is contraband. Indeed,
it was not even in plain view,: but rather was secured in
envelopes, photo albums, and books. Since nothing found in
defendant's home was "plain view" evidence of other crimes, the
government is effectively asking the court to believe that the
agents deliberately deceived the magistrate by failing to

disclose their intent to search for "evidence" of child

molestation. The argument that if the defendant had obscene

magazines in his home he was likely to have molested children, in

addition to being absurd, was based upon theories supposedly

:/ Although now arguing that seizure of these items was outside

the scope of the warrant, the government did not argue in
its opposition to this motion, or in its supplemental
submission, that the seizure of the "personal items" was

justified by the "plain view" exception. This is so because

it is abundantly clear that, if outside the scope of the
warrant, the seizure was unlawful notwithstanding the plain

view doctrine. As the government well knows, the seizure of

things in plain view, not described in a warrant, is
justified only if the officers conducting the search have
robable cause to believe the material is evidence of a

crime. Coolidge v. New Hampshire, 403 U.S. 443 (l97l). The

seizure of "any item unspecified in [an otherwise valid]
warrant must possess an incriminating character plainly and
immediately apparent on its face, a character sufficiently
incriminating to establish probable cause for its seizure
despite the absence of a warrant mentioning it." United
States v. Heldt, 668 F.2d 1238, 1267 (D.C. Cir. l981).

LAW OFF|CES
WlLLlAMS & CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C. 20006

 

AREA CODE 202
331~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 134 of 311

known to the agents before they conducted the search yet not set
forth in the affidavit seeking the warrant that was submitted to
the magistrate. We urge that the court is not obliged to accept
the government's unusual argument that the agents deliberately
exceeded the scope of the warrant. In fact, the agents asked for
a warrant that permitted such seizures, they were granted one, _
and the general search and seizure ensued. It cannot be saved by

creating an after-the-fact justification for the seizure, which

is itself invalid, but is convenient because the government does

 

not now wish to offer the evidence in the criminal trial.

Moreover, the explanation offered by the government
calls upon the Court to make almost metaphysical distinctions.
It is simply impossible to know whether the agents seized the
material not particularized in the warrant under the catch-all
language of the warrant or for some other equally unlawful, but
more convenient, reason, Where the warrant is unconstitutionally
broad on its face and an unconstitutional general search and
seizure occurs, the government cannot save the search by
postulating alternative unlawful explanations for the seizure.

It is uncontradicted that the agents sought a warrant
that gave them the broadest discretion to decide what to seize.
It is undisputed that they in fact seized material that was
outside the scope of any lawfully particularized warrant. Here,
as in Lo-Ji Sales, the warrant authorized the officers to decide
in their sole discretion what to seize and effectively to

complete the warrant as they conducted the search. The danger of

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 135 of 311

such a general warrant is highlighted by the government's after-
the-fact attempt to define the scope of the warrant to suit the
needs of the prosecution. It is precisely because the warrant
itself does not particularly describe the items to be seized that
' it violates the Fourth Amendment, and the material seized in the
search authorized by the warrant must be suppressed.
Respectfully submitted,

WILLIAMS 5 CONNOLLY

!n)f
Davfd'Povich J`f j
Richard S. Hoffm y

839 Seventeenth Street, N.W.
Washington, D. C. 20006
(202) 331-5000

   

BY

Attorneys for George A. Nader

 

LAW OFF|CES
WILL|AMS & C°NNOLLY
HlLL BU|LD|NG
WA$H|NGTON. D C 20006

 

AREA CODE 202
331-5000

LAW oFFlcEs
w|LL_lAMs er CQNNOLL¥
HlLL eun_DlNG
wAsHINGYoN. D.c. zooos

 

AREA CODE 202
33 l -5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 136 of 311

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing
Defendant's Response to Government's Supplemental Memorandum in
Opposition to the Motion to Suppress was mailed by first-class
mail, postage prepaid, on May 21, 1985 to Douglas J. Behr,
Assistant United States Attorney, Constitution Avenue & 3rd

street, N.w., washington, D.c. 20001,

  

 

 

LAW oFFlcEs
WlLLlAMS & CONNOLLY
HlLL eull.olNG
wAsHlNGroN. D c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 137 of 311

rif s t E n ‘/
UNITED sTATEs DISTRICT coURT
FoR THE DISTRICT or coLUMBIA MAY 2 1935

CLERK, U.S. DESTR|CT COURT,

ni '
U ted States of America mumTOECmMMmA

Criminal No. 8500033
Judge John Garrett Penn

George A. Nader

o
\._r\-¢\-"\\_¢\\_¢'\\_¢\\._r\_.¢

 

REPLY BRIEF IN SUPPORT OF
DEFENDANT'S MOTION TO SUPPRESS

 

I. The Defendant Has Standing To Contest
The Seizure Of The Package From His
Residence.

 

In a one page argument with remarkably little citation
to authority, the government argues that Mr. Nader does not have
standing to contest the seizure of the envelope from the hallway
of the home where he lives. The government bases this argument
on the fact that defendant "only had exclusive control over a
bedroom" in the home and therefore, it argues, had no privacy
interest in the remainder of the house. Opposition to Motion to
Suppress (hereinafter "Government's Brief") at 7. But "exclusive
control" is not and never has been the governing legal test and
defendant's privacy interest in the home in which he lives is
patent.

In Bak§§ v. Illinois, 439 U.S. 128 (l978), the Supreme
Court rejected the doctrine of "automatic standing" for targets
of a search and held that a defendant must have a legitimate
expectation of privacy in the area searched to contest the

validity of a search under the Fourth Amendment. In so holding,

\CO_UFRT_RAN j

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 138 of 311

however, the Court reaffirmed the rejection of property concepts
in defining privacy interests and recognized that a person can
have "a legitimate expectation of privacy in the premises he was
using and therefore could claim the protection of the Fourth
Amendment with respect to a governmental invasion of those
premises, even though his 'interest' in those premises might not
have been a recognized interest at common law." £d. at 143.
Cases subsequent to Bak§§ make clear that there is no
requirement of ownership or "exclusive control" for standing to

attach. Indeed, in Lo-Ji Sales, Inc. v. New York, 442 U.S. 319,

 

329 (1979), the unanimous Supreme Court recognized that even a
retail store open to the public does not thereby lose its right
to restrict entry to government officials or consent to wholesale
searches and seizures.

In United States v. Glover, 555 F. Supp. 604, 611

 

(D.D.C. 1982), aff;d, 725 F.2d 120 (D.C. Cir.), cert. denied, 104
S. Ct. 1682 (1984), Judge Hogan of this court found Fourth
Amendment standing where a defendant had the keys to a third
party's apartment "had 24 hour access to it, kept his clothes
there, slept there even if only to take naps, received phone
calls there and kept his television set there." The fact that
another person has access to an apartment, or even primary

control over it, is irrelevant. See United States v. Robinson,

 

wmu:;:::@omy 698 F.2d 448, 454 (D. C. Cir. 1983)(invited guest can have

HlLL BU|LD|NG

W“WW“~°°¢®“ legitimate expectation of privacy in home of a third party); see

 

AREA CODE 202

ub”m also United States v. Salvador, 740 F.2d 752, 755 n.2 (9th Cir.

 

LAW oFFlc:s
W|LL|AM$ a CONNOLLV
HlLL sulLDlNG
wAsHlNGYoN, D.c. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 139 of 311

1984), cert. denied, 105 S. Ct. 978 (1985) (defendants have
standing to contest search of a relative's house where they
stayed overnight, kept personal belongings, and left phone number

as a place to be contacted); United States v. Haydel, 649 F.2d

 

1152, 1154-55 (5th Cir. l98l), Cert. denied, 455 U.S. 1022
(1982)(defendant has standing to contest search of parent’s
bedroom, even where he did not reside in the home, because he
kept clothing in there and occasionally stayed overnight).

In the instant case, the defendant lives in the home
that was searched. Although there is only one room which is
exclusively his, he has access and use of the entire house,
including the kitchen, bathroom, hallways, living room and the
rest. §g§ Affidavit of Edna Gaunt, attached hereto as
Defendant's Exhibit D. The home is a private dwelling, not a
boarding house, occupied only by the defendant, the couple who
own it, and their children. ld. The fact that he shares the
house with a couple who also has access to it simply does not

effect his legitimate expectation of privacy. See United States

 

v. Glover, supra. For these reasons, the suggestion that this
case is somehow "analogous to that of a boarding home,"
Government's Brief at 7, is simply wrong. The single family home
in this case does not have "common corridors of the building,
available to residents of the rooming house" and others who could

walk through the building at will. See United States v.

 

l
Anderson, 533 F.2d 1210, 1214 (D.C. Cir. 1976)._/ Here, in

direct contrast to Anderson, when the agents entered the front

LAw oFFlcEs
W|LL|AMS a CONNOLLV
HlLL eulLDlNG
wAsHlNG'roN. D c. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 140 of 311

door they entered a "private dwelling" where the defendant
lived. The suggestion that defendant's privacy interest was
limited to the bedroom where he sleeps is, on the facts of this
case, absurd. The house searched is the defendant's residence
and the fact that he lives with another couple does not diminish -
or destroy his legitimate expectation that the home would remain
free from governmental intrusion.

II. The Search Of Defendant's

Residence Was Unlawful.

The Government defends the general warrant utilized in
this case on four grounds: it argues that the reference in the
warrant to certain specific items somehow saves a warrant that
permits the seizure of practically any other written or printed
material the agents decided to seize, Government's Brief at 9;
that the citation to the statutes on the face of the warrant
limits its scope, id. at 10; that even if overbroad the statute
can be narrowed by reference to the attached affidavit, id. at
10-11; and finally that for some reason the "scrupulous
exactitude“ required in particularizing the items to be seized,
applied in every obscenity case since Sanford v. Iexa§, 379 U.S.
476 (1965), does not apply in this case, i§. at 12-14. In so

arguing, the government brushes aside the dispositive Supreme

l/ Although the nature of the premises in Anderson is not

entirely clear, it is clear that the case involved a large
commercial boarding house where occupants had numbered rooms
similar to an apartment building. 533 F.2d at 1211-12.

LAW oFFlcEs
W|LL|AMS a CONNOLLY
HlLL aulLDlNG
wAsHlNGToN. D c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 141 of 311

Court decision in Lo-Ji Sales v. New York, 442 U.S. 319 (1979),

 

and fails to even discuss the other cases invalidating warrants
no more general than the one in the present case. This court
should reject these attempts to save the unconstitutional explor-
atory search authorized by the warrant and executed by the
agents.

The fact that the warrant specifies one film and four
magazines which may be seized does not, as the government
suggest, in any way distinguish this warrant from the one held
invalid in Lo-Ji Sales. Indeed, the Lo-Ji Sales' warrant on its
face specifies two particular movies that there was probable
cause to believe were obscene. §ee Government's Brief, Exhibit
E. Nevertheless the Supreme Court held the entire warrant
invalid because it permitted as well the seizure of other
material not listed in the warrant. §§§ 442 U.S. at 325-26, §e§
also United States v. Sherwin, 572 F.2d 196 (9th Cir. 1978) and
United States v. Guarino, 729 F.2d 864 (lst Cir. 1984)(en banc),
both cited in defendant's opening brief and ignored by the
government.

Nor does the citation to the statutes prohibiting
mailing and importation of obscene material save the warrant.

The infirmity of the warrant in Lo-Ji Sales, and subsequent cases
invalidating similar warrants, is that they permit the agents to
seize material based on their own judgment of what is obscene

without any probable cause determination. 442 U.S. at 325. The

citation in the warrant to statutes relating to mailed and

LAW OFF|CES
WlLLlAMS & CONNOLLY
HlLL EU|LD|NG
\NASH|NGTON, D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 142 of 311

imported material does nothing to address the source of the con-
stitutional infirmity -- the agents' ability to seize material
based on their own standards of what may be obscene.

Moreover, the supposed "limitation" that the material

seized must have been mailed or of foreign origin is in reality

' no limitation at all. None of the material seized, other than

the package delivered by government agents, contains any indica-
tion of mailing or importation other than the location of the
publisher. The material could just have easily have been
purchased in the District of Columbia as mailed from outside the
jurisdiction. The government's argument would permit seizure of
any book, magazine or picture not printed in the defendant's
home, since any publication not homemade might be mailed or
imported. In short, this supposed limitation on the warrant, in
addition to being irrelevant to issue on which the constitution-
ality of the warrant depends, is no limitation at all.3

It is for that reason, perhaps, that the government
fails to cite a single case holding that including a citation to
the federal obscenity statutes can save a warrant which "leaves
it to the officers to decide what is 'obscene' and what is
not." United States v. §§£gh, 609 F.2d 1088, 1089 (4th Cir.

1979), cert. denied, 446 U.S. 957 (1980).

2/ Indeed, the agents clearly could not have thought the
warrant so limited because they even seized materials that
were home produced -- such as defendants personal photo
albums which are clearly not obscene.

 

LAw oFFlcEs
WlLLlAMS & CONNOLLY
HlLL aulLDlNG
wAsHlNGToN. D.c. zoooe

 

AREA CODE 202
33 l -5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 143 of 311

Nor does the fact that a warrant may be narrowed by a
specific affidavit, see United States v. Thompson, 495 F.2d 165,
170 (D.C. Cir. 1974), help the government in this case. Here,
the affidavit confirms the open ended nature of the warrant,
rather than restricting it. The affidavit contains the hearsay
statement of a customs agent -- who never met defendant and knew
nothing about him other than that his name was on the envelope
seized in New Jersey -- that "in his experience," people who
receive the type of material found in the envelope "generally
have large quantities of pornographic material" in their
possession. Warrant attached to Defendant's Memorandum In

Support, Exhibit A. lt is this statement, and this statement

 

alone, which provides the entire basis for permitting the

government to seize other "similar" material. The government

|
completely ignores the fact that in Lo-Ji Sales the Supreme Court|

|
expressly held that reference to similar materials, based on the
l

description contained in the affidavit of particular items, could
l
not save a warrant that permitted the police to make on the spot
determinations of probable obscenity. 442 U.S. at 325-26; see
also United States v. Sherwin, supra. Thus, it is clear that the

affidavit in this case does nothing to narrow the overbroad scope

3/
of the warrant._

3/ The case principally relied on by the government United
States v. Waugneux, 683 F.2d 1343 (llth Cir. 1982), cert.
denied, 104 S. Ct. 69 (1983), is not relevant here. In
Wagneux the court upheld a search of documents for "receipts
and disbursements of kickback funds." The issue in Wagneux

(Footnote Continued)

LAW oFFlcEs
W|LL|AMS & CONNOLLY
HlLL aulLDlNG
wAsHlNGToN. D.c. 20006

 

AREA CODE 202
331~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 144 of 311

Finally, the government makes the remarkable argument

that "Lo-Ji Sales, supra, and other cases cited by defendant

 

arise in the context of the First Amendment. Our case does
not." Government's Brief at 12. The only support for this

proposition is the citation to Roth v. United States, 354 U.S.

 

476, 485 (1957), holding that obscenity is not protected by the
First Amendment. ld. The response entirely misses the point of
Lo-Ji Sales and its progeny.

The Court in Lo-Ji Sales expressed no doubt that the two
films presented to the magistrate prior to the search which,
according to the officer's affidavit, contained "acts of female
masturbation and activities involving bestiality in that the
female participant . . . attempted to engage in acts of sexual
intercourse with a German Shepard type dog," were in fact
obscene. §§e Affidavit reproduced from Supreme Court record in
l

Lo-Ji Sales, attached hereto as Exhibit E. The same is true of l

United States v. Guarino, 729 F.2d 864 (lst Cir. 1984)(en banc),

 

where the magazines presented "display numerous acts of fellatio,

was not what was to be seized, but rather the scope of the
search in order to find the material particularly described
in the warrant. 683 F. 2d at 1352- -53. The court’ s decision
upholding the government's ability to look through
voluminous business records in order to determine what
records fall within a particularized warrant, has nothing to
do with the issues present in this case. Indeed, in United
States v. Torch, 609 F.2d 1088 (4th Cir. 1979), another case
relied on by the government, the court expressly
distinguished between the particularity required in a
warrant authorizing seizure of business records and that
required for allegedly obscene material and recognized that
the latter is held to higher standard of particularity. 609
F.2d at 1089-90.

LAW oFF\cEs
W|LL|AMS a CONNOLLY
HlLL sumnle
wAsHlNGToN, D c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 145 of 311

cunnilingus and intercourse, with the camera emphasizing the
genitalia as much as possible,“ id. at 881, United States v.
Sherwin, 572 F.2d at 198 (cunnilingus and oral coppulation), and

United States v. Torch, 609 F.2d at 1090 (bestiality). Indeed,

 

in Lo-Ji Sales the defendant conceded that all of the materials
seized were obscene. 442 U.S. at 324. Yet, in every one of
these cases the courts explicitly held that notwithstanding the
apparent obscenity of the specific material presented to the
magistrate, the First and Fourth Amendment prohibit warrants,
such as this one, that allow for the seizure of "other
photographs, magazines and writings." Warrant attached to
Defendant's Memorandum in Support as Exhibit A.

The univerisally stated legal rule is that "the
importance of protecting First Amendment freedom preclude police
officers from making ad hoc determinations at the scene as to

which materials are probably obscene," United States v. Sherwin,

 

572 F.2d at 200, regardless of whether the material subsequently
seized pursuant to the open ended warrant turns out to be
obscene. Contrary to the government's argument, which fails
utterly to analyze any of the case law, this case falls squarely
within the rule laid down in Lo-Ji Sales and followed by

4
subsequent decisions.°/

4/ Indeed, as we point out at length in our opening memorandum,
the warrant at issue here is far wore than the procedure
utilized in Lo-Ji Sales, supra. Defendant's Memorandum in
Support at 8-10.

 

LAw oFFlcEs
WlLLlAMS a CONNOLLV
HoLL aul\_DlNG
wAsHlNG'roN, o c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 146 of 311

III. Neither Severability Nor the
Good Faith Exception Can Save
the Search Conducted Pursuant
to This Unconstitutional
General Warrant.

 

This is not an appropriate case to "sever" the contents
of the envelope from the vast bulk of the material seized
pursuant to the omnibus authority of the warrant. Neither Lo;§i
§ale§, sup£§, nor Marcus v. Search Warrant, 367 U.S. 717 (1961),
where eleven magazines specifically listed in the warrant were
seized in addition to a large quantity of magazines not listed in
the warrant, permitted the introduction in evidence of material
particularly described in an otherwise overbroad general
warrant. To permit a severance of the warrant here would be
directly contrary to the remedy employed by the Supreme Court on
similar facts in Lo-Ji Sales and Marcus. Moreover, severing the
items listed from the general warrant would, in the words of
Justice Stewart, "invite a government official to use a seemingly
precise and legal warrant only as a ticket to get into a man's
home, and, once inside to,launch forth upon unconfined searches
and indescriminate seizures as if armed with all the unbridled

and illegal power of a general warrant." Stanley v. Georgia, 394

 

U.S. 557, 572 (1969) (Stewart, J. concurring).

The procedure utilized in this case exemplifies the
danger anticipated by Justice Stewart, The government was
already in possession of the envelope with defendant's name on it

containing all of the particularly described material prior to

._10_.

LAW oFFlcEs
W|LL|AM$ a CONNOLLY
HlLL aull.DlNG
wAsHlNGYoN, D.c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 147 of 311

delivering it to defendant's home. The agents placed the
envelope in defendant's home and, based on that delivery,
obtained a warrant permitting them to execute a general search in
which they seized everything from defendant's personal photo
albums to his private letters. The purpose of the search was not
to re-seize the material already in the government's possession,
but to execute the general search requested by the agent and
authorized by the warrant. The particularly described items were
merely the tail wagging the dog of the general warrant. To
permit the use of evidence obtained as a result of such a warrant'
undermines the prohibition against general warrants which is the
very foundation of the Fourth Amendment. §ee Marshall v.
Barlow's, Inc., 436 U.S. 307, 311 (l978); United States v.

Chadwick, 433 U.S. 1, 7-8 (1977); Marcus v. Search Warrant, 367

5
U.S. 717, 724-729 (1961)._/

§/ The cases cited by the government, United States v.
Fitzgerald, 724 F.2d 633 (8th Cir. 1983) (en banc), cert
denied, 104 S.Ct. 2151 (1984) and Sovereign News Co. v.
United States, 690 F.2d 569 (6th Cir. 1982), cert denied,
104 S.Ct. 69 (1983), are distinguishable. In Fitzgerald,
the court was dealing with a warrant containing seven
distinct and segregable paragraphs describing different
types of items to be seized. 724 F.2d at 635. The question
in that case was whether to permit seizure of contraband --
illegal weapons -- discovered in plain view during the
search. The warrant contained no omnibus general search
authority and the First Amendment considerations present
here were not at issue. §e§ 724 F.2d at 639 (Arnold, J.
concurring for four judges).

 

Although Sovereign News was an obscenity case, its facts are
remarkably different from this case. The officers obtained
an initial warrant to seize particularized items described
to the magistrate in advance and seized only those items.
(Footnote Continued)

 

_ll_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 148 of 311

The government also attempts to save the search
conducted pursuant to this unconstitutional general warrant by
relying on the recent Supreme Court cases establishing a "good
faith" exception to the exclusionary rule. United States v.

Leon, 104 S.Ct. 3405 (1984); Massachusetts v. Sheppard, 104 S.CT.

 

3424 (1984). In Leon the Court held that the policies behind the
exclusionary rule do not support suppression where police
officers reasonably rely on a facially valid warrant which was
later determined not to have been supported by probably cause,
id. at 3410, and in Sheppard the Court refused to suppress
evidence discovered during a search obtained as a result of a
sufficiently particular affidavit where the issuing judge used
the wrong form for the warrant, id. at 3427. But the court in
Leon made clear that
In so limiting the suppression remedy, we
leave untouched the probable cause standard
and the various requirements for a valid
warrant. Other objections to the exclusionary
rule we consider unsubstantial.
104 S.Ct. at 3422. In particular, the Court expressly stated,
"The exception we recognize today will also not apply is cases
where the issuing magistrate wholly abandoned his judicial role
During the search they discovered other potentially obscene
material and returned to the magistrate for a second
warrant, again describing the material to be seized with

particularity. In executing the second warrant the agent
again seized "only magazines and movies listed in the

LAW OFF|CES

 

mumms,mm~mu exhibit attached to the warrant." ld. at 576. In other
mnswmms words, there was neither the ad hog determination of
weemww°€z®“ obscenity or the complete destruction of the privacy rights
muc®£mz of the defendant which accompanied the warrant and search in
ut”w the instant case.

._12_

\_Aw oFF\cEs
wlLLIAM$ a CONN°LLV
HlLL aull_DlNG
wAsHlNGToN. o c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 149 of 311

in the manner condemned in Lo-Ji Sales, Inc. v. New York, 442
U.S. 319 (1979); in such circumstances, no reasonably well-
trained officer should rely on the warrant." ld. at 3422.
Moreover, the Court recognized that "a warrant may be so facially

deficient -- i.e., in failing to particularize . . . the things

 

to be seized that the executing officers cannot reasonably
presume it to be valid." lg. (emphasis added)

This is clearly one of those cases. The agents in this
case asked for and obtained a general warrant and executed a
general search. The warrant sought and the warrant received is
unconstitutional on its face. Just last term the Supreme Court
reaffirmed that the invasion of privacy occasioned by the search
of a private home is the "chief evil against which the wording of

the Fourth Amendment is directed." Welsh v. Wisconsin, 104 S.Ct.

 

2091, 2096 (1984). Reaction against general warrants for the
search of private homes was one of the principal forces behind

the adoption of the Fourth Amendment. See Jo-Li Sales, supra,

 

442 U.S. at 325. To hold that such actions in this case meet the
requirements of the "good faith" exception to the exclusionary
rule would stand the Fourth Amendment on its head and is directly

contrary to the limitations on the exception outlined in Leon.

._13_

\.Aw oFFlcEs
wlLLlAM$ a CONNOLLY
HlLL aulLolNG
wAsHlNcToN, o c. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 150 of 311

IV. The Post-Seizure Actions of the Custom
Officials Violated Federal Law

 

Contrary to the government's assertion, defendant's
argument that the customs agents violation of 19 U.S.C. § 1305,
requires suppression of the items seized was not rejected by the
unpublished order in United Stat§§ v. M§h§g, 84-0662 (S.D.

Cal.). The argument was not even addressed in that case.

The defendant in Mahan argued that once the government
seized the material at the border it could no longer be
considered "imported contrary to law" and that he could not be
prosecuted when the agents permitted the material to be
delivered. Goverment's Response, Exh. F at 7-8. The court
rejected the argument and held that the material is still contra-
band even after it is seized, and that § 1305 was not intended to
prohibit the government from collecting evidence for use in a
criminal prosecution. ld.

The argument we make here is not that a defendant cannot
be prosecuted after seizure of obscene material, or that the
customs service cannot retain such material as evidence for a
subsequent prosecution. Rather, the argument is that § 1305
establishes an unambiguous constitutionally required procedure
for determining the character of the material seized. The
government completely ignores the fact that the Supreme Court has
expressly held that absent the rigorous procedural protections of
§ 1305 the entire framework for permitting customs agents to

seize allegedly obscene material would be unconstitutional.

._]_4._.

LAw oFF\cEs
W|LL|AM$ a CONNOLLV
HlLL BulLDlNc
wAsHlNGToN. D c 20006

 

AREA CCDE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 151 of 311

United States v. Thirty-Seven Photographs, 402 U.S. 363

 

(1971).§/ The statement of customes agent who performed the
initial search, obtained after defendant's initial memorandum was
filed and attached hereto as Exhibit F, clearly and unequivocally
establishes that § 1305 provided the authority for seizing the
envelope addressed to the defendant. Having utilized that
statute to seize the material, the government is not free to
ignore its terms. The language of § 1305, its legislative
history, and the Supreme Court's decision in United States v.
Thirty-Seven Photographs, supra, see Defendant's Memorandum in
Support at 14-20, establish that the procedures required by

§ 1305 provide substantive protections that the customs service

7/

is not free to violate at will.`

§/ Cases dealing with seizure of drugs, therefore, which do not
involve the consitutional rights of the recipient, are not
relevant here. See, e.g., United States v. Davis, 272 F.2d
149 (7th Cir. 1959).

 

l/ The government cites the statement from United States v.
Mahan, supra that it would be contrary to legislative intent
to prohibit controlled deliveries. Government's Response at
20. To the extent this statement is intended to apply to
the limited situation of seizures of allegedly obscene
material made pursuant to § 1305, the statement is made
without citation and is itself not only contrary to the
language of the statute, but to the relevant legislative
history, cited by defendant here but neither cited nor
discussed by the Court in Mahan,

 

_15_

LAw oFFlcEs
W|LL|AMS a CONNOLLV
HlLL sulLDlNG
wAsHlNGToN, D c 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 152 of 311

V. The Statements Taken From Defendant Were
the Result of the Unlawful Search.

 

The government responds to the argument that defendant's
alleged statements were the result of being confronted with the
results of an unconstitutional §g§£gh by citing cases dealing
exclusively with statements made subsequent to an illegal
arrest. But it is well settled, as stated in our opening
memorandum, that being confronted with illegally seized evidence
requires suppression of subsequent statements even where an

unlawful arrest would not. See 3 W. LaFave, Search and Seizure,

 

§ 11.4(c) at 639. The holding in United States v. Q§yi§, 617
F.2d 677 (D.C. Cir. 1979), that an illegal arrest does not effect
the validity of a subsequent statement after a defendant retained
counsel and reflected upon his agreement to speak, Government's
Response at 23, is irrelevant here. In such situations, because
the pressure of any custodial questioning is entirely absent and
the defendant is now free of the effects of the illegal arrest,
the statements are clearly unrelated to the illegality of his
arrest. But here, by contrast, the alleged statements were the
direct result of confronting the defendant with the illegally
seized material. Although denying that the agents made any
promises regarding prosecution of this case, Government's
Response at 24, the government does not deny that the stated
purpose for the meeting was to review the seized material.
Whatever statements were made by the defendant came as a result

of being confronted and questioned about the material taken from-

_16_

LAW OFF|CES

WlLLlAMS & CONNOLLY '

HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

|Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 153 of 311

his home.§/ That defendant was accompanied by counsel does not
affect in the least the fact that the alleged statements were
obtained based upon presenting the defendant with illegally
seized evidence. In such cases, it is simply not possible to
remove the taint of the illegal search from the statements made
by the defendant regarding the material seized. §§e, g;g;, §gig
v. Craven, 425 F.2d 235, 236 (9th Cir. l970); Amodor-Gonzalez v.
United States, 391 F.2d 308, 318 (5th Cir. 1968); United States
v. Morrese, 336 F.2d 501, 504 (3d Cir. 1964). §§g generally

Defendant's Memorandum in Support at 27-29.

§/ The government also contests the defendant's argument that

his alleged statements were the product of material
misrepresentations of the agents. As stated in the Motion
to Suppress, the court need not reach the issue of the
"voluntariness" of any statements because the search warrant
was facially invalid and obtained in violation of federal
law, and the statements were the direct result of the
search. If, however, the voluntariness of the statements
remains at issue, defendant will reply to the government's
argument at a hearing pursuant to Jackson v. Denno, 378 U.S.
368 (1964).

...17_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 154 of 311

CONCLUSION

For the reasons stated here and in defendant's opening
memorandum, the motion to suppress should be granted.
Respectfully submitted,

WILLIAMS _& CONNOLLY
_)

 
  

 

l
Davld Povich :!T_
Richard S. Hoffman

 

839 Seventeenth Street, N.W.
Washington, D. C. 20006
(202) 331-5000

Attorneys for George A. Nader

 

LAW oFF\cEs
WlLLlAMS 81 CONNOLLV
HlLL BulLDlNG
wAsHlNGToN, o c, 20006

 

AREA CODE 202
331-5000

_18_.

LAW OFF|CES
WlLLlAMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 155 of 311

CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the foregoing Reply
Brief In Support Of Defendant's Motion To Suppress was served on
Mr. Douglas J. Behr, Assistant United States Attorney, United
States Attorney's Office, Constitution Ave. and 3rd St., NW,

Washington, DC 20001, on this lst day of May, 1985, by hand.

mit:/J 'l`él¥`| lift

Richard S;'Hoffman_`

 

_.19_.

EDR1ZD

ALL FYATE LEGAL SUFFLV CO. ONE COMMERCE DR|VE. CHANFORD, NEN JERSEV U'IU1E

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 156 of 311

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 157 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America

Judge John Garrett Penn

)
§
v. ) Criminal No. 8500033
)
)
George A. Nader )

)

 

Affidavit of Edna Gaunt

 

Edna Gaunt, being duly sworn, deposes and says:

1. I am 78 years of age and have been a resident of
the District of Columbia for forty-three years. For the past
forty years my husband and I have owned and lived in a private
home located at 2019 Connecticut. We live there with the
defendant George A. Nader.

2. Mr. Nader has lived with us for approximately
three years. In my dealings with Mr. Nader, he has been one of
the finest young men I have ever known. He lives with us as if a
member of the family and has full use not only of the room where
he sleeps, but also the remaining areas of the house, including
the hallway, living room, bathrooms and kitchen,

3. Mr. Nader has his own key and is free to come and

go and use the house as he pleases.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 158 of 311

4. My daughter and son-in-law also live in the home
with us. No other person lives in the house or has access to it
without the permission of my husband or I, my daughter or son-in-

law, or Mr. Nader.

 

O __
¢/:_ ¢,.?-/-;.§_¢.L.. r:»*/d/L{. 1;,;’/_ ,
Edna Gaunt

Sworn and subscribed to before me
this 134 day of May, 1985.

M\m¥'-A l'< Ri CK‘€TR

Not$ry Public 1

My Cozmnission Expires Fcbruzn~y 14, 1938

EDR|ZE

ALL STATE LEGAL SUFPLV CO ONE COMMEF(CE DR|VE, CHANFORD, NEW JEFISEV 07|2|16

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 159 of 311

xE

?_.T--._...,,__.__.T.~-

  

0

 
  

UNITED STATES v. GUARINO
cue as 729 F.2d 864 (1984)

APPENDIX C
Lo-Ji Sales Affidavit
(reproduced from Supreme Court
Record App. at 5a - 7a)

    
      

LOCAL CRIMINAL COURT
Town of Wawayanda

AFFmAvrr

 

*
IN ms Mamn

._.of._

Tnz mcnon or INv. J. A. HUnsANsK or rim Nsw Yonx
S'r.\'rz Poucs, ron a Smscn WAmN'r 'ro Snancn m
Fou.owmo Pnzmsss: A single story brown wood frame
building named “Adult Store”, located on Route 17M
directly across from the Chadwick Motel in the Town of
Wawayanda, Orange County, New Yo':k.

_-*_~

 

S‘ra'm or Nzw Yoax,
CouN'r! or Omoa, ss.:

I, JonaNan A. Htmoamzx, being duly sworn, deposes
and says:

_ _~ -u'}_

1. I am the applicant herein and am a public servant of
the kind specified in Criminal Procedure Law, Section
690.05(1), my title being Investigator with the Bureau of
Criminal Investigation of the New York State Police.

2. There is reasonable cause to believe that certain
property hereinafter described may be found in the fol-
lowing premises: a single story brown wood frame building
named “Adult Store”, located on Route 17M directly across
from the Chadwick Motel in the Town of Wawayanda,
'Orange County, New York.

~.-¢»

‘¢..

  
 
 
  
  

 

 

 

 

 

 

 

 

 

884 729 FEDERAL REPORTER, 2d SERlEs

APPENDIX C_Continued
3. .The property referred to sought to be seized is prop-
erty that has been used and is possessed for the purpose of
being used to commit an offense to wit: Obscenity in the

Second Degree, in violation of Section 235.05(1) of the
Penal Law, Promoting Obscene Material.

3. In support of your deponent’s assertion as to the
existence of reasonable cause, the following facts are of-
fered based upon personal knowledge as attested to by your
deponent. On June 20, 1976, I personally was present in
the aforedescribed premises (Adult Store) and purchased
from Alexander Mandakis one reel of 8mm motion picture
film approximately 200 feet in length called LlNr)A AND
Duxs. Upon viewing this reel of motion picture film, I
observed it to contain acts of female masturbation and ac-
tivities involving beastiality in that a female participant
in the movie attempted to engage in acts of sexual inter-
course with a German Shepard type dog. I also purchased
a reel of super 8mm motion picture film approximately 200
feet in length entitled Fan ron DINNsa. Upon viewing
this reel of film, I observed acts of sexual intercourse,
sodomy, fellatio, cunnilingus, and masturbation. These
reels of film are presently in my possession and are avail-
able for the viewing of the Court so that it may inde-

pendently determine whether or not the acts portrayed

come within the statutory prohibition under Article 235
of the Penal Law.

4. While in the premises, I observed what I have reason-
able cause to believe are the same or similar films. I also
observed in the premises other reels of film, magazines and
other objects. Based upon my observations, and my con-
versations with Mr. Mandakis which indicated to me that

 

 

the film
scribed
is bein|
Law of

5.'1'_

6. It
accomr
warran
nnderi
the adc`
ises isi
fore st

WHI:
a sears
followi:

1.) 2
LanAi_

2.) 2
titled l

3.) l

determ
Article

Sworn
25 day
/s/ Jo'

UNlTEn s'rA'rF.s v. GUARlNo 835
C|te as 729 F.2d 864 (1984)

APPENDIX C-Continued
the £lms and magazines portrayed similar activities as de-
scribed above, I have reason to believe that this material
is being possessed m violation of Article 235 of the Penal
Law of the State of New York.

5. The foregoing represents the grounds for my belief.

6. lt is further respectfully requested that the Court
accompany deponent at the time of the exectuion of the
warrant applied for so that it can independently determine
under the applicable legal principles whether or not any of
the additional material present in the aforedescribed prem-
ises is in fact possessed in violation of the law and there-
fore subject to seizure.

Wmar.rons, your deponent requests that the Court issue
a search warrant directing a search for and seizure of the

following property:

1.) 200 foot reels of 8mm motion picutre film entitled
me\ mo Duxa.

2.) 200 foot reels of super 8mm motion picture film en-
titled FoUn ron Dm-Nsa.

3.) Any other material that the Court may independently
determine upon viewing to be possessed in violation of
Article 235 of the Penal Law.

/s/ J. A. Huasmr.x
Johannes A. Hurbanek

Sworn to before me this
l 25 day of June, 1976.
/s/ JoHN O’CoNNoa, T.J.

   

EDRlZF

ALL STATE LEGAL SJVPLY CO. ONE COMMERCE DH|VE, CHANFORD, NEW .lERSEY 07016

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 163 of 311

ExF

    
                
       
     
 
  
 

melzus£ nspon'r 's`r‘l§»'\`$ n`€i'i a.w:~.c-:o .-11.1. §

‘. MI.l.ITM\'¢ bT\Ill . l.t l’ M| 1
, .
§ 05:.681+ ; 08 's
l. Mn l ’.lD¢lI\.$lC\J-l\‘¥ ,|' .I.M|

 

 

 

 

 

 

.v_-q'r~_r.-_-'-¢-.--¢-_ ,~»- _-»

IUNAL l:l_lSIGHT '?O""} CON_NECTICIlT_ AVE l‘l‘*'

 

.- . rr-.-.-. _ '!' 1, ' p. » m'rls'nsl\l¢¢l,¢¢rmrl¢“lm'»\lwl

 

 

 

 

 

 

 

 

 

 

$\- l'

I¢I\'b¢ \|CIIL f

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

¢ : i :
= nsm|l¢LEM-’ “M ml|¢ l l
:. 1
.v z stairs lou ': _'
L HI '
¢ § iv ;i; nlsrsl;on-:,-bumnal< ha-l+?,.,l' norman
. ` nw '
mr :_»= :__M .1Eissr_crr!,'il_imsc»:1,-‘ ill .' : § ._
nw rm , _ __ __ '__ , ,nur. mm nn
: w m m JF.~.vSBY GIT!.'HUDSH.- .-.1 : 1 _
¢ no ¢ _ ‘ \ l l 1 o ‘ a |ml
1 l-t. scalia in ;Pcr< ; 1_ ; '; : : _ g 1-; .
: `; a z z -,; z z . » z g
" . . l . l . . . __._1 .
f.' ; _-: :'! 1 : : _ :: -:.[.
c _. .» . ¢ 1 _: o 1 \ » -_»:._
94 _; : _;.\.;: .. : : ,{: _‘.
l l
. . 1 . , 1`1 l n ¢_ § - _ la
' s . ¢ - ¢, _ l. : - l ` l 1 :. _ 5
DETENTIoa noon
am tx civ 1131r raw nomNn, -Nnimamims, A souizcs collum 1011 mar coming ..'11"1
1 _)- cmrdl:' ;:i 'rimi‘ simms "Books" wAs cimino mo rom\'n mo coNTAIN six (6> inclizl'~ rs _~ -
1111 ser ( ) Sm. rim 111 or wilch coliTAmnn cum Posl: cGRAPHic. mem '.';.s ssier
.i» : ;;z:) rt U. s. cus'rc-ns spasm A<mii'r PADLO 011 -26- 814. nui‘nus 1110 mrs (.ur ;--26-3'+)
wa lucas iii mail mcmann Am) HL.M.
71 ross cn:scx-i.'n_c_mlvs

 

Mmmwwrrnsi“
1 l$dul"l '”ml`i”illul

  

mllm: M|{m _“‘\`l .

l am
'*-E'e'.`l ' --*-I `__'._*il__. l _`___- __I___ '-

 

1 l

 

 

 

   

w

 

Se 1: 85- --Cr -O 8/18 Page 165 Qf31_1[
611 / /7 wl PW*

77 5577% ‘/7 CRIMlNAL CASE NO. 85- 0033
my KV?/ UNITED STATES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f 1 vs.
1. " z:i," 6__ 6 'i} ` /'//76/2 6 761/767 L
2_7 DEPOSITIONS
3_ TRANSCRIPTS
4 EXHIBITS
5. /_’_ ("/:3-6‘6/6 6666
/€`§ 6 '6’</ 66/6;6 2 < /?? 566.6 6 `6¢6 1""6_'~ 6<6'6.<'66 /»» -/6* '- my c C /6/%6 6 c’..¢,w
CHARGE /‘D_ 611/am F6,/;6 666666 / ‘6_/' l 6~6'.1;$_-.-6'6 66,/ 665 16 '( 61 666
‘7 7 G. Atty.' 77
1. Bond: $___,, Surety’- -- _7-_ - , At7ty.:
2. Bond: $____, Surety7: 77 . Atty.:
3. Bond: $_____, Suret~y7:_ 7 _. Atty.:
4. Bond: $_____,_ Surety_1 , Atty.:
5. Bohd:_.$_¥;_, Surety: ' 7- . Atty.: _
. DA_TE§ 7 __COURT C_LERK’S MEMORANDUM ' 7 7 _ JUDGE
JA N 36 1985 PRESENTMENT AND INDIGTMENT F.I_LED

 

 

52 /_'.1"$/`5 719/165, 667/165 im fingfo ‘/"\»-)16#)':>:61/16£7;/
" 1a ~/6/666 626 6 666 - 666-616 16/ 666 666 .
/_(626'7176,11,61‘_:;/' €éév¢?} M/Z£SHJ€!/» “/7§/666/66666666 175 _\- n
('7 /\7:3§6:9 [77--\?¥_!66661.6// 57 <jiw_r..¢z'!i~/b
'{6’7'5.7;`-_'"1`7 5/6;;5161 {".»'1 .57_(7"1/16]7/ 5 §/r':‘*' 6'"66'6’ 6.36'-_’7 '/-.:(1~§-"'/'77‘ 7777/
1375va 77?767 ’ 772{7. -'-,' }7_ 177 _.» ~:5> 575/761.»_:__‘1-.["7776??6'66./€_6'_6/’
`_{761»666661/1\ 3666~}766/6,/61} /`}. -` ~”77‘6/6 ~:~`)~~ .,':`;»":?
7775-’ / 576 :14661’} 1 /i:= »6>7;*]` 6'f_»” '.7 666 :f!`:’ i" 7/1_`7 477 :“*6 1_:--7-6-`,)

 

 

 

\‘ S;r

 

 

 

 

\
/

_-'"7/`~/'7/_, /n¢"/\ '/"'/ 6. 777:`717-6"/':7- f'/-.. 417 1'6/_6 ,_‘.' ”.77‘7.7 »771»'15 l_\~- ,-7,-7757/:-.7_7-7*5(,_-"1_;-?5 7,-7:1/.'1.1_", 77 f
‘ , / a

//.//YS /¢5;7?7,:£7¢,6? CZE/?_/ )’<7796-23.-_£`- zf" /"(M/.’)Mf 7(7/`717 1 ,"1.6_6 66 ;,.;;;,»1§._-'

7 l

 

 

 

 

 

 

 

_ ;__ _ y § 51 §
77’__ _?_“ f.'-'? '61:.66 664 =557'{' '--", "1 616 "i'." '- .' 6-.'-6)6_.6'.'1‘.1"_`>’_!6"'6’§ 7
577 ‘7¢it 777_;_}'-!'7)7' (147'7).}¢‘{1’r_ 7.-"-77 `(Jr/ twu-77 .'77‘¢‘,’ ':`,6'7.6_ 1 _ 7_ 7 ;_ -- j
_6 _' ‘ fA $,, " _ :; _.|jf_'_ __
. id :,F _. . .,-__ /,l'.jl /_,-6:‘,‘,',_._,-_1;-_, _ z

- - GP `Doc®entlo`§i“éd 0®3/13 Age 166 of311

 

    

  

w

l¢' ' .' - ' » o l

:

      

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 167 of 311
it. l gin E D

UNITED STATES DISTRICT COURT 'f?/ ?1985
FOR THE DISTRICT OF COLUMBIA

UNITED STATES oF AMERICA MMES ~F,.. D¢’\‘/E‘,", 913-vi
v, Criminal No. 85-33
GEORGE NADER
O R D E R

The defendant is charged in a two count indictment with
using or causing to use the mails for the mailing, carriage
and delivery of obscene material, (18 U.S.C. §l461), importation
of obscene material into the United States (18 U.S.C. §l462),
and aiding and abetting (18 U.S.C. §2). The case is now
before the Court on certain parts of the defendant's motion
to suppress evidence.

This case is now before the Court on limited segments
of the defendant's motion to suppress evidence. In his
motion to suppress evidence, the defendant contends that;
(l) the search of his home was conducted pursuant to a
general warrant in violation of the defendant's rights under
the First, Fourth, Fifth, and Fourteenth Amendments to the
Constitution of the United States, (2) Custom officials
lacked "reasonable cause" for the initial search of the
envelope addressed to the defendant as required by l9 U.S.C.
§482, (3) the subsequent delivery of the envelope to the
defendant's home was in violation of federal law, 19 U.S.C.
§1305, (4) the statements allegedly made by the defendant
were a direct result of the unlawful search and seizure of

material from the defendant's home and, (5) the statements

couRTR/M

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 168 of 311

_2_
allegedly made by the defendant were obtained in violation
of his Fifth and Fourteenth Amendment rights because they
were induced by material misrepresentations by Government
- agents. The Government opposes all aspects of the defendant's
4 motion. At the time of the hearing, the defendant withdrew
the second and third parts of his motion and the parties
elected to address only the first part of the motion which
raises the question whether the search warrant issued in
this case was a general warrant, and whether, in any event,
the Court should decline to apply the exclusionary rule on
the facts of this case. 1/ The parties agreed not to go
forward on the fourth and fifth parts of the motion until
after a ruling on the third part since consideration of the
last two parts of the motion would require an evidentiary
hearing, and because a ruling granting the third part of the
motion would render the remaining parts moot. 2/
After giving careful consideration to the motion to
suppress evidence and the opposition thereto, together with

the arguments of counsel and the record in this case, the

 

l/ See United States v. Leon, 104 S.Ct. 3405 (1984);

Massachusetts v. Sheppard, 104 S.Ct. 3424 (1984).

 

 

2/ The Speedy Trial Act, 18 U.S.C. §3161 et. seq., is
tolled in view of the agreement of the parties that the
court should not address the fourth and fifth parts of the
motion at this time. §§§ 18 U.S.C. §3161(h)(1)(f).

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 169 of 311

_3_

Court concludes that the motion should be granted in part
and denied in part for the reasons set forth in an Opinion
to be filed. The Court concludes that the warrant issued in
this case constitutes a general warrant and therefore the
search conducted pursuant to the general warrant was
impermissible. The Court concludes that the exclusionary
rule should apply and that any items seized pursuant to the
general portion of the warrant must be suppressed. On the
other hand, the Court concludes that the portions of the
warrant which are general may properly be severed from that
portion of the warrant which described certain items with
particularity; those items being the same items which were
contained in the package that was inspected on March 27,
1984.

In view of the above, it is hereby

ORDERED that the motion to suppress is granted in part
and denied in part, and it is further

ORDERED that so much of the motion which sought to
suppress those items which are described with particularity
in the warrant is denied, and it is further

ORDERED that the remainder of the motion to suppress,
with the exception of the above, is granted, and it is

further

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 170 of 311

_4_
ORDERED that the parties shall appear before the Court
at a date to be set for the purpose of scheduling a hearing
on the motion to suppress statements and for the purpose of

setting a trial date. 3/

Dated: November 7' , 1985

    

_ "_'* _ : f.-,»- '. '_MA/
*._ MGARRETT PENN
United States District Judge

 

 

3/ The parties were advised of the Court's ruling on
October 30, 1985.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 171 of 311

FlrED /

UNITED sTATES DISTRICT coURT LUV 141935
FOR THE DISTRICT oF coLUMBIA

UNITED sTATES oF AMERICA JAMES »E-. DAVEY, C|erk

v. Criminal No. 85-33

GEORGE NADER
OPINION

The defendant is charged in a two count indictment with using
or causing use of the mails for the mailing, carriage and delivery
of obscene material, (18 U.S.C. §l461), importation of obscene
material into the United States (18 U.S.C. §l462), and aiding and
abetting (18 U.S.C. §2). The case is now before the Court on one
part of the defendant's motion to suppress evidence.

In his motion to suppress evidence, the defendant contends
that; (1) the search of his room was conducted pursuant to a
general warrant in violation of the his rights under the First,
Fourth, Fifth, and Fourteenth Amendments to the Constitution of
the United States, (2) Custom officials lacked "reasonable cause"
for the initial search of the envelope addressed to the defendant
as required by 19 U.S.C. §482, (3) the subsequent delivery of the
envelope to the defendant's home was in violation of federal law,
19 U.S.C. §1305, (4) the statements allegedly made by the
defendant were a direct result of the unlawful search and seizure

of material from the defendant's home and, (5) the statements

@MIR§I§:

~"_T

1

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 172 of 311

allegedly made by the defendant were obtained in violation of his
Fifth and Fourteenth Amendment rights because they were induced by
material misrepresentations by government agents. The government
opposes all aspects of the defendant's motion. At the time of the
hearing, the defendant withdrew the second and third parts of his
motion and the parties elected to address only the first part of
the motion which raises the question whether the search warrant
issued in this case was a general warrant, and whether, in any
event, the Court should decline to apply the exclusionary rule on
the facts of this case. 1/ The parties agreed not to go forward
on the fourth and fifth parts of the motion until after a ruling
on the third part since consideration of the last two parts of the
motion would require a factual hearing, and because a ruling
granting the third part of the motion would render the remaining
parts moot. 2/
I

The underlying facts are as follows: On or about March 27,
1984, Andrew Taylor, a Customs Inspector, United States Customs
Service, who was then assigned to make border searches of incoming
mail, performed a customs inspection on a first-class letter, in
the form of a brown mailing pouch type envelope, addressed to "Mr.
J. Nader c/o International Insight, 2019 Connecticut Avenue, N.W.,

Washington, D. C. 20008, U.S.A." The customs declaration

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 173 of 311

disclosed that the package contained "books". The return address
given on the envelope was "Ralf Zonatz, 1012 LA Amsterdam, DOMRAK
42-43 Holland." The package was opened by the Customs Inspector
because he felt he had reasonable grounds to suspect that the
material enclosed therein was being imported into the United
States contrary to law. §§g 19 U.S.C. §482, Inside he found an
eight -mm movie film, four magazines and one advertisement for
another film. For the purposes of the instant motion, the Court
assumes that the film and the magazines are obscene. 3/ Also
reviewed at the same time were two other magazines found in the
package, "Boy No. 53" and "Sweet Little Sixteen, Volume 3, No. 8"
and two pictures. The magazines and the pictures depict nude
boys. This latter group of material differs from the earlier
described material in that, while the latter group of material
consisted only of pictures of nude boys, the earlier described
material depicted nude boys engaged in a variety of sexual
acts. 4/

The material was reenclosed in the original package and
mailed by registered mail to the Office of Investigations, United
States Custom Service, Reston, Virginia, The package was then
personally opened by Special Agent Don Bludworth. The material is
described in the affidavit in support of the search warrant.

See Bludworth Affidavit at 2.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 174 of 311

On April lO, 1984, the "obscene" items were shown to a United
States Magistrate, United States District Court for the District
of Columbia. Prior to this time, Special Agent Bludworth
interviewed Special Agent Hekala of the United States Custom
Service, who had conducted, during the period 1975 to 1980,
approximately 150 investigations of illegal importation of
pornography, particularly pedophelia. Special Agent Hekala
advised Agent Bludworth that in his experience, persons who order
pedophelia material from overseas retain copies of order blanks
and catalogues for such material and also retain evidence of
payment. He further advised that pedophiles keep records of all
purchases to keep tract of the reliability of suppliers and that
generally, pedophiles have large quantities of pornographic
material which is usually of foreign origin. All of the above is
set forth in the affidavit submitted in support of the search
warrant. A warrant and a supporting affidavit were submitted to
the magistrate but the magistrate withheld signing the warrant
until delivery to the defendant had been effected.

Thereafter, the agents twice attempted to deliver the
material to the defendant. The package was finally delivered on
April 12, 1984, and was signed for by the defendant's
landlord. 5/ Once the package was delivered, the agents advised

another agent, who in turn presented the application for a warrant

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 175 of 311

to the magistrate who then signed the warrant authorizing the
agents to deliver and search defendant's house. The government
states that the magistrate informed Bludworth that it was his
belief "that once the package was delivered to the addressee's
premises, probable cause existed to search the premises for the
contents of the package as well as other related items." 6/
Opposition to Motion to Suppress Evidence at 3.

When the warrant was signed, the agents returned to the
defendant's home and executed the warrant. They found the package
on a table in the hallway, The package was seized and then the
agents conducted a general search of the defendant's room. They
seized similar material, which can be described as obscene, and
other material depicting material similar to the second group of
materials described in the affidavit in support of the warrant.
This latter group is not considered as obscene since it depicts
only nude boys who are not engaged in any type of sexual or
suggestive acts. In addition, the agents seized newspaper
clippings, toys, stuffed animals and photo albums, This last
group of materials relates to the personal life of the defendant
and appears to have no relevance to the charges pending before the
Court, except perhaps to identify the room as that of the
defendant. The photo albums are nothing more than pictures of the

defendant, and apparently families he has visited on his many

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 176 of 311

trips overseas in the conduct of his business. Presumably, this
group of material was seized to identify the defendant and to
establish that the room searched was indeed his room.

The defendant, and his then counsel, met with the government
agents four days after the search, but that meeting is not
relevant to the part of the motion now under consideration.

II

The warrant issued in this case provided that, "there is now
being concealed certain property, namely [description of the
original items intercepted in the mails on March 27, 1984] in
addition to other photographs, magazines, writings and documents
which are evidence of violations of Title 18 U.S. Code Section
1461 and 1462". The government agents were directed to seize the
material. The defendant argues that the above is in the nature of
a general warrant.

The Supreme Court in addressing the issue of general warrants
observed:

General warrants of course, are prohibited by
the Fourth Amendment. "[T]he problem [posed
by the general warrant] is not that of
intrusion per se, but of a general,
exploratory rummaging in a person's
belongings. . . . [T he Fourth Amendment
addresses the problem]by requiring a
'particular description' of the things to be
seized". . . . This requirement "'makes
general searches . . . impossible and prevents
the seizure of one thing under a warrant
describing another. As is to what is to be

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 177 of 311

taken, nothing is left to othe discretiono of
the officer executing the warrant.'"

Andresen v. Maryland, 427 U.S. 463, 480, 96 S.Ct. 2737, 2748
(l976)(citations omitted) . Another court noted that:

When there is probable cause to believe
thata premises to be searched contains a class
of generic items or goods, a portion of which
are stolen or contraband, a search warrant may
direct inspection of the entire class of all
of the goods if there are objective,
articulated standards for the executing
officers to distinguish between property
legally possessed and that which is not. . . .
A search warrant authorizing inspection will
not be a general warrant if such standards
reasonably guide the officers in avoiding
seizure of protected property, and if upon
return of the warrant the magistrate may
review the search to determine whether the
instructions were followed and legitimate
property and privacy interests were protected.
The standards may be contained in the search
warrant or, if certain conditions are met, in
the accompanying affidavit. The search
warrant may be construed with reference to the
affidavit for purposes of satisfying the
particularity requirement if (1) the affidavit
accompanies the warrant, and (2) the warrant
uses suitable words of reference which
incorporate the affidavit therein.

United States v. Hillyard, 677 F.2d 1336, 1340 (9th Cir. 1982)
(citations omitted). A search warrant must disclose the things to

be seized with the most "scrupulous exactitude“ when the things

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 178 of 311

are books and the basis for their seizure is the ideas they
contain. Stanford v. nga§, 379 U.S. 476, 485, 85 S.Ct. 506,
511-512 (1965).

Turning to the facts of the instant case, it is noted that
the warrant specifically described the items which had previously
been viewed by the government agents and the magistrate and that
if the warrant had stopped there and the agents had seized nothing
else, the part of the motion now under consideration would be
without merit. But, of course, the warrant did not stop at that
point. It provided that the agents could seize, in addition to
the above, "other photographs, magazine, writings and documents
which are evidence of violations of Title 18, U.S. Code Sections
1461 and 1462."

The quoted language is broad and it fails to instruct the
agents executing the warrant what they are to seize. This can be
illustrated by two examples. First, the warrant allows the agents
to determine what evidence constitutes a violation of 18 U.S.C.
§§1461 and 1462. In making that determination they must
necessarily make a determination as to what is obscene, for it is
not a violation of the statute to have mailed or imported any
items from a foreign country, or indeed, to have mailed or
imported pictures of nude boys or girls no matter how repugnant

such activity may be to some members of the public at large. 7/

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 179 of 311

Second, the warrant gave little or no direction as to items
which one must suspect that the government agents really wanted,
in addition to the "obscene materials" already seized, such as
other mailings received from foreign countries, or from the sender
in particular, or order forms or blanks or copies of letters to
senders of the material, all of which would be a link in the chain
of evidence. The warrant fails even to direct the agents to seize
similar pictures, books or magazines. For example the agents in
applying for the warrant seemed to draw a distinction between two
types of magazines, one "Piccalo Extra No. 15" which depicts young
boys commiting acts of masturbation and fellatio and "Boy No. 53"
containing pictures of nude and dressed boys who are not depicted
in sexual acts. Thus, the warrant could have directed the agents
to seize "Piccalo" magazines since presumably the agents knew that
those magazines contained the same type of pictures; or the
warrant could have described in detail the types of acts which are
obscene. The Court does not say that such a warrant would have
been valid, but it certainly would have been closer to the
requirements of the Fourth Amendment and would have evidenced an
intent to describe the material to be seized with "scrupulous

exactitude"./

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 180 of 311

The failure of the search warrant is that, at least with
respect to "obscene" material, it leaves the definition of
"obscene" to the officers executing the warrant. §§§ Marcus
v. Search Warrant, 367 U.S. 717, 731-732, 81 S.Ct. 1708, 1716
(warrant based on the assertion of a single police officer without
scrutiny of a judge is invalid). Although Marcus dealt with the
issuance of the warrant rather than its execution, the same
standard would apply. In both situations, under Marcus and
here, it is the officers or agents who are asked to make the
determination of whether the material in question is obscene.

The defendant also cites the Court to Lo-Ji Sales, Inc. v.
New York, 442 U.S. 319, 99 S.Ct. 2319 (1979), but the primary
thrust in that case was that the warrant was open-ended rather
than a general warrant. There, the Town Justice signed an open-
ended warrant and then accompanied the officers who were to
execute the warrant to the store that was to be searched. The
Supreme Court noted that the Town Justice "did not manifest that
neutrality and detachment demanded of a judicial officer when
presented with a warrant application for a search and seizure."
U.S. at 326, S.Ct. at 2324 (citations omitted). "He [the Town
Justice] allowed himself to become a member, if not the leader, of
the search party which was essentially a police operation." l§;

The Supreme Court held that the motion to suppress should have

_]_0_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 181 of 311

been granted.

In this case, just viewing the language of the warrant alone,
this Court must conclude that the warrant is a general warrant
insofar as it refers to items other than the six items described
with particularity.

III

Notwithstanding that the warrant itself is general and does
not describe the items to be seized with sufficient particularity,
the question is raised as to whether a reference to the
supporting affidavit will supply the specificity required to
uphold the warrant.

A court in examining the validity of a warrant may look to
the supporting affidavit for a description of the property to be
seized only if and when the affidavit accompanies the warrant
and the warrant uses words of reference which incorporate the

affidavit as a part of the warrant. See United States v.

 

Hillyard, §gp£a at 1340; United States v. Womack, 166 U.S.

App. D.C. 35, 49, 509 F.2d 368, 382 (1974); United States v.
Thompson, 161 U.S. App. D.C. 339, 344, n. 4, 495 F.2d 165, 170,
n. 4 (1974); Mggpg v. United Statesr 149 U.S. App. D.C. 150,

152, 461 F.2d 1236, 1238 (1972), United States v. Anderson,

 

Criminal No. 85-167, slip op. at 10-11 (D. D.C. October 2, 1985).

The warrant in this case does not make reference to and

_]_]__

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 182 of 311

incorporate the affidavits filed in the case. The form affidavit
seeks to incorporate any other affidavits by providing "see
attached affidavit which is incorporated as part of this affidavit
for search warrant". The magistrate or the officers could have
incorporated the affidavits by using similar language in the body
of the warrant. Since they did not do so, the Court cannot
properly refer to the supporting affidavits to satisfy the
particularity requirement for a warrant under the Fourth
Amendment.

Even if the affidavit had been incorporated,however, the fact
is that the language contained in the affidavit does not describe
the items to be seized with particularity. The affidavit sets
forth background information and then describes the items which
were reviewed by the Customs Inspector and taken to the
magistrate. The affidavit establishes probable cause to search
for and seize the items identified in the warrant and in the
affidavit. However, in referring to other items to be seized, the
affidavit merely states "that there is currently secreted inside
of 2019 Connecticut Ave., N.W., Washington, D. C., 20008, items
described herein [the items described with particularity which
were originally reviewed on March 27, 1984] as well as other
photographs, magazines, writings, and documents which are evidence

of violations of Title 18 U.S.C. §§1462 and 1461" (emphasis the

_]_2_.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 183 of 311

Court's). Thus, the affidavit adds nothing which would assist the
agents and officers executing the warrant in determining what they
should seize. In short, the same defect found in the warrant is
also found in the affidavit. §eg Part II, §gp£a. The agents

and the officers are required to determine what is evidence of a
violation of 18 U.S.C. §§1461 and 1462 and what is obscene. Such
"evidence" can range from pictures, magazine, books and writings
to tickets, stamps and mailing covers. The agents and officers
executing the warrant also thought that it included newspaper
interviews conducted by the defendant in a nationally known
newspaper having nothing to do with obscenity or sex, toys and
family type photo albums depicting the defendant with friends.

The Court concludes that the warrant does not incorporate the
affidavits. The Court concludes further that even if it did, the
language contained in the affidavits is not sufficient for the
Court to find particularity as would satisfy the requirements of

the Fourth Amendment.

_]_3_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 184 of 311

IV
The next issue presented is whether the exclusionary rule
should be applied under the facts of this case. Recently, the
Supreme Court has had occasion to decide that the exclusionary
rule should not be applied when the officer conducting the search
acted in "objectively reasonably reliance" on a warrant issued by
a detached and neutral magistrate that subsequently is determined

to be invalid. United States v. Leon, 104 S.Ct. 3405 (1984);

 

Massachusetts v. Sheppard, 104 S.Ct. 3424 (1984).

The facts in this case are more closely identified with the
facts in Sheppard than those in ngg. In Leon, the state
court determined that the warrant was invalid because the
supporting papers did not establish probable cause. 104 S.Ct. at
3412 (the Supreme Court accepted the Court of Appeals conclusion
that probable cause was lacking). In Sheppard, the supporting
papers established probable cause but the warrant did not describe
the property to be seized.

The investigation in Sheppard related to a homicide which
occurred on Saturday, May 5, 1979. That day, the officers
received information which led them to focus their investigation
on Sheppard and, as a result, they sought to obtain a warrant to
search Sheppard's house. An affidavit was prepared, but by that

time, it was Sunday and the officers had difficulty in locating an

_]_4_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 185 of 311

appropriate warrant application and form. The warrant they
ultimately used was a form warrant which was designed to authorize
a search for "controlled substances"; i.e., illegal drugs.
Although the officers and the judge who issued the warrant
attempted to modify the form warrant, everyone omitted changing
that part of the warrant which authorized a search for "controlled
substances". The search was conducted pursuant to the warrant and
the items found were eventually introduced during Sheppard's trial
after which he was found guilty. The trial court and the majority
of the justices on the Supreme Judicial Court for Massachusetts
found that the warrant was constitutionally defective "because the
description in the warrant was completely inaccurate and the
warrant did not incorporate the description found in the
affidavit." 104 S.Ct. at 3428, n. 5. The state courts found,
however, that the officers believed that the warrant authorized
the search that they conducted and that there was an objectively
reasonable basis for the officers' mistaken belief. 104 S.Ct. at
3428-3429. The Supreme Court affirmed, noting that "a reasonable
police officer would have concluded [as did the officers in
Sheppard] that the warrant authorized a search for the material
outlined in the affidavit." 104 S.Ct. at 3429.

The instant case is distinguishable from Sheppard for a

number of reasons. In Sheppard "[t]he scope of the ensuing

_]_5._

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 186 of 311

search was limited to items listed in the affidavit." In that
case the police found a pair of blood stained boots, blood stains
on a concrete floor, a blood stained envelope, a pair of men's
jockey shorts and women's leotards with blood on them, three types
of wire, and a woman's hair piece, subsequently identified as the
victim's. 104 S.Ct. at 3428 n. 4. When one reads the affidavit
and the description of the items which were the subject of the
search, and compares that description with what was actually found
and seized by the officers, it is clear that the officers seized
only those items described in the affidavit. Although the
Sheppard affidavit did not disclose the exact items to be

seized, for example, “an earring" or "a blood stained envelope",
it did authorize a search for, among other things, "any
possessions of Sandra D. Boulware, similar type wire and rope that
matched those on the body of Sandra D. Boulware, or in [the
defendant's automobile].... A blunt instrument might have been
used on the victim, men's or women's clothing that may have blood,
gasoline burns on them. Items that may have finger prints of the
victim." 104 S.Ct. at 3427. Such language was sufficient to
comply with the requirements of the Fourth Amendment. That
language was also consistent with what was found at the scene of
the crime. 8/ The problem was that the warrant itself did not

give a description of the property to be seized and the warrant

_.]_6_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 187 of 311

did not incorporate the descriptions contained in the affidavit.
1§;

Here, of course, the facts differ. Neither the warrant nor
the affidavit describe the items to be seized other than those six
items which were described with particularity. §§§ Parts II and
III, §pp£a. Rather, it was left up to the agents and the
officers to decide what was evidence demonstrating a violation of
18 U.S.C. §§1461 and 1462. Necessarily, they had to decide what
was obscene. The lack of particularity in this case allowed the
officers to rummage, at will, through the defendant's room as is
evidenced by the items seized during the search.

A further distinction is that this case, unlike Sheppard or
ngg, involves First Amendment issues. This is not a case where
officers were directed to seize specific tangible items such as
weapons, or drugs, or gambling paraphernalia. Here they were told
to seize material which was obscene. "To tell the officers to
seize anything which, in their opinion, [is obscene] is not

'scrupulous exactitude'. Nor does it become such by adding 'of

 

the same tenor' as three named magazines; especially when the
sameness is so broadly defined as to include any communicative
material, from books to prints to motion pictures." United
States v. Guarino, 729 F.2d 864, 867 (lst Cir. 1984) (en banc).

In Guarino, there was a dissent, but it seems unlikely that the

_;|_7_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 188 of 311

dissent would have upheld the present warrant because the dissent
found that the particularity requirement in that case was
satisfied by the magistrate's order which sought to define
obscenity for the officers executing the warrant. 729 F.2d at 872
(Breyer, J. dissenting).

Nor can this Court accept the government's oral argument that
in conducting the search the officers were concerned that the
defendant, a suspected pedophile, was likely to seek to contact
children and that therefore this somehow justified the broad
language of the warrant and the scope of the search actually
conducted, The government, after seizing the material, may have
attempted to contact the parents of some of the children named or
pictured in the defendant's albums. But, as the Court has
observed, those pictures were not suggestive of any illegal
activity; rather they were family scenes some of which included
the defendant, and some of which included pictures of children
taken with their parents. If those albums had not been connected
with this defendant, it is extremely doubtful that anyone would
have given a second thought to them. The above actions of the
officers demonstrates the risk of a general warrant, especially in
a First Amendment case. No evidence was presented at the time of
the issuance of the warrant, or at the time of the hearing in this

case, that suggested that the defendant was attempting to contact

_]_8._.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 189 of 311

children for any illegal activity. The comments of the Court in
this regard are not to be taken as an overall criticism of the
agents and officers conducting the search; indeed, this Court
believes that they were only attempting to conduct a legitimate
search because of suspected activities of the defendant and for
the protection of any children who may have been involved. But
the issue before the Court cannot be based upon the intuition of
the agents and officers, but rather, must be based upon the
requirements of the Fourth Amendment.

The Supreme Court has not held that all the government must
do to override the exclusionary rule is to show that the search
was authorized by a warrant signed by a detached and neutral
magistrate. If that was the import of the ruling then it would
seem that defendants would have lost the right to challenge the
sufficiency of a warrant, for under such a ruling, a victory would
be academic. Indeed, the Supreme Court has stated that,
"depending on the circumstances of a particular case, a warrant
may be so facially deficient - i.e., in failing to particularize

the place to be search or the things to be seized - that the

 

executing officers cannot reasonably presume it is valid."
Leon, 104 S.Ct. at 3422 (citation omitted, emphasis the
Court's). The instant case is such a case.

Here the warrant is so general that the executing officers

_:|_9__

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 190 of 311

could not reasonably presume it to be valid, While the officers
are not experts in the First and Fourth Amendments, the fact that
the warrant and affidavit gave them unfettered discretion to seize
anything which in their opinion is evidence of a violation of one
or both of the involved federal statutes should have been enough
to give them reason to pause. For these reasons, nothing in this
case demonstrates that the exclusionary rule should not be
applied.

V.

The Court has concluded that the warrant is a general
warrant, and further, that there is no basis not to apply the
exclusionary rule. The question remains whether the seizure of
the six items described with particularity in the warrant can be
upheld by severing the general part of the warrant. In other
words, may the government now use the materials originally
intercepted on March 27, 1984, in its prosecution of the defendant.

It is clear that once the six items were intercepted by the
governments agents and determined to be "obscene" by the
magistrate, and once delivery was made to the defendant, there was
probable cause to issue the search warrant. §§§ Part I, note 3,
supra. It is also clear that the six items were described in
the warrant with "scrupulous exactitude". Thus, if the offending

part of the warrant may be severed, the remaining part is valid.

_20_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 191 of 311

A number of courts have held severance to be appropriate
where a part of the warrant is invalid. See United States v.
Fitzgerald, 724 F.2d 633 (llth Cir. 1983), cert. denied, 104

S.Ct. 2151 (1984); Sovereign News Co. v. United States, 690

 

F.2d 569 (6th Cir. 1982), cert. denied, 104 S.Ct. 69 (1983);

United States v. Riggs, 690 F.2d 298 (lst Cir. 1982); United

 

States v. Christine, 687 F.2d 49 (3d Cir. 1982); United

 

States v. Freeman, 685 F.2d 942 (5th Cir. 1982); United
States v. Ig£§h, 609 F.2d 1088 (4th Cir. 1979). In Freeman,
the court observed that "[i]f the police have probable cause to
search for Item A but not for Item B, and a warrant is issued for
both, it seems unfair to law enforcement officials not to allow A
in if the search was otherwise properly conducted." 685 F.2d at
952 (citation omitted).

Moreover, although most of the above cases relate to searches
for property other than allegedly "obscene" materials, a search

for obscene materials was involved in Sovereign News, Riggs

 

and Ig£§h. In Sovereign News, the magistrate issued a warrant
for specifically identified films and magazines said to be
obscene, and authorized the seizure of "other magazines of the
same kind and nature." The defendant argued that the warrant was
impermissibly broad but the court stated that, "[w]e refuse to

invalidate the entire warrant as appellant requests. Where the

_21_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 192 of 311

police and the issuing magistrate have listed the titles of the
primary targets of the search, we will not invalidate the entire
warrant. Rather, we will sever those portions containing the
overbroad language and allow the items seized under the proper
section to stand as evidence." 690 F.2d at 576 (citations
omitted). The court in gigq§ reached the same result, It

severed the impermissible part of the warrant and upheld that part
which described the film to be seized with particuarity. 690 F.2d
at 300-301. Finally, the court in Ig£gh recognized that the
district court had properly severed the invalid part of the
warrant and upheld that part of the warrant which described the
film to be seized. 609 F.2d at 1089.

The Court of Appeals for this circuit has had occasion to
address the issue of severence. See In Re Search Warrant Dated
July 4c 197 , 215 U.S. App. D.C. 74, 667 F.2d 117 (1981), gg£ti
denied, sub-nom, Hubbard v. United States, 456 U.S. 926, 102

S.Ct. 1971 (1982); Huffman v. United States, 152 U.S. App.

 

D.C. 238, 470 F.2d 386 (l97l). In Huffman, the warrant
incorporated the supporting affidavit which described the items to
be seized as "Modern Girls" and "Girls", which had been viewed by
the judge who issued the warrant, "as well as other magazines of a
similar appearance and contents." The court recognized the

severability of the seized evidence and upheld the seizure of the

_.22_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 193 of 311

items described with particularity. U.S. App. D.C. at 245, n. 7,
F.2d at 393, n. 7.

The Court concludes then that it is proper to sever the
offending portions of the warrant and uphold so much of the
warrant as described the six items with particularity.

VI

In sum, this Court holds that the warrant read in its
entirely amounts to a general warrant which is impermissibly broad
and in violation of the Fourth Amendment to the Constitution. The
Court further holds that there is no basis not to apply the
exclusionary rule in this case. Finally, the Court rules that the
offending portions of the warrant may be severed and that the
search and seizure of the six items described with particularity
in the warrant may be upheld.

An appropriate Order has been issued,

 

 

_23_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 194 of 311

1/ See United States v. Leon, 104 S.Ct. 3405 (1984);
Massachusetts v. Sheppard, 104 S.Ct. 3424 (1984).

 

 

2/ The Speedy Trial Act, 18 U.S.C. §3161 et. seq., is still
tolled in view of the agreement of the parties that the Court
should not address the fourth and fifth parts of the motion at
this time. §§g 18 U.S.C. §3l6l(h)(l)(f).

3/ The Court has viewed the material and cannot quarrel with the
conclusion of the government agents and the magistrate that the
material is obscene.

4/ It is significant that the agents in applying for a warrant
distinguished between the two groups of material.

5/ It was ascertained at the time of the search that the
defendant rented a room from an elderly couple in a private home.

6/ The defendant does not challenge the actions of the magistrate
in advising the government agents on how to establish probable
cause. Although the Court need not address this issue, it notes
that the facts relating to the magistrate's participation differs
from those involved in Lo-Ji SalesL Inc. v. New York, 442

U.S. 319, 99 S.Ct. 2319 (1979), There, the Town Justice signed
the warrant, which was incomplete and open ended, and then
accompanied the officers searching the store. The Supreme Court
noted that "[t]he Town Justice did not manifest that neutrality
and detachment demanded of a judicial officer when presented with
a warrant application for a search and seizure." U.S. at 326,
S.Ct. at 2324 (citation omitted). That issue is not raised here
where the magistrate advised the government agents that probable
cause would not arise until after the package was delivered, since
absent delivery, there was no basis to conduct this search for the
items described with particularity in the warrant. §§§ U.S. at
327 n. 6, S.Ct. at 2325, n. 6. ("Magistrate [does not] loose [ ]
his character as such merely because he leaves his regular office
in order to make himself more readily available to law enforcement
officers"), Heller v. New York, 413 U.S. 483, 93 S.Ct. 2787

(1983) (judge went to theatre and after viewing the film signed
the search warrant while still in the theatre).

 

7/ _,4 There is no doubt that some members of the public
might well object to some works of art imported by art galleries,
museums or collectors.

8/ Sheppard consented to a search of his automobile and at that
time the police found "[b]lood stains and pieces of hair [ ] on
the rear bumper and within the trunk compartment. . . . Strands
of wire in the trunk similar to wire strands found on and near the
body of the victim." 104 S.Ct. at 3426.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 195 of 311
UNITED STATES DISTRICT CC T
FoR THE DISTRICT oF CoLUMsLA

UNITED STATES OF AMERICA :

v_ : Criminal No. 85-33 F l L E D /

GEORGE NADER : (Judge Penn)

t Nov 1 8 1935

CLERK, U.S. DISTR!CT COUR]_l

DIST |
MOTION TO CONSOLIDATE FINAL ORDERS ON DEFENDANT'S RCTOFCmMMWA
_ MOTION TO SUPPRESS EVIDENCE AND STATEMENTS

 

The United States of America, by its attorney, the United
States Attorney for the District of Columbia, respectfully moves
for consolidation of final orders on defendant's motion to sup-
press evidence and statements and submits the following points
and authorities in support thereof:

1. The defendant, Mr. GEORGE NADER, moved this Court to sup-
press certain pieces of evidence that were seized by customs
officers. Sometime after the search Mr. Nader, in the presence of
counsel, made several statements to the investigating officers

that he also moves to suppress,

2. On November 7, 1985, this Court ordered that Mr. Nader's
l/

motion_ to suppress evidence would be "granted in part and denied
in part." In essence this Court ruled that the material seized by
the customs agents as a result of the controlled delivery is

admissible but that other items seized are inadmissible.

l/
dThe parties had agreed that the portion of Mr. Nader's motion to
suppress, which dealt with statements, would be withdrawn until
such time as this Court ruled on the issue of suppression of
evidence.

Case 1:85-cr-00033-.]GP Document 1% Filed 03/08/18 Page 196 of 311

3. As a result of this Court's ruling the Government if we
so choose, has thirty days (30) in which to perfect an appeal, 18
U.S.C. 3732 Fed. R. App. P. 4(b). Since this court has yet to
rule on the statements issue, in we request that the Order issued
by this Court on November 7, not be declared final until this
Court has ruled on whether or not it will admit or deny, in the
Government's case-in-chief, statements made by Mr. Nader. We
respectfully submit that making the November 7, order final after
the Court has ruled on the statements portion of Mr. Nader's
motion would, for purposes of possible appeal, provide a smooth
transition of these issues, and consolidate them for appeallate
review. It is our view that neither party would be prejudiced by
the procedure the Government suggests and it would prevent the
issues in this pretrial motion from becoming fragmented.

WHEREFORE, it is respectfully submitted that this motion

should be granted.

é.

. E. diGENOVA
ED STATES ATTORNEY

09/1»7-

  
  
 

Respectfully submitted, <§:;;9

 

KONALD DIon
ASSISTANT UNITED STATES ATTORNEY

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 197 of 311
_2_

CERTIFICATE OF SERVICE
I hereby certify that service of the foregoing Motion has been
mailed to counsel for the defendant, David Povich, Esq. and

Richard Hoffman, Esq., Williams and Connolly, Hill Building, 839

17th street, N.w. wash. , D.c. 20036 this 1 g of November, 1985.

RONALD DIXON

Assistant United States Attorney
Judiciary Center

555 4th Street N.W.

Washington, D.C. 20001

272-9078

 

1:85-
CaSe --Cr -00033- -.](rI`SEF:’D |§§cr)l\gauTn]WEeSntDlIOSr_[`|:Ri|IecdT 03308¢18 Page 198 of 311

-r'OR THE DISTRICT OF COLUMBlJ

UNITED STATES OF AMERICIA :
: Criminal NO. 85-33F

: (Judge Penn

GEORGE NADER

Upon consideration of the motion of the Government to
consolidate final orders on the defendant's motion to suppress
evidence and statements.

rt is by the court this 4 day of , 1985.

ORDERED: That the order issued by the Court on November 77
1985, which grants in part and denies in part the defendant's
motion to suppress evidence is not a final order; and

IT IS FURTHER ORDERED: That the order issued by the Court on

November 7, 1985, shall become final when t 06

  
  
  

rules on the

defendant's motion to suppress stateme

 

NITED STATES DISTRICT JUDGE

LAW OFF|CE$
WILL|AM$ k CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006
AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 199 of 311

F:LED"'
UNITED STATES DISTRICT COURT
FoR THE DISTRICT 0F coLUMBIA DEC1 Oms‘

JAMES F. DAVEY, Clerk
t/

Criminal No. 8500033
Judge John Garrett Penn

United States of America

George A. Nader

`r`/`./Vvvv`d

 

SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
MOTION TO SUPPRESS STATEMENTS

 

On November 7, 1985, this Court issued an order granting
in part and denying in part defendant's motion to suppress. In
its order and the opinion which followed the Court held that the
warrant and search conducted pursuant to it constituted an
invalid general search in violation of the Fourth Amendment. The
Court ordered suppression of the material seized with the
exception of the contents of the package particularly identified
in the warrant. The Court withheld ruling on defendant's motion
to suppress his alleged statements. However, as defendant argued
in his original brief and at oral argument, in light of the
Court's order suppressing evidence, defendants alleged statements

must be suppressed and no evidentiary hearing is necessary.
UNDISPUTED FACTS

We submit that the facts necessary to determine that the

alleged statement must be suppressed are not in dispute,

1111111

LAW OFF|CE$
W|LL|AMS & CONNOLLY
H|L|_ BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 200 of 311

1. Defendant was not home at the time the package was
delivered or at the time of the search and seizure (immediately
after delivery). The government's response to this motion
confirms that the "package was delivered to the defendant's
landlord." Opposition to Motion to Suppress at 4. The inventory
left by the government after the search was also signed by the
landlord. Defendant's Motion to Suppress, Exhibit C.l/

2. The inventory left by the agents -- the defendant's
only method of knowing what was seized -- makes no mention of a
package mailed to defendant and seized in the hallway. ld.,
Exhibit C. Prior to the meeting with the government, defendant
had only seen the pthe£ material taken from his home.

3. The meeting at which the government contends the
statements were made was for the purpose of confronting defendant
with the material seized. To the defendant that could only have
meant the material listed on the inventory, since that is all he
knew was taken. All of that material has been ordered suppres-
sed.

4. At the interview with the agents, which defendant
attended with his then counsel, defendant was confronted with all
of the evidence seized, including all of the other allegedly
obscene material taken from his home that the Court has properly

ordered suppressed.

l/ In fact, defendant was in Cleveland the day the package was
delivered and the search conducted.

LAW OFF|CES
WILL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 201 of 311

THE STATEMENTS ALLEGEDLY M.ADE WERE
THE FRUIT OF THE UNLAWFUL SEARCH

In his original submission to the Court, defendant
pointed out that where the defendant makes statements after being
confronted with evidence seized in an unlawful search the "fruit
of the poisonous tree" doctrine requires suppression of the
statements as well. See People v. Robbins, 54 Ill. App. 3d 298,
369 N.E.2d 577, 581 (1977); People v. Johnson, 70 Cal 2d 541,
550, 450 P.2d 865, 871 (1969), §g£t; denied, 395 U.S. 969 (1969);
see generally 3 W. LaFave, Search and Seizure, § 11.4(c) at 639
(l978). See Defendant's Memorandum in Support at 27-30 (attached
hereto for reference).

The government responded to the argument that defen-
dant's alleged statements were the result of being confronted
with the fruits of an unconstitutional search by citing cases
dealing exclusively with statements made after an illegal
arrest. But, as defendant stated in reply, it is well settled
that being confronted with illegally seized evidence requires
suppression of subsequent statements even where an unlawful
arrest would not. §ee 3 W. LaFave, supra § 11.4(c) at 639. The
presence of counsel subsequent to an illegal arrest breaks the
chain of causation (and allows the statements to be admitted)
because it elimanates the presssures of the illegal arrest and
renders the statement independent of the constitutional viola-
tion. See e.g., United States v. Q§yi§, 617 F.2d 677 (D.C. Cir.

1979). But where, as here, the defendant is confronted with

LAW OFF|CES
W|LL|AMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 202 of 311

illegally seized materials, it "tends to induce a confession by
demonstrating the futility of remaining silent" regardless of a
custodial environment or the presence of counsel. People v.
Robbins, supra, 369 N.E.2d at 581. It is for that reason that
the California Supreme Court recognized that Miranda warnings
were irrelevant in a decision to exclude "confessions induced by

unlawfully obtained evidence." People v. Johnson, supra, 450

 

P.2d at 871.

It cannot be disputed in this case that whatever state-
ments were obtained from the defendant were the result of con-
fronting him with the mass of material illegally seized from his
home. The casual connection between the illegal search and the
alleged statements is not effected in the slightest by the fact
that defendant was accompanied by counsel when he reviewed and
discussed the illegally seized evidence. There simply cannot be
any question on the facts of this case that the statements were
obtained as a direct result of the illegal seizure of material

from defendant's home.

CONCLUSION

For the reasons stated here and in defendant's previous
memoranda, the motion to suppress statements should be granted

without the need of an evidentiary hearing.

LAW OFF|CES
WlLL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20005

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 203 of 311

Respectfully submitted,

WILLIAMS & CONNOLLY

By %111111 /111 1111

David Povich 1
Richard S. Hoffman

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Attorneys for George A. Nader

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 204 of 311

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing
Defendant's Supplemental Memorandum in Support of Motion to
Suppress Statements was mailed by first-class mail, postage
prepaid, on December lO, 1985 to Ronald Dixon, Assistant United

States Attorney, 555 4th Street, N.W., Washington, D.C. 20001.

. , ll

\. . f l J 13 '

Yr lie
f_

Richard S Hoff:'manb

 

LAW oFFlcEs
WILL.|AMS a CONNOLLY
HlLL eull.olNG
wAsHlNGToN. D c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 205 of 311

CLERK'S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
3rd & CONSTITUTION AVE.,N.W.
WASHINGTON, D.C. 20001

January 17, 1986

UNITED STATES

Mr. David Povich
839 - 17th Street, N. W. vs.
Washington, D. C. 20006

GEORGE A NADER

Criminal No. 85-33

Please be advised that the above entitled case is set
for HEARING oN MOTION
on February 7, 1986 ,'at 10:00 a.m.
before Judge John Garrett Penn in Courtroom NQ, 17, 6th floor
Notwithstanding the obligation of the D.C. Pretrial Services
Agency and/or the Surety to notify the defendant of his/her
required appearance, defense counsel is also directed by the

Court to take appropriate action to assure the presence of the

defendant. _
JAMES F. DAVEY, Clerk
By_@a'Z/E/p za_/ %t\(j/Wzdln,
Courtroom Clerk
(202) 535- 3533 C
cc: Chambers Ez/
Courtran . ~\ //
AUSA Ronald Dixon fl /
Pretrial Services AGency __,
CO 300

Rev.lO/?S

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 206 of 311

UNITED sTATEs DISTRICT coURT
FoR THE DISTRICT 011 coLUMBIA MAY 13 1986
cLl-:RK, u.s. msTR\ct couRT
UNITED sTATEs or AMERICA, D\STR\CT QF cOLuMBlA
v. cRIMINAL No. 85-0033 ./

GEORGE NADER
O R D E R

The case comes back before the Court on the defendant's
motion to suppress statements made by the defendant. After
giving full consideration to the motion, the opposition thereto,
the record in this case, and the arguments of counsel, the Court
concludes, for the reasons set forth in the memorandum to be
filed, that the motion should be denied.

In view of the above, it is hereby

ORDERED that the motion to supress statements made by

*
the defendant is denied. -/ _,/::///

_. ' " _/ . "
' -' ,'{ . ' _ . "
_,/" /:"

MAY 13 1986 l Mmf§§g§-TT P\EN;§"”

/#United States District Judge

,,

:/ The underlying facts of this case are set forth
in the Opinion relating to the defendant's motion to suppress
eivdence. See United States v. Nader, 621 F. Supp. 1076 (D.D.C.
1985)

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 207 of 311

UleED STATES DISTRICT COURT § _ '_)
FOR THE DISTRICT OF COLUMBIA a d
MAY 1 9 1986

' _ mWnusmmmmcwm
: Criminal No. 85 - 33 cmumToFcoummm

V¢ 2
: JUDGE JOHN G. PENN

UNITED STATES OF AMERICA

GEORGE A. NADER

l¢» to

 

DmecToFcuLumsm
GOVERNMENT'S MOTION FOR CONTINUANCE

 

The United States, by and through its attorney, the United
States Attorney for the District of Columbia, respectfully requests
that the trial of this case, presently set for May 28, 1986, be
continued. As grounds for this request the United States now
says:

1. The instant case was set for a trial date of May 28, 1986
on April 7, 1986. The Assistant United States Attorney assigned to
try the instant case is Mr. Ronald Dixon,

2. The United States has learned that an essential witness
will not be available for trial on May 28, 1986.

3. The defendant, Mr. George Nader, has waived his right to
a speedy trial, therefore, the granting of this continuance will not
infringe upon that right.

4. On May l9, 1986, counsel for the United States spoke with
counsel for Mr. Nader who stated they had no objection to a contin-
uance.

5. Mr. Nader is free in the community on his personal promise

to return to Court,

 

Case1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 208 of311
_ 2 __

6. The Government would respectfully request that the trial
date currently set in the instant case be converted to a status
hearing at which the parties could select a new trial date.

7. This is the first request for a continuance made by the
United States,

8. This request for a continuance is made in good faith and
not to gain any advantage over Mr. Nader.

WHEREFORE, the United States respectfully requests that the
trial of the instant case be continued.

Resp tfu Mrbmi edULC
JOSE`. .. G NOVA§` Mcm

Unit States Attorney

 

61 »
111

RONALD D I XON
Assistant United States Attorney

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 209 of 311

_ 3 _

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing was mailed
postage prepaid to the attorneys for the defendant, David Povich

and Richard S. Hoffman, 839 Seventeenth Street, N.W., Washington,

D.c. 20006, this 1 §( day of Mayqzwas. UQ
/ \/1/§/\1

RONALD DIXON

Assistant United States Attorney
Judiciary Center, Room 5154

555 4th Street, N.W.

Washington, D.C. 20001

(202) 272-9078

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 210 of 311

F|LEDC/

MAY 16 1995
UNITED sTATEs DISTRICT coURT
FoR THE DISTRICT 0F coLUMBIA °LE"K' U-S- 13'13TF11C`11'~`0URT

ms'rmc"r 0F coLyaiam
UNITED STATES OF AMERICA /
v. Criminal No. 85-33 l
GEORGE A. NADER
MEMORANDUM

This case is back before the Court on the defendant's motion
to suppress statements he made on April 16, 1984, when he and his
then counsel, Gwynneth M. Moolinar, met with Don Bloodworth,
Special Agent, U.S. Customs Service, and Robert D. Northrop,
Postal Inspector, at the Post Office in Washington, D. C., to
discuss the defendant's background and the material seized on
April 12, 1986 from his room and the house where he lived. The
underlying facts are set forth in an earlier Opinion filed by this
Court that addressed the defendant's motion to suppress physical
evidence. See United States v. §gg§£, 621 F. Supp. 1076 (D.
D.C. 1985). The defendant contends that the statements made by
him were the fruit of an illegal search and that the statements
were obtained as a result of material misrepresentations by
Government agents. After giving careful consideration to the
motion, the opposition thereto, the record in this case, and the
arguments of counsel, the Court concludes that the motion should
be denied.

The defendant argues that the statements must be suppressed

_ "F

-::§- 1.\\\\

w »i
cfr~xw'
|.. _,
,._/,
},

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 211 of 311

because they were made after the defendant was confronted with
evidence seized during an illegal search on April 12, 1984. See

Wong Sun v. United States, 371 U.S. 471, 484-487, 83 S.Ct.

 

407, 415-417 (1963). In Wong Sun, the officers participated in

an illegal search, broke into the house of one of the defendants,
handcuffed and arrested him in the room where his wife and child
were sleeping at which time the defendant made the challenged
statement. U.S. at 468, S.Ct. at 416-417. Under these
circumstances, the Supreme Court ruled the statement inadmissible
and noted that "it is unreasonable to infer that Toy's response
was sufficiently an act of free will to purge the primary taint of
the unlawful invasion." lgL (footnote omitted). However, in

the same case, the Supreme Court addressed a second statement

made by Wong Sun. He had been arrested "without probable cause

 

or reasonable grounds"but the Court concluded that the unsigned
confession obtained from him several days later was admissible
because he had returned voluntarily to make the statement and the
"connection between the arrest and the statement had 'become so
attenuated as to dissipate the taint [the illegal arrest]'". U.S.
at 491, S.Ct. at 419 (citation omitted).

The facts here are clearly distinguishable from those leading
to the statement by Toy and more in line with the facts relating

to the statement given by Wong Sun. The search took place on

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 212 of 311

April 14, 1984, when the defendant was not at home. Thereafter,
he retained the services of counsel who arranged the meeting with
the Government agents on April l6. When the defendant attended
that meeting, he was accompanied by his attorney who remained with
him throughout the entire meeting. He was not under arrest at
that time, and he was free to leave at any time. The defendant is
intelligent, and he voluntarily met with the agents after seeking
the advice of his counsel, Under these circumstances, so much of
the motion as is based on the alleged illegal search must be
denied. Moreover, it should be noted that not all of the evidence
seized on April 12, 1984, has been suppressed. §gg United

States v. Nader, supra at 1084-1086.

 

As to the second part of the motion alleging that the
Government agents made material misrepresentations which in turn
led to the statements made by the defendant, that argument must
also be rejected. The Court finds that the agents never advised
the defendant or his counsel that the defendant would not be
prosecuted if he met with the agents to discuss the material that
had been seized. Subsequent to the meeting, the agents prepared a
detailed Memorandum Of Interview setting forth what occurred at
the meeting. §g§ Government Exhibit 3, Defendant Exhibit 6.

That memorandum is fairly consistent with the notes prepared by

the defendant's counsel at the time of the April 16 meeting.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 213 of 311

Defendant's Exhibit 5. The defendant was not threatened or
coerced in any way and he was not advised that as the result of
his cooperation the Government would not prosecute. It also seems
reasonable to conclude that the defendant, or at least his
counsel, should have been aware that there was a real possibility
of prosecution since they knew and understood that the defendant
had violated certain federal statutes. Moreover, they knew that
the evidence seized had been seized pursuant to a search warrant.

It appears to the Court that the defendant and his counsel
made a tactical decision to cooperate with the Government in hopes
that the Government would not prosecute; but that decision was not
based on any representations made by the Government agents.
Accordingly, the Court concludes that so much of the motion as is
based on the alleged material misrepresentations by the Government
agents must also be denied. /? ,/F

»"J
z

The motion is denied. An appropriate,order_has issued.
l/ ,/

.' _.)-: _ .
.- -- ‘,'
/ - nn '/

fin _»j-"~:>“”_`-,-A _. - . _' -' L-
!/' " ` .
/`EJ:OHN SK§BET; PENN___"

/* Uni_ted"States District Judge

Dated: May /6`, 1986

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 214 of 311

United States of America

George A. Nader

FH§ED`

UNITED sTATEs DISTRICT coURT “-
FoR THE DISTRICT oF coLUMBIA MAY;>`31986

CLE|?K U. S. DiSTR.'C`T COURT

DlSTR|CT OF COLUIV|B|A

/.
/"

Criminal No. 8500033

Judge John Garrett Penn

\._n-\._"\\_r-\\_r~._'~._n‘_n\_.r

 

Defendant, George A. Nader, after consultation with

counsel, and fully understanding his right to a trial by jury,

hereby waives a trial by jury and elects to be tried by the Court

for the charges in this indictment,

Dated: Mayéiz:,

LAW OFF|CES
W|LL|AMS d CONNOLLY
H|LL BU|LD|NG
WASH|NGTON, D C, 20006

 

AREA CODE 202
33|-5000

1986

H-:/ /Mz/H
Ceo:ge/AT Nader

WILLIAMS CONN LY

By:

 

ua1id Psviéh

839 17th Street, N.W.
Washington, D.C. 20006
(202) 331-5000

LAW OFF|CES
W|LL|AMS & CONNOLLY
H|LL EU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 215 of 311

United States of America

UNITED STATES DISTRICT COURT

F|LED_

FoR THE DISTRICT oF coLUMBIA JL|N 11198‘6

George A. Nader

CLERK, U.S. D|STR|CT COURT
DISTR|CT OF COLUMBIA

Criminal No. 8500033
Judge John Garrett Penn

vv`_/Vvv`_¢`./

 

DEFENDANT'S PROPOSED JURY INSTRUCTIONS

 

Defendant respectfully requests that the Court instruct

the jury in accordance with the District of Columbia Criminal

Jury]lnstructions

 

 

(D. C. Bar Assoc. 1978 & Supp. 1981) listed

below, and the additional instructions attached hereto.

Number
1.04
1.05
2.01
2.02
2.05
2.06
2.07
2.10
2.11
2.13

2.26

2.27

1 ca .-

n
l 1 ll_

1

11

Subject

Question Not Evidence

Expert Testimony (if relevant)
Function of the Court

Function of the Jury

Statements of Counsel

Indictment Not Evidence
Inadmissible and Striken Evidence
Types of Evidence

Credibility of Witnesses

Number of Witnesses

Failure of Defendant to Testify
(if applicable)

Defendant as Witness (if applicable)

LAW oFFlcEs
wlLLlAMS a CONNOLLV
HlLL aulLDlNG
wAsHlNGToN, D c, 20006

 

AREA CODE 202
33|-§000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 216 of 311

2.47 Confessions and Admissions --
Corroboration

2.50 Multiple Counts

2.69 Unanimity of Verdict

Respectfully submitted,

   

WILLIAMS CONNOLLY

lo/ j/w// /

By:

 

 

David Povich f s
Richard S. Hoffman“

839 17th Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Dated: June ll, 1986

LAW OFF|CES
WlLLlAMS d CONNOLLY
HlLL BU||.D|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 217 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. l
EVIDENCE IN THE CASE -- JUDICIAL NO'I‘ICE --
STIPULATIONS ~- DEPOSITIONS

You may consider only the evidence properly admitted in
the case. Evidence includes the sworn testimony of witnesses,
exhibits admitted into evidence, facts judicially noticed by the
court, facts and testimony stipulated to by counsel, and
depositions.

A stipulation of fact is an agreed statement of facts
between counsel and you may regard such stipulated facts as
undisputed evidence. In this case, the prosecution and the
defendant agreed that the material contained in the envelope is

obscene within the meaning of the law.

District of Columbia Criminal Jury Instruction 2.04 (modified)

Granted

Denied

LAW OFF|CES
WlLLlAM$ & CONNOLLY
HlLL BUILD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 218 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 2

BURDEN OF PROOF -- PRESUMPTION OF INNOCENCE

Every defendant in a criminal case is presumed to be
innocent. This presumption of innocence remains with the
defendant throughout the trial unless and until he is proven
guilty beyond a reasonable doubt.

The burden is on the government to prove the defendant
guilty beyond a reasonable doubt. This burden of proof never
shifts throughout the trial. The law does not require a
defendant to prove his innocence or to produce any evidence. If
you find that the government has proven beyond a reasonable doubt
every element of the offense with which the defendant is charged,
you may find him guilty. On the other hand, if you find the
government has failed to prove any element of the offense beyond

a reasonable doubt, you must find the defendant not guilty.

District of Columbia Criminal Jury Instruction 2.08.

United States v. Hayward, 420 F.2d 142 (D.C. Cir. 1969).

 

Granted

Denied

LAW OFF|CES
WILL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33 l -5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 219 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 3

REASONABLE DOUBT

Reasonable doubt, as the name implies, is a doubt based
on reason, a doubt for which you can give a reason, It is such a
doubt as would cause a juror, after careful and candid and
impartial consideration of all the evidence, to be unable to say
that he has an abiding conviction of the defendant's guilt. It
is such a doubt as would cause a reasonable person to hesitate or
pause in the graver or more important transactions of life.
However, it is not a fanciful doubt nor a whimsical doubt, nor a
doubt based on conjecture. lt is a doubt which is based on
reason, The government is not required to establish guilt beyond
all doubt, or to a mathematical certainty or a scientific
certainty. Its burden is to establish guilt beyond a reasonable

doubt.

District of Columbia Criminal Jury Instruction 2.09 (modified)

Granted

Denied

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 220 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 4

NATURE OF CHARGES NOT TO BE CONSIDERED

You are specifically cautioned against permitting the
character of the charge itself to affect your minds in arriving
at your verdict. The parties in this case have agreed that the
material sent through the mails is obscene. The fact that you
may be offended by the material should in no way influence your
deliberations regarding whether this defendant is guilty of the

charges against him.

District of Columbia Criminal Jury Instruction 2.l4 (modified)

Granted

Denied

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTCN, D C 20006

 

AREA CODE 202
331-5000

LAW OFF|CES
W|LL|AMS d CONNOLLY
HlLL EU|LD|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
33|~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 221 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 5

GOVERNMENT AGENT'S TESTIMONY

A government agent's testimony should be considered by
you just as any other evidence in the case and in evaluating his
credibility you should use the same guidelines which you apply to
the testimony of any witness. In no event should you give either
greater or lesser credence to the testimony of any witness merely

because he is a government agent,

District of Columbia Criminal Jury Instruction 2.25.

Busch v. United States, 375 F.2d 602, 605 (D.C. Cir. 1967).

 

Granted

Denied

LAW OFF|CES
WILL|AMS & CONNOLLY
HlLL EU|LD|NG
WASH|NGTON. D C 20005

 

AREA CODE 202
33|~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 222 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 6

CONFESSIONS AND ADMISSIONS _~ SUBSTANTIVE EVIDENCE

Evidence has been introduced that the defendant made an
admission concerning the crime charged, You should weigh such
evidence with caution and should carefully scrutinize all the
circumstances surrounding the alleged admission in deciding
whether the defendant made it and what weight to give it, along
with all the other evidence, in determining the guilt or
innocence of the defendant. In this case, the defendant has

offered evidence denying that he made such an admission.

District of Columbia Criminal Jury Instruction 2.46 (modified).
Lego v. Toomey, 404 U.S. 477 (l972).

United States v. Robinson, 459 F.2d ll64 (D.C. Cir. 1972).

 

Granted

Denied

LAW OFF|CES
WlLLlAMS & CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 223 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 7

1461 -- MAILING OBSCENE MATERIAL
ELEMENTS OF THE OFFENSE

 

The defendant is charged in this case with mailing
obscene material. The elements of that offense are:

l. That the defendant willfully deposited the parcel
for mailing and delivery by the Post Office of the United
States;l/

2. That the defendant knew, at the time of such

 

mailing, the general nature of the contents of the article placed
in the mail;§/ and

3. That the contents of the envelope were obscene. In

 

this case the defendant and the prosecution have agreed that the
contents of the envelope contained obscene material and you need
not make a finding on that issue.

As stated before, the burden is always upon the
prosecution to prove beyond a reasonable doubt every essential
element of the crime charged; the law never imposes upon a
defendant in a criminal case the burden or duty of calling any
witnesses or producing any evidence. It is not a crime under the
statute that Mr. Nader is charged with violating to receive
material in the mail. Nor is it an offense under the statute to
order such material to be sent by someone else, unless there is
evidence that the defendant intended to circulate the material to
others. [There is no such evidence in this case.] Therefore, l

instruct you that unless you find that the government has proven

LAW OFF|CE$
WlLL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
331»5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 224 of 311

beyond a reasonable doubt that the defendant deposited the

material in the mail knowing the contents of the envelope you

must return your verdict for the defendant.

2/

United States v. Sidelko, 248 F. Supp. 813, 815 (M. D. Pa.
1965).

Reed Enterprises v. Clark, 354 F.2d 519, 521-22 (D.C. Cir.
1965).

Reed Enterprises v. Clark, 278 F. Supp. 372, 374, 378-80
(D.D.C. 1967) (three judge court), aff'd 390 U.S. 457
(1968).

 

United States v. Luros, 260 F. Supp. 697, 700 (N.D. Iowa
1966).

Parts of the instruction are taken from Devitt & Blackmar,
Federal Jury Practice and Instructions § 62.05 (l977), but the

 

elements of the offense are modified to account for the
applicable case law, particularly United States v. Sidelko,

SUEI'B .

 

Granted

Denied

LAW 0FF|CE$
WlLLlAMS 8 CONNOLLY
HlLL BU|LD|NG
WASH|NGYON, D C 20006

 

AREA CODE 202
33|~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 225 of 311

DEFENDAN'I"S PROPOSED JURY INSTRUC'I'ION NO. 8
l462 -- IMPORTATION OF OBSCENE
MATERIAL ~- ELEMENTS OF THE OFFENSE
The defendant is also charged in this case with
importing obscene material. The elements of that offense are:

1. That the defendant knowingly and willfully brought

 

into the United States from outside the United States certain

 

articles as charged;

 

2. That the defendant knew at the time of such

 

importation, the general nature of the contents of the articles

 

that he brought into the United States;

 

3. That the articles were obscene. As I instructed

 

you with the mailing charge, the defendant and the prosecution
have agreed that the contents of the envelope included obscene
material, and you need not make a finding on that issue.

It is not a crime under this statute to receive material
that has been brought into the United States by someone else.
Therefore, I instruct you that unless you find that the
government has proven beyond a reasonable doubt that the
defendant brought the material into the United States knowing the
general nature of the contents of the envelope, you must find for
the defendant.

Devitt & Blackmar, Federal Jury Instructions § 62.21 (Supp. 1986)
(modified) (the instruction as written deals only with use of a

common carrier for interstate transportation of obscene material
and has been modified here to address the charge of importation).

 

Granted

Denied

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 226 of 311

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing
Defendant's Proposed Jury Instructions was mailed by first-class
mail, postage prepaid, on June ll, 1986 to Ronald Dixon,

Assistant United States Attorney, 555 4th Street, N.W.,

1111 / - 11

Richard S. Hoffman}

Washington, D.C. 20001.

 

LAw oFFl¢:Es
WILL|AM$ a CONNOLLV
HlLL BulLDlNG
wAsHlNGToN. o.c. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 227 013/111

/~.él"_?- 'L/ ;--' l g

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. § Criminal No. 85-33 ///

Judge John G. Penn
F | LE D
JUE\! 1 1 1986
JA|V|F_S F. DAVEY, Cler?

The United States of America, by and through its attorney,

GEORGE A. NADER

GOVERNMENT REQUESTED JURY INSTRUCTIONS

 

the United States Attorney for the District of Columbia, respect-
fully requests the Court to charge the Jury with the following
instructions, as set forth_ in the Criminal Jury' lnstructions,

District of Columbia (Redbook Instructions):

1.02 Preliminary Instruction to Jury Before Trial

l.025 Cautionary lnstruction Prior to First Recess

2.01 Function of the Court

2.02 Function of the Jury

2.03 Jury's Recollection Controls

2.05 Statements of Counsel

2.06 lndictment Not Evidence

2.07 lnadmissible and Stricken Evidence

2.08 Burden of Proof

2.09 Reasonable Doubt

2.10 Direct and Circumstantial Evidence

2.ll Credibility of Witnesses

2.14 Nature of Charge Not to be Considered

2.70 Exhibits During Deliberations

2.69 Unanimity of Verdict and Election of Foreperson

2.72 Communications Between Court and Jury During Jury's
Deliberation

3.01 lntent

3.02 Proof of lntent

3.05 "Knowingly"

4.02 Aiding & Abetting

ln addition, l instruct you that:

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 228 of 311

ln order to prove the defendant guilty of the crime charged
in the indictment, the government must establish each of the
following elements beyond a reasonable doubt:

First, that the defendant knowingly used the mails for the
mailing or delivery of the material alleged in the indictment.

Second, that the defendant knew at the time of mailing the
general contents, character and nature of the material which was
mailed.

Third, that the material charged in the indictment was
"obscene" as l will define that term.

The first element the government must prove beyond a reason-
able doubt is that the defendant knowingly used the mails for
the mailing or delivery of the material charged in the indictment.

ln order to satisfy this element, the government need not
prove that the defendant personally placed the materials in
question in a mail box. lt is sufficient to satisfy this element
if you find that he caused the materials to be mailed, and that
he knew the mails would be used for the purpose of delivering the
materials in questions.

An act is done if it is done voluntarily and intentionally,
and not because of accident or mistake.

The second element which the government must prove beyond a
reasonable doubt is that the defendant knew, at the time of
mailing, the general contents, character and nature of the material

which was mailed.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 229 of 311

In this regard, it is not necessary for the government to
prove that the defendant knew the offending materials to be
legally obscene, or believed them to be, in fact, obscene. lt is
sufficient to satisfy this element if you find that the defendant
was aware of the general contents, character and nature of the
materials mailed.

The final element which the government must prove beyond a
reasonable doubt is that the material charged in the indictemnt
was obscene.

What is meant by obscene, lewd and lascivious, and what
standards do you apply in deciding whether the book (or magazine
or photograph or film) is of that character?

The words "obscene, lewd and lascivious," as used in the
law, signify that material which, taken as a whole, the average
person, applying present-day community standards, would find
appeals to prurient interests; that it depicts or describes, in a
patently offensive way, sexual conduct; and that it lacks serious
literary, artistic, political or scientific value.

Let me explain each of these definitions in more detail.
The words "taken as a whole" mean that in determining whether the
work at issue is obscene, it must be judged in its entirety. You
are not to consider detached or separate portions in reaching a
conclusion about whether the work is obscene. lt is your task to

determine whether, taken as a whole, it is obscene.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 230 of 311

_ 4 _

Similarly, you are to judge the work according to the
standards of the average person in the present-day community. lt
is not your role to judge the work by your own personal standards
[or by the standards of any particular class of people]. ln this
regard, you should take into account the community as a whole,
the sensitive and insensitive, the educated and uneducated, the
religious and non-observant, men and woman from all walks of life
in the community in which you live (or in the community in which
you find the materials were intended to 4be distributed). Also
bear in mind that the law accepts the fact that the mores or the
customs and convictions of people are inot static. What is an
acceptable code of morals or conduct today might well have been
frowned upon in the past. Therefore, in reaching a conclusion as
to whether or not material is obscene, you are to judge it by
present-day standards of the community, or, for want of a better
expression, by what may be termed the contemporary common con-
science of the community.

Before you may judge the material in question obscene, you
must find each. of the following requirements: First, you must
conclude that the work appeals to the prurient interests of those
whom it is likely to reach. Prurient interest is a shameful or
morbid interest in sex. or nudity. The test is not whether it
would arouse sexual desires or sexually impure thoughts in those
comprising a particular segment of the community - the young, the

immature or the highly prudish - or, would leave another segment -

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 231 of 311

_ 5 _

the scientific or highly educated or so-called wordly-wide and
sophisticated - indifferent and unmoved. ln other words, you are
first to determine whether it appeals to the prurient interests
of the average person in the community. (lf applicable: The
claim is also made here that some of the materials were designed
for and primarily disseminated to za clearly defined or deviant
sexual group rather than the public at large. lf you conclude
that the members of a particular sexual group were the intended
and probable recipients of these materials the question is whether
it appeals to the prurient sexual interests of the members of
that group.)

The second component of obscenity you must find, in accordance
with the standards l have set forth, is that the work depicts or
describes, in a patently offensive way, sexual conduct. The
Supreme Court of the United States has given the following examples
of materials which may satisfy this requirement: (a) patently
offensive representations or descriptions of ultimate sexual
acts, normal or perverted, actual or simulated; (b) patently
offensive representations or descriptions of masturbation, excre-
tory functions, and lewd exhibition of the genitals. In short,
before you may find the material in question to be obscene, you
must determine that, taken as a whole, they constitute such
examples of 'hard core' sexual conduct.

The third component of obscenity is that the work in question
lacks serious literary, artistic, political or scientific value.

This requirement finds its roots in the First Amendment of the

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 232 of 311

_ 6 _

United States Constitution, which protects freedom of expression
as a fundamental right in our society. Thus, the law does not
condemn the portrayal of sexual conduct if, taken as a whole, the
work has serious social value. However, the constitutional right
of freedom of expression does not extend to a work which depicts
'hard core' sexual conduct, such as the examples given above,
when the work, taken as a whole, lacks serious literary, artistic,
political or scientific value. ln other words, the First Amendment
does not protect what you find to be obscene in accordance with
these instructions.

To reiterate, in order to find this third element has been
satisfied, you.must find, in accordance with present day community
standards, that the\work, taken asaawhole, appeals to the prurient
interests; that the work, taken as a whole, depicts or describes,
in a patently offensive way, sexual conduct; and that the work,
taken as a whole, lacks serious literary, artistic political or
scientific value.

ln order to establish guilt of the crime charged in (Count 2
of) the indictment, the government must prove each of the following
elements beyond a reasonable doubt:

First, that the defendant knowingly brought into the United
States the materials in question.

Second, that the defendant knew, at the time of such use,
the general contents, character and nature of the material which

was marked.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 233 of 311
_ 7 _

Third, that the material charged in the indictment was
"obscene" as l have previously defined.

The first element the government must prove beyond a reason-
able doubt is that the defendant knowingly brought into the United
States the materials in question.

The government need not prove that the defendant personally
brought the materials in question into the United States. lt is
sufficient to satisfy this element if you find that he caused the
materials to be transported into the United States and that they
would travel in interstate commerce.

lnterstate commerce means simply the transportation of ma-
terials between two states.

The second element which the government must prove beyond a
reasonable doubt is that the defendant knew, at the time he caused
the material in question to be brought into the United States
the general contents, character and nature of the material.

ln this regard, it is not necessary for the govenment to
prove that the defendant knew the offending materials to be
legally obscene, or believed them to be, in fact, obscene. lt is
sufficient to satisfy this element if you find that the defendant
was aware of the general contents, character and nature of the/

materials carried in interstate commerce.

.l

11 . 1»l 1 1111

l f PH Elj DlGENOVA

rig ed States Azfornty l
` wth tel

RONALD DIKON
Assistant United States At ttorney

Re1)ectful[yg submitt d, l

    

By:

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 234 of 311

CERTlFlCATE OF SERVICE

l HEREBY CERTIFY that service of the foregoing Government
Requested Jury Instructions has been mailed postage prepaid to
David Povich, Esq. and Richard Hoffman, Esq., Williams & Connolly,

839 17th Street, N.W., Washington, D.C. 20006, on this ’{__ day

“(1)1.0/1.- ill ' nn ill ' 41\,___..,

RONALD DlXON

Assistant United States Attorney
Judiciary Center, 5th Floor

555 4th Street, N.W.

Washington, D.C. 20001

of June, 1986.

 

Case 1: 85- --Cr -0-0033 .]GP Document 10 Filed 03/08/18 Page 235 of 311

 

 

 

 

Aou(n¢v.xo/m ’ SUBPOENA
United §tates District Court umwa District °f Columbia
DOCKET NO. 85_0 3 3
. ~ TYPE OF CASE
United States of America DC|WL ECR'M|NAL
SUBPOENA FOR
_ George A° Nader QPERsoN l:l DocuMENT(s)oroaJEchs)

 

 

TO: Gwynneth M. Moolenaar

 

YOU ARE HEREBY COMMANDED to appear in the United States District Court at the place,
date, and time specified below to testify in the above-entitled case.

 

PLAcE `couRTRooM

l Honorable John Garrett
United States District Court Penn
3rd Street and Constitution Avenue
Washington, D.C.

 

 

DATE AND TlME

July 22, 1986
10:00 a.m.

 

 

F_i__l

 

 

YOU ARE ALSO COMMANDED to bring with you the following document(s) or object(s): ( )

]_*_" d __ _ l
l

 

 

L U See additional information on reverse

.__ ___ ___ ___. _ _ _ J

  

 

 

 

 

 

 

 
 
  

This subpoena shall , - _ - 1 :»~.c_-l_t until you are granted leave to depart by the court or by an
officer acting on behalf ` '
T):fwAGlsTn/rrziz)'on cl_r»:m< o _ _ ' '__ DATE
JAN\ES F. DAVEY
¢ev) oeeurv cts_m{_
' ing ' __' 5 ATToR_NEv'sN_AME AND_A_D'DRESS _
._ 1 Richard S . Hoffman
This subpoena is issued upon applic j WilliamS & COnnOlly
j 839 17th Street, NW
E P|aintlff E Defendant [l U. S. Attorney § Washington , D _ C . 20 00 6

 

 

 

ill H' not anp' -_,ab|e en e 'nr.\r‘e "

(2) A subpoena shall be issued by a magistrate in a proceeding before him but need not be under the sell of the court. (Rule 17(a), Federal Rules of
Criminal Frucedure. )

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 236 of 311

 

RETURN OF SERV|CE‘:’)

 

escaon DATE 7/3 /Y(o PLACE §'SQ NH\ §'l"'t£r, Uli) ,. V\)d$luii"-§ll??\ ,[)@

 

 

 

 

BY SERVER
slanon one 7/3!?(9 wm HOl H`l’l~, ;‘éi’€£l) MIA), UH§lviF/Lh} [)@,
sERon oN (NAME) FEEs AND MlLEAGE TENDERED TO wlTNEss(¢)
SWYU\CH\ M NBOl`Q‘/\Mr' (Z$/\ s(ves oNo AMouNT sM/l_*w

 

SERVED BY T|TLE

wlull+ii FM£ gmsz u)/LL/M Z Counm,ty

 

 

ST_ATEMENT OF SERV|CE FEES

 

TRAVEL SERV|(.`ES TOTAL

 

 

 

DECLARAT|ON OF SERVER(‘)

 

l declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.

Executed- on ~‘>‘~*\`4` 5 \` \q q<" Y\QQ-*-&NL § - _\- GQJ`./\.
~ Date Signature of Server
%‘€>°\ \"1 V"\ §§ \}3 \)Q

Addres: of Server

 

ADD|T|ONAL lNFORMATlON

 

 

 

(3) As to who may serve a subpoena and the manner of its service see Rula 17(d), Federal Rules of Criminal Procedura, or Rula 45(€). Federai Ruies of Clvll
Frocedure.

(4) "Feee and mileage need not be tendered to the deponent upon service of a subpoena issued on behalf of the united States or an officer or agency thereof
(Rule 45(¢), Fadaral Rulal of Clvll Frocadure¢ Rule 17(6), Federa| Rulaa of Criminal Procedure) or on behalf of cartaln lndlaent partial and criminal
defendarm who ara unable to pay auan cone (2| usc llle. lula 17(e) Fedaral Rulea of Criminal Procadura)".

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 237 of 311

 

 

 

 

 

 

Ao aa(nov. 10/32) ° SUBPOENA
United §iafes District Court mma District °f Columbia
DOCKETNO. 85_033
_ . TvPEoFcAsE
United States of America UCW|L ECB_M|@ 10
George A. Nader s°B"°ENAF°R F"zi?r`?- " 'i“"
“ QPERSON l__.l D lily-Eth or iECT(S)
TO: Gwynneth M. Moolenaar 5`5\"'7,’{.- 03 `-`;
Oz'$.', ¢ 4
4?}""/;.`\ . 2 m
0 »L
¢\?.c=»' -:3¢' 0
c:-"r’

 

YOU ARE HEREBY COMMANDED to appear in the United States District Court at the place,
date, and time specified below to testify in the above-entitled case.

FLACE COURTROOM

Honorable John Garrett
United States District Court Penn

l 3rd Street and Constitution Avenue
| Washington, D.C.

|

 

 

DATE AND T|ME

July 22, 1986
10:00 a.m.

 

 

\__..____ ____..._ .__ ___.._._._

 

YOU ARE ALSO COMMANDED to bring with you the following document(s) or object(s):m

ii_'“" _ ` __ _ l
l
|

 

 

 

l El See additional information on reverse

 

 

officer acting on behalf - -'

 

  
 

 

 

 

 
 
   

 

'u.s. MAG¢sTnATe(z) on citing " DATE
JAMES F. DAVEY `_'
iev) oeeurv ctem< __
i@cL‘/nd_‘/ " '“ .AT'TaE§ewmn'E_/;@TABDRESS
__ y Richard S . Hoffman
This subpoena is issued upon applic __ . g l WilliamS & COnnOlly
"'-"'-'~»:~'!-" § 839 17th Street, Nw
§ Plaintlff X Defendant l:l U.S. Attorney j washington , D _ C _ 20006
l

 

 

ll) if not anp' -_ab|e,~enfe' "nnr‘e "
(2) A Subvoem\ Sh.\i| be issued by a magis'!ate in a proceeding beiore him, but need not be under the seal ol the court. (Rule 17(a), Federal Rules ol
Criminal procedure.)

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 238 of 311

 

RETURN OF SERV|CE(""
oATE

 

 

Bl:{ssc;§:q\\//l;i?q 7/3 /YG pLACE Q?lci N`Hc §‘l'l?£i: ULL) , lud$l\.i$illm ,[)@
sERvED am 7/3,[?(9 E HO[ HH' §ér€e+’ Mw’ MMW’ DG/

PLAC

 

 

 

SERVED ON (NAME) FEES AND M| LEAGE TENDERED TO W|TNESS(4)

éwymi,i'l\ ll\l\leolili'iiiar, (11111 wm DNO AMOuW 50_%<

 

 

SERVED BV TITLE

luith WL%£ 571¢1, 1011/mv x ninety

 

 

_s__T_@TEMENT oF se_nv_i_cE Fees

 

 

 

TRAVEL SERV|CES TOTAL

 

 

 

DECLARAT|ON OF SERVER(‘)

 

l declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on b“*\"'l 3 l‘ \q q(‘° Y\Qg-’~ML § - c GQJ`A,
Date Signature of Sarver
%‘£>°\ \“'l V"~ %X \\~'3 03

Addre.ss of Server

 

 

ADD|T|ONAL iNFORMAT|ON

 

 

(3) As to who may serve a subpoena and the manner of its service sea Rula 17(d), Fadarai Ruies of Criminal Procedura. or Rula 45(c), Fadarai Rulat of Clvll
Froceoure.

(4) "Feee and mileage need not be tendered to the deponent upon service of a subpoena iuuad on behalf of the United States or an officer or agency thereof
(Ruie 45(¢), Fedaral Ruias of Ciin Procedurai Ruia 17(¢), Fedarel Rulaa of Criminal Procedura) or on behalf of certain indigent partial and criminal
defendants who era unable to pay aucn ceetl ill U$C 1|2|, lula 17(b) Feoerai Ruiaa of criminal Procedura)".

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 239 of 311

 

 

Aoas(Rov.m/az) 9 SUBPOENA
, - . oisTnicT - ~ -
Ymted States Ytstrtct Court Dlstrlct Of Columbla
oocKz-:TNo.

85-033

 

_ . TVPE OF CASE
United Stat$s of America UC|VH_ @CR,MjNAL

 

$UBPOENA FOR

eor e A. Nader
G g Ei PERsoN Ei oocuiviENTisi or oBJEcTiS)

 

 

 

TO: Gwynneth M. Moolenaar

 

YOU ARE HEREBV COMMANDED to appear in the United States District Court at the place,
date, and time specified below to testify in the above-entitled case.

 

Pl-A_CE I couRTRooM
l

Honorable John Garrett
United States District Court Penn
3rd Street and Constitution Avenue
Washington, D.C.

 

DATE AND T|ME

July 22, l986
lO:OO a.m.

 

 

 

YOU ARE ALSO COMMANDED to bring with you the following document(s) or object(s): ( )
li_ _ __` " _ "_ l
|

 

ij See additional information on reverse

ThwsubpoenashaH
officer acting on behalf _

. -‘.`il"

c_t until you are granted leave to depart by the court or by an

  
  

 

    

L)..S MAG|STRATE(Z)OR CLERKO "' _, . l DATE

 

 

510aivzv~"s_r~iAi/ié`A~o`hodé`é`s"s"` "
Richard S. Hoffman

This subpoena is issued upon app|ic -»_1 _ j WilliamS & COnnOlly
“ 839 l7th Street, NW
i:] Piaintiif §§ Defendant Washington, D.C. 20006

 

 

 

ill if not anp‘ ..,abie e er “'1-"-"€ "
(2) A subpoena sn_\ii be issued by a magis'r. ate in a proceeding before him but need not be under the seal of the court. (Ruie 17(a), Federai Rules of
Criminal Procedure.)

Case 1:85-cr-OOO33-.]GP Document 10 Filed 03/08/18 Page 240 of 311

 

RETURN OF SERV|CE(a)

 

B:E::iizz i/g/ii "““ iii iii §+Mi; iii delli-iii /M

 

DATE PhACE

sERon 775‘/?(9 HO/ HH, §'éi’€.€.}i`, iii(/\)/ UH§M%D?\, DC

 

 

 

SERVED ON (NAME) FEES AND M|LEAGE TENDERED TO W|TNESS(4)

Gwyiidl\ il iiiio|~eiiiir, wit

lives CiNo AMouNTs 30 WZ*'/

 

SERVED BY T|T|_E

li)ii/Liiiii Wi%i£ §§ii§§ idiin Z~ foui\)#<,¢y

STATE_f\_/_lEN_T OF _SERV|C§_ F_F§ES

 

 

 

 

TRAVEl_ SERV|(_`ES TOTAL

 

 

 

DECLARAT|ON OF SERVER(“)

 

l declare under penalty of perjury under the laws of the United States of America that §_é foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct

Executed on §“\\i 31 \qq<'= `§L>\Q_QLQU\\L § § GQJL./x. b ’
Da re Signature of Server
%‘i>°\ \“‘1*/"~ °`>-‘< \i$\; ) <‘

Address of Server ‘

 

ADD|T|ONAL_|NFORMAT|ON `/
6

 

 

(3) As to who may serve a subpoena and tne manner of its service see Ruie 17(d), Federai Ru|es of Criminal Procedure, or Ruie 45(c), Federa| Ru|es of Clv|l
Procedure.

(4) "Fees and mileage need not be tendered to the deponent upon service of a subpoena issued on behalf of the united States or an officer or agency thereof
(Rule 45(c), Federai Ruies of Clv|| Procedure| Ruie 17(d), Federai Rulel of Criminal Procedure) or on behalf of certain indigent parties and criminal
defendants who are unable to pay men com (2| usc 1126, Ruie 17(§) Federal Ruiee of Criminal Frocedure)".

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 241 of 311

\.ITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Criminal NO. 85-33

v. JUDGE JoHN G. PENN F l L E D

GEORGE A. NADER

aa ed as el 01 ea al

iuL ii 1986

CLERK, U. S. DlSTRlCT COURT
DlSTRlCT OF COLUMB|A

GOVERNMENT MOTION FOR CONTINUANCE

 

The United States, by and through its attorney, the United
States Attorney for the District of Columbia, respectfully requests
that the trial of this case, presently set for July 22, 1986, be
continued. AS grounds for this request the United States now
says:

l. The United States has learned that an essential witness will
not be available for trial on July 22, 1986.

2. The defendant, Mr. George Nader, has waived his right to
a speedy trial, therefore, the granting of this continuance will
not infringe upon that right.

3. On July ll, 1986, counsel for the United States spoke with
counsel for Mr. Nader who stated they had no objection to a contin-
uance.

4. Mr. Nader is free in the communtiy on his personal promise
to return to Court.

5. The witness, Postal Inspector Robert Northrup, will be out
of town and away from the area as of July 21, 1986. He expects

to return on July 28.

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 242 of 311
_ 2 _

6. Inspector Northrup represents that these vacations plans
were made in advance but without his knowledge.

7. The Government would respectfully request that the trial
date currently set in the instant case be converted to a status
hearing at which the parties could select a new trial date.

8. This request for a continuance is made in good faith and

not to gain any advantage over Mr. Nader.

WHEREFORE, the United States respectfully requests that the

eubmitt;d
DIG§OVA !;
U ted States At rney
\
BY: W

RONALD DIXON
Assistant United States Attorney

trial of the instant case be continued.

Respectfull

    

 

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a copy of the foregoing was mailed postage
prepaid to the attorneys for the defendant, David Povich and Richard
S. Hoffman, 839 Seventeeth Street, N ., Washington, D . 20006,

 

this [‘f' day of July, 1986. ~
RoNALD 131on

Assistant United States
Judiciary Center, Room 5154
555 Fourth Street, N.W.
Washington, D.C. 2000l
(202) 272-9078

LAW OFF|CES
W|LL|AMS h CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C. 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 243 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America

George A. Nader

FILE D
UUL151986

_CLERK, U.S. D|STR|CT COURT
DlSTR|CT OF COLUMBIA

Criminal No. 8500033
Judge John Garrett Penn

vvvvvvvv

 

SUPPLEMENTAL PROPOSED JURY INSTRUCTION

Defendant respectfully requests that the Court include

the attached additional proposed jury instruction.

Dated: July l5, l986

Respectfully submitted,

WILLIAMS & CONNOLLY

h ,

    

By:

~ .\_ iiiiii>
David Povlch lj\
Richard S. Hoffm di
839 l7th Street, N:W.

Washington, D.C. 20006
(202) 331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 244 of 311

DEFENDANT'S PROPOSED JURY INSTRUCTION NO. 9

Even though the material defendant is charged with
mailing and importing is obscene, and the defendant has so
agreed, I instruct you that it is not a crime for a person to
have this material in his or her home for their personal

possession.

Stanley v. Georgia, 394 U.S. 557 (1969).

Granted

Denied

LAw oFFlcEs
wlLLlAMS ar CONNOLLY
HlLL suiLoiNG
wAsHiNGToN, b c. 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 245 of 311

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing
Supplemental Proposed Jury Instruction was mailed by first-class
mail, postage prepaid, on July 15, 1986 to Ronald Dixon,

Assistant United States Attorney, 555 4th Street, N.W.,

Washington, D.C. 20001.

Millin Li§“§iiiil

Richard S. Hoffman

L/

LAW oFFicEs
w|LLlAMS a CONNOLLY
HlLL aulLDiNG
wAsHiNGToN. D c. 20006

 

AREA CODE 202
331-5000

LAW OFF|CES
WlLL|AMS k CONNOLL¥
HlLL lUlLD|NG
WASN|NGTON. D C 20006

 

AREA CODJl 202
33|'!

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 246 of 311

FIL`ED

i` 03
UNITED sTATEs DISTRICT coURT ‘JUL 3=41985

FoR THE DISTRICT oF coLUi~/iBIACLERK’U_S_Dlm\CT COURT

bisTRicT oi= coLuiviBiA

UNITED STATES OF AMERICA, ]
]
v. ) Criminal No. 85-00033

) Judge John Garrett Penn
GEORGE A. NADER , )
)
Defendant. )
)

 

MOTION IN LIMINE REGARDING USE OF THE SEIZED MATERIAL

 

Defendant, George A. Nader, by and through his
undersigned counsel, hereby moves this Court pursuant to Rule 403
of the Federal Rules of Evidence for an order limiting, in the
manner set forth below, the government's use of the magazines and
film contained in the envelope that is the subject of this
prosecution.

The grounds for this motion are:

l. The defendant has offered to stipulate, and will
concede at trial, that the envelope contains obscene material
involving minors committing sexual acts.

2. The government has refused to accept this
stipulation and intends to display this material notwithstanding
that obscenity will not be a factual issue.

3. The material itself is so patently offensive that
there is a substantial risk that the jury may convict the

defendant based upon emotion for being the recipient of such

LAW °FFICES
WILL|AM$ h CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 247 of 311

ir l it,J i" i"‘i
".iiii` 2 ?’ i€iiiii

mcrcOURT
MMA

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA Cl_ERK,U.S.DlSi
p\sTRicT Oi GOL-U

UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

V .
GEORGE A. NADER,

Defendant.

v`.¢v`./\_/`_/V`_¢

 

MEMORANDUM IN SUPPORT OF
DEFENDANT'S MOTION m LIMINE
REGARDING USE OF THE MATERIALS
IN THE CONTROLLED DELIVERY PACKAGE
The material contained in the envelope that forms the

basis for this indictment consists of six magazines, a film, a
film box cover and two loose photographs, Defendant has offered
to stipulate, and will concede at trial even without a
stipulation, that material in the envelope is legally obscene.
The government has refused to accept such a stipulation unless
defendant will also agree that the government may display the
material in whatever manner it wishes to the jury.l We submit
that unrestricted display of the obscene publications contained
in the envelope amounts to the needless presentation of
cumulative evidence on an uncontested issue that will seriously
prejudice the defendant. Accordingly, defendant offers the

alternative that the materials be admitted in a sealed condition

l/ The government requested that defendant stipulate the
magazines include depiction of children under the age of
majority. Defendant has agreed to so stipulate.

LAW OFF|CES
WlLLlAMS l CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D.C. 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 248 of 311

as a method of fully advising the jury of the nature of the
material involved in this case while diminishing the risk that
defendant will be convicted merely because the jury finds the
material offensive, without regard to the issues of mailing and
bringing the material into the U.S. that are the proper focus of

this trial.

ARGUMENT
Although it is generally the rule that the defendant
cannot force the government to accept a stipulation, United
States v. Sampol, 636 F.2d 621, 679 (D.C. Cir. l980); United

States v. Cockerham, 476 F.2d 542, 545 (D.C. Cir. 1973), neither

 

can the government by refusing to accept a stipulation on an
uncontested issue thereby guarantee that it can present whatever
evidence it wants on the subject. United States v. Sampol, 636

F.2d at 680; United States v. Mohel, 604 F.2d 748, 752-54 (2d

 

Cir. 1979); United States v. GraSSi, 602 F.2d 1192, 1197 (5th

Cir. 1979), vacated on other grounds, 448 U.S. 902 (1980), aff'd

 

on remand, 626 F.2d 444 (5th Cir. 1980), cert. denied, 450 U.S.
956 (1981),

The admissibility of evidence is always subject to the
limitations of Fed. R. Evid. 403, permitting the court to exclude
even relevant evidence where its probative value is outweighed by
its unfair prejudicial effect, confusion of issues, undue delay
or needless presentation of cumulative evidence. The proper

application of Rule 403 where the defendant has offered to

LAW OFF|CES
WlLLlAMS k CONNOLLV
HlLL BU|LD|NG
WA$H|NGTON, 0 C. 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 249 of 311

stipulate to an issue was stated in United States v. Grassi, 602

 

F.2d at 1197:

In formulating a rule for the application of
Rule 403 in instances in which a stipulation
is offered, we reject any per se approach.

See Notes of Advisory Committee on Proposed
Federal Rules of Evidence, 28 U.S.C.A. Rule
404 at 109. Rather, as is the case with other
applications of Rule 403, determining the
weight to be given an offer to stipulate in
the balancing process is committed to the
sound discretion of the trial court, tempered
by the particular facts presented. . . . This
discretion should be exercised to so balance
probity against prejudice that the trial is
fundamentally fair. In achieving this
balance, the court has the power to require
the government to accept a tendered
stipulation in whole or in part as well as to
permit it to reject the offer to stipulate in
its entirety.

Essentially the same test has been stated in this
Circuit. In Cockerham, the appellate court stated that although
the decision to admit the government's evidence on a stipulated
issue was not reversible error, the district court had the power
to exclude or limit the evidence and "the advisability of
permitting certain testimony may be in doubt." 476 F.2d at

545. Similarly, in United States v. Sampol, the court stated

 

that the district judge "wisely limited the number of witnesses
and type of proof that would be admitted" to prove an uncontested
issue. 636 F.2d at 680. In Sampo , defendants offered to
stipulate that the murder victims were killed by a car bomb
explosion. The court permitted the government to put on evidence
of eyewitnesses to the explosion and medical examiners who

performed autopsies on the victims. This evidence was necessary

LAW OFF|CES
W|LL|AMS h CONNOLLY
H|Ll. BU|LD|NG
WASH|NGTON. D.C. 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 250 of 311

for the government to prove deliberation and premeditation --
issues not reached by defendant's proposed stipulation,
Nevertheless, the district court severely limited the number of
witnesses (only one) and use of photographs (only four of ten,
and excluding photos of the victims). ld.

This court should restrict the government's use of the
materials contained in the envelope, Defendant proposes that the
magazines be presented to the jury in a sealed (taped)
condition. The covers and titles of the magazines themselves
reveal the nature of the contents and the pictures are
representative of what is contained inside. There is no doubt
that receiving the magazines as evidence and an instruction that
the materials are obscene will provide the jury with a complete
understanding of what is at issue in this case.

Unrestricted display and access of the seized material
threatens the defendant with substantial unfair prejudice.
Unlike the murder scene in Sampol, the pictures in this case are
not relevant to any issue but the obscenity question. The
contested issue in this case is whether it was the defendant who
mailed and/or brought the material into the United States,
However, the material seized is so offensive that there is a
substantial risk that a jury might convict defendant for merely
being the addressee of the material or because the material was
seized from his home, even though the possession of obscene
material in the home is not an offense under the statute and is

protected by the Constitution. Stanley v. Georgia, 394 U.S. 557

 

LAW OFF|CE$
W|LL|AMS h CONN°LLY
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 251 of 311

(1969). This is precisely the type of "unfair prejudice" Rule
403 seeks to prevent -- "an undue tendency to suggest [a]
decision on an improper basis, commonly, though not necessarily,

an emotional one." United States v. Grassi, 602 F.2d at ll97,

 

quoting Notes of the Advisory Committee on Proposed Federal Rules
of Evidence, 28 U.S.C.A. Rule 403 at 102.2/

For that reason courts have been especially reluctant to
permit the government to introduce evidence on an uncontested

issue that also tends to suggest an improper basis for

decision. In United States v. Mohel, 604 F.2d 748, 754 (2d Cir.

 

1979), the Second Circuit held it was reversible error to admit
other crimes evidence where the defendant offered to stipulate on
the issue of intent: "Given the dangerous prejudicial value of
other-crime evidence, we cannot agree that the Government, by
evading an unequivocal offer to stipulate, may create an issue as
to intent and knowledge for the purpose of admitting the objected

to evidence."' Accord United States v. Figueroa, 6l8 F.2d 934,

 

942-43 (2d Cir. l980) (reversible error not to consider

2/ Moreover, since there is only one count each of mailing and
importing -- applying to the same envelope -- the
presentation of six magazines and a film is overkill, having
no additional probative value and designed to inflame the
jury for the maximum prejudicial effect.

LAW OFF|CE$
WlLLlAMS h CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C. 20006

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 252 of 311

3
prejudicial effect of admitting proof on uncontested issue).`/

So, too, here, unfettered display and testimony regarding the
obscene material is not relevant to any contested issue; its sole
purpose is to so offend the jury that they punish defendant
merely for his association with it, without regard to the
elements of the offense.

By properly limiting the government's use of the seized
material -- permitting the magazines themselves to be admitted
into evidence and displayed to the jury in a taped condition, the
Court can insure the government's desire to present its case
while at the same time taking steps to protect the defendant from
a verdict based upon emotion rather than the legal and factual
questions at issue in this trial.

Respectfully submitted,

WILLI & CONNOLLY

     

By: ' __ v /
David Povich al
Richard S. Hoff n
839 Seventeenth Street, N.W.

Washington, D.C. 20006
(202) 331-5000

Dated: July 22, 1986

3/ An issue becomes uncontested where, as here, the defendant
has unequivocally offered to stipulate and effectively
removed the issue from the trial. United States v. Mohel,
604 F.2d at 754. Indeed, the defendant in this case has
submitted jury instructions that remove the obscenity issue
from the jury's consideration by instructing them that
obscenity has been established.

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 253 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

vi
GEORGE A. NADER,

Defendant.

vvv`_a`_¢\_r`_/v

 

PROPOSED STIPULATION

Defendant, George A. Nader, by and through counsel, and
the United States, by and through the Assistant United States i
Attorney, hereby stipulate that material contained in the
envelope marked as exhibit ___, that forms the basis for this
indictment, contains pictures of minors committing sexual acts

and is obscene.

 

Dated: July , l986
David Povich
Attorney for Defendant
George A. Nader
Dated: July , 1986

 

Ronald Dixon
Assistant United States Attorney

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 254 of 311

CERTIFICATE OF SERVICE

 

I hereby certify that the foregoing Motion in Limine
Regarding Use of the Seized Material and Memorandum in Support
was delivered by hand on July 22, 1986 to Ronald Dixon, Assistant
United States Attorney, 555 4th Street, N.W., Washington, D.C.

20001.

 

 

' int
ij

\.Aw oFFicEs
wlLLlAMs a CONNOLLY
HlLL suii.DiNG
wAsHlNGToN, o.c. zoooa

 

AREA CODE 202
331-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 255 of 311

UNITED STATES DISTRICT COURT

ron THE DISTRICT OF cOLUiviBIA F! !.. ii D
UNITED sTATES or AMERICA : cRIMINAL No. 535-53 jUL 341986
V_ : JUDGE JOHN G- PENNU£RNUs.mOmmTcoMU

DmrmcroFcoLuMmA
GEORGE NADER

OPPOSITION TO MOTION IN LIMINE

 

The United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, submits
the following memorandum in opposition to the defendant's motion
in limine.

l. The defendant, Mr. George Nader, moves this Court to
force the Government to enter a stipulation or in the alternative
to limit the evidence it can produce. We disagree.

2. Simply' stated, the United States, per se, cannot be
forced to accept a stipulation of fact advanced by a defendant,

United States v. Cockerham, 476 F.2d 542, 545 (D.C. Cir. 1975)

 

(Government can ignore stipulation and present evidence to rebut

defense theory and show that person charged is guilty); however,
the United States cannot take unfair advantage of a defendant
and present relevant but patently prejudicial evidence, Fed. R.
Evid. 403.

5. In our Circuit Cockerham, §§p£a, is quite clear and we
submit allows the United States to forego a stipulation and pro-
ceed with its evidence. The Government can strike hard, fair,
blows with its evidence and avoid tactical maneuvers by the dee
fense that are calculated to dilute the force of its proof.

United states v. samgoi, 656 F.2d 621, 679 (D.c. cir. 1980).

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 256 of 311

4. Mr. Nader relies upon United States v. Mohel, 604 F.2d

 

748, 752-54 (2nd cir. 1979) (factuaiiy dissimilar from the case
at bar because it involves prejudicial other crimes evidence
which was used to show' intent and knowledge) to support; his
implication that the Government should be forced to accept his
stipulation. However, in Mgh§l the defendant was attempting,
by stipulation, to limit the Government to the main offense and
keep out evidence that corrobrated that offense and its sole
witness. Here, the only issues are whether Mr. Nader caused
material that was obscene to be imported into the United States.

The controlled delivery and its contents as well as Mr.
Nader's statements about the controlled delivery clearly show
he ordered the items, he expected then to arrive and he knew
what they contained.

5. In §nited States v. Grassi, 602 F.2d 1192, (5th Cir.
1979) the Court of Appeals lays out an excellent analysis of
the balancing process of keeping to a minimum unfair prejudice
by having parties stipulate. That Court went on to find, in an
obscenity case quite similar to the case at bar, the prosecution
has a duty to prove obscenity and can do so even when the
defendant moves to stipulate to that fact. Indeed, in order
for Mr. Nader to prevail he must show unfair prejudice from the
books and magazines. What Mr. Nader has succeded in showing is

is that the Governments evidence is detrimental to his case.

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 257 of 311

_z_

Mr. Nader intends to claim that since the controlled delivery
was in the hallway of this landlord's hgm§ its possession is
lawful because it was for his personal consumption. However,
he ignores the fact that the Government must prove he ordered
it, and caused it to be imported.

We submit that the Government can reject Mr. Nader's stip-
ulation in whole or in part and submit to the jury, for its
review, unsealed, the evidence in this case. Mr. Nader cannot
have it both ways.

WHEREFORE, the United States submits that the defendant's
motion should be denied.

Respectfully,
55
. DIGENOVA 'J
HSTATES AT

  
 

 

 

RONALD DIXON
ASSISTANT UNITED STATES ATTORNEY

CERTIFICATE OF SERVICE

 

1 HEREBY CERTIFY, that a copy of the foregoing motion has
been mailed to counsels for the defendant, David Povich, Esquire,
and Richard Hoffman, Esquire, Williams and C nnolly `859 17th
Street, N.W., Washington, D.C. 0006, on is 2 t day of
July, 1986.

     

 

HUNKBD DIXUN*_
ASSISTANT UNITED STATES ATTORNEY

/

_i'

._-/

di

¢.

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 258 of 311

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

uNITED sTATEs or AMERICA : criminal case No. 85-33
v. : JUDGE JoHN G. PENN FH E D
GEORGE A. NADER :
JUL 2 4 1995
OPPOSITION TO MOTION TO STRIKE mfRKUs.m$ancoww
PREJUDICIAL sURPLUSAcE IN INDICTMENT D'STR‘CTOFCOLUMBiA

 

The United States of America, by its Attorney, the United
States Attorney for the District of Columbia, respectfully opposes
defendant's motion to Strike Prejudicial Surplusage in the Indictment
and states as a basis for its opposition the following:

1. Between on or about March 27, 1984, and on or about April
12, 1984, the defendant George A. Nader, caused obscene material to
be imported into the United States,

2. That obscene material depicted children under the age of
18 in various states of undress and performing Sexual acts.

3. The two count indictment returned against Mr. Nader contains
the phrase, "Commonly Known as Child Pronography," which is used to
further explicate his alleged violation of 18 U.S.C. 1461 and l462.
An information or indictment is requred to perform inw> primary

functions: it Should sufficiently apprise the accused of the charge

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 259 of 311

against him so that he might properly prepare his defense, and it
should spell out the offense clearly enough to enable him to plead
the judgment, whether conviction or acquittal, as a bar in the
event of a subsequent prosecution for the same crime. Russell v.

United States, 369 U.S. 749 (1962); Powers v. United States, 75

 

U.S. App. D.C. 371, 128 F.2d 300 (1942). Clearly, the indictment
in its present form, informs Mr. Nader of the charges against him.
The phrase in question does not blur any other issue presented but
instead goes far in clarifying the allegations.

4. If the language in the indictment is information which the
government hopes to properly prove at trial, it cannot be considered
Surplusage no matter how prejudicial it may be (provided it is

legally relevant). United States v. Climatempt, Inc., 482 F.

 

Supp. 376, 391 (N.D. Ill. 1979).

5. A motion to strike surplusage from an indictment should be
granted gnly where ii; is gl§a£ that the allegations contained
therein are not relevant to the charge made or contain inflamatory

and prejudicial language. Darnow v. United States, 307 F.2d 545,

 

558 (8th Cir. 1962).

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 260 of 311

WHEREFORE, the United States submits that the defendant's

motion should be denied. l D
Respe tfully subi§ttei , 9 :
JOSEP GE O

 
   

UNITB 'hS A' ORNEY

By, 'Mi’"

RONALD DIXON
ASSISTANT UNITED STATES ATTORNEY

  

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been mailed
with postage prepaid to counsel for defendant, David Povich,
Esquire and Richard Hoffman, Esquire, Williams and Connolly, 839

_ 17th Street, N.W., Washingtthis day of July,
1986. 551 q

RONALD DIXON
ASSISTANT UNITED STATES ATTORNEY

 

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 261 of 311

F l E E D
UNITED STATES DISTRICT c_o,URT;~,_ - ij
FoR THE DISTRICT or coLUMBIprUi_ 2“51985

CLERK, U.S. DlSTRlCT COURT
DlSTRlCT OF COLU|V|B|A
UNITED STATES OF AMERICA,

Criminal No. 85-00033

)

)

v. )
) Judge John Garrett Penn
)
l
1
J

GEORGE A. NADER,

Defendant.

 

DEFENDANT'S PROPOSED VOIR DIRE

 

Defendant, George A. Nader, respectfully requests that
the Court ask the voir dire questions below to prospective jurors
on an individual basis out of the presence of other prospective
jurors. Counsel also request that they be permitted to ask
follow-up questions to individual prospective jurors subject to
the Court's discretion,

1. Are you married? How many children do you have?
Grandchildren? What are their ages?

2. What schools or colleges did you attend or are you
attending? What degree or diplomas have you received? What was
your college major or specialization?

3. What is your occupation? Where are you employed?
What is your title? What is your spouse's occupation, place of
y business, and title?

4. Are you in any way in the business of publishing,

Mwo#w“ editing, manufacturing, or selling books, magazines, or
WILL|AMS h CONNOLL¥

HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33|~5000

LAW OFF|CES
WlLLlAMS h CONNOLLY
HlLL BU|LD|NG
WASH|NGTON. 0 C 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 262 of 311

newspapers? Is any member of your family or close friend in such
a business or do they have such an occupation?

5. Are you, or any member of your family or close
friend, employed by or connected with the police department or
any other law enforcement agency? Are you, or any member of your
family or close friend, employed by a government or government
agency? If so, which ones? Are you or any such friends or
relatives employed by the Post Office Department or the Customs
Service?

6. Are you or have you been a member of an
organization whose purpose is to encourage more vigorous
enforcement of the obscenity laws, or to eliminate objectionable
books, magazines, motion pictures, or television programs?

7. Are you a member of a church or synagogue? How
often do you attend services? How often do you attend meetings
of other groups related in some way to your church or synagogue?

8. Are you a member of a religious faith whose
doctrines prohibit the seeing of certain movies or the reading of
certain books depending on their treatment of sex?

9. What newspapers or magazines do you have
subscriptions to? How many books per year would you say you
read? Can you remember the last book you read?

10. Do you feel that there is too much sex in movies

today? In books and magazines? On television?

LAW OFF|CES
WlLLlAMS & CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 263 of 311

11. Are you or would you be offended by portrayal of a
sexual act in a motion picture? On the stage? ln a book or
magazine?

12. Are you offended by nudity in movies? In
magazines?

13. Does the idea of sexual acts other than sexual
intercourse offend you?

14. Does the idea of oral sex offend you?

15. Does the idea of homosexuality offend you?

16. Does the idea of masturbation offend you?

17. Do you feel you could see a motion picture, or a
magazine, which contained depictions of those things which
offended you, and still look at it with an open mind? Do you
feel that you could accept the idea that it is not illegal to
possess something which offends and disgusts you personally? Are
you willing to base your judgment on the evidence you see and
hear, and the instructions from the court, without regard for
your personal tastes or opinions regarding the materials you will
see?

18. Do you believe that adults should be able to see or
read whatever they want, regardless of sexual content?

19. Do you have a personal opinion of people who
receive or read books or movies about sex? What is that opinion?

20. Obscenity cases and obscenity law are frequently in
the news. Have you read any of these news stories? Have you

read about or are you familiar with the recently published

 

LAW OFF|CES
WlLLlAMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33 l -5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 264 of 311

Attorney General's Commission on Pornography? What are your
views regarding the Commission's report or what you have heard
about it?

21. In the course of this trial, you are going to be
required to see sexually explicit magazines which are part of
this case. On account of this, or the nature of this case, would
you rather not act as a juror in this case? Is there any other
reason any of you would prefer not to be a juror in this case?

22. Do you believe that consenting adults should be
able to participate in whatever sexual acts they wish?

23. In your opinion, should homosexuality be legal or
illegal?

24. Do you feel that laws should promote the moral
codes of our society?

25. Do you consider your views about sex to be about
the same as most people's, more conservative, or more liberal?

26. The Supreme Court has ruled that the Constitution
permits people in this country to read whatever material they
want in the privacy of their own home, even obscene material.
Can you accept that instruction and make a determination in this
case based on the facts and the legal instructions that l will
give you.

27. It is possible that the defendant may not testify
in this case. As a juror you are not to draw any inferences or

conclusions if the defendant does not testify. Can you abide by

LAW OFF|CE$
WlLLlAMS a CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D.C. 20006

 

AREA CODE 202
33|-5000

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 265 of 311

this rule, or do you feel you will hold it against the defendant

if he does not testify?

Dated:

Respectfully submitted,

wILLIAMs" * consist 1

iii/tic ii

David Povich `j
Richard S. Hoffmdm f

   

By:

 

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

July 25, 1986

CaSe 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 266 of 311

CERTIFICATE OF SERVICE

 

i I hereby certify that a true and correct copy of the
foregoing Defendant's Proposed Voir Dire was delivered by hand on
July 25, 1986, to Ronald Dixon, Assistant United States Attorney,

i§$$ 4th Street, N.W., Washington, D.C. 20001.

 

 

LAW oFFicEs
wILLlAMS a CCNNOLL¥
HlLL BuiLDlNG
wasHiNsror-i. b c goode

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 267 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V .
GEORGE A. NADER Criminal No. 85-33

Judge John G. Penn

'\-._-¢\-_/‘~._r ~.__»

GOVERNMENT'S PROPOSED VOIR
DIRE QUESTIONS

 

The United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, res-
pectfully submits the following as its proposed voir dire
questions:

1. Do any members of the prospective jury panel believe
you could not return a fair and impartial verdict in a case in-
volving what is commonly known as pornography?

2. D0 any members of the prospective jury panel believe
that you could not return a fair and impartial verdict in a case
involving pornography that depicts children under the age of
18 having sex (oral sex and anal)?

3. Do any members of the prospective jury panel believe
that a person who possesses child pornography has a right to
cause such pornography to be brought into the United States
for his personal use?

4. Do any members of the prospective jury panel believe

that the law goes to far in regulating pornography?

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 268 of 311

5. Do any members of the prospective jury panel belong
to groups that advocate the banning of all pornography?

6. Do any members of the prospective jury panel belong
to groups that advocate the repeal of all pornography laws?

7. Would any member of the prospective jury panel feel
uncomfortable if you as a member of this jury were called upon

to view any evidence to determine if it is pornographic? 111

Re ctfu})l£ksu?ttedl
ao E` UIGEN A` ---'

Un ed S ates Attorney

LAW

Ronald Dixon '

Assistant United States Attorney
500 Indiana Avenue N.W.
Washington D.C. 20001

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing was mailed
postage prepaid to the attorneys for the defendant, David Povich

and Richard S. Hoffman, 839 Seventeeth Stree , N.W Washington
D.C. 20006, this l-f _ day of uly, 198
l

Ronald Dixon

Assistant United States Attorney
500 Indiana Avenue N.W.
washington D.C. 20001

202 272-8046

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 269 of 311

FRAEC|PE

United States District Court
fur the District of Columbia

r.\,f\

.lllL 1110 i§l`i',)
28th Jul 86
the __________________ day of """""" 21 ______________________ Clif?:'j"_\'l”{r;_;';_ j',`, ~ \; '.:` (_`.’,`URT
(M~‘ik`lll\';,,`;' L,~ C'c`/_L'.\ '.."`:A
United States of America
Qj;lgg'l/Criminal
vs' Action No. ___§§SQ_QQ§§ ______

The €§lerl¢wf zant court will ____v_e'L_t_hf_lyel_v;_§b_e_a;r)p_e_a_r_ar_l<_:e_Q_f__G_vz>;eIle§l_‘l_!i_-_.1‘4_0_0_1<21_1ea_r_¢'=z_S_q
____cop_n_s_el_ _£Q;_ ;b_e_ _cleter_lc_ie;l_t_.___l\ls_;_Mo.c>_l_e_n§a_r_p_al _lze_`§_e§_t_i_f_‘>'_i_ee_e§_e_ y_i_§ee§§_§p_d _____
_____ ppx_euar;;_;Q_D_R_S_-_I_QZ_-§ile_s_-.t_hi_§_r_lo_t_i_c_e_._@_f__w_i_§h§;ay§_l_-___§Qh§.§_i_t_u_t_e T<;<21_1;1§§,1_,__12~€1_\11§_

_ _ _ _ .P_O_\Li_<.;h _ aod_ _R_i_c;h_a; <_1_ §_~_ ._H_O_f_f_mar_l_. _l/l_i_l.l_i_ar_n_S_ _81 _QQI_lDQ_l_l_V_,_ _`Qe‘£§_ §_1_1“9_€11_@>1 _<§f_l § §I§ii_ _t_h§il_‘ _ -

____.a_p_Rearan_c_e_ _f_O_r; __th Q_ slei_e_rular_l;s ______________________________________________________

 

Attorney for §§9§§§_§_3_‘1_§§ ____________________

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 270 05316;@

UNITED sTATES DISTRICT coURT . __
FoR THE DISTRICT oF coLUl~aBr.l\.£._ll '
UNITED sTATEs oF AMERICA, "*

Criminal No. 85-00033
Judge John Garrett Penn

V.
GEORGE A. NADER,

Defendant.

Vv`/V`_/`_/vv

 

MOTION TO EXCLUDE EVIDENCE

 

Defendant, George A. Nader, by and through his`§

)
undersigned counsel, hereby moves this Court pursuant to“Pules

402, 403 and 404 of the Federal Rules of Evidence for anworder
excluding any and all statements of defendant concerning
ownership of magazines and other materials unlawfully seized from
defendant's residence by the government, and previously
suppressed by this Court.

The grounds for this motion are:

l. Any statements by defendant concerning his
ownership or ordering of the magazines and other materials
unlawfully seized are not relevant to this case and do not serve
to show motive, opportunity, intent, preparation, plan,
knowledge, identity, or absence of mistake or accident on the
part of defendant. Thus, any such statements are not admissible
under Fed. R. Evid. 402 or 404.

2. Even if found to be sufficiently relevant to this

LAW OFF|CES

wquw&comwux case, the unfair prejudice and a confusion of issues that would

HlLL BU|LD|NG
WASH|NGTON. D C. 20006

result from admitting such statements will substantially outweigh

 

AREA CODE 202
331-5000

\/

LAw oFFlcEs
wILLlAM$ a CONNOLLV
HlLL sulLolNG
wAsHlNG'roN, o c 20005

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 271 of 311

any probative value the statements may have. Therefore the
evidence must be excluded under Fed. R. Evid. 403.

In support of this motion, defendant relies on the
Federal Rules of Evidence cited above, the memorandum of law
attached hereto, and the arguments of counsel and evidence

produced at any hearing ordered by the Court.

Respectfully submitted,

WILLI § & C/,`.QNNOLLY

g

 
   
    

By: `| n ' __ *--.
David Povich
Richard S. Hoff `n/

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Dated: July ll, 1986

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 272 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

V .
GEORGE A. NADER,

Defendant.

 

MEMORANDUM OF LAW IN SUPPORT
OF MOTION TO EXCLUDE EVIDENCE

 

This memorandum is submitted in support of defendant's
motion to exclude from evidence in this trial any statements
allegedly made by defendant concerning magazines and other
materials that, as the Court has found previously, were
unlawfully seized from defendant's residence by government

agents.

w

Defendant submits that the facts necessary to determine
that the alleged statements must be excluded are not in dispute,

These statements are claimed to have been made at an
interview with Customs agents where defendant was confronted with
all the materials previously Seized from his residence. In a
previous order, this Court determined that the search that
resulted in the seizure of these materials was in violation of
defendant's fourth amendment rights and thus that the evidence

LAW OFF|CES

quMsacmmouy Seized during this search, except for the six items described

HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

with particularity in the search warrant, was to be suppressed.

AREA CODE 202
33|-5000

LAW OFF|CES
WILL|AMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 273 of 311

During the interview with Customs agents, statements
were allegedly elicited from defendant concerning both the
contents of the envelope that remains admissible in this trial,
and how he came to possess the materials which the Court has
suppressed. It is this latter group of statements which the
defendant now seeks to have excluded from this trial.

l. Defendant's Statements Concerning

Materials Unlawfully Seized Are
Not Relevant in this Case.

 

Pursuant to Fed. R. Evid. 402, evidence that is not
relevant is not admissible. The evidence the prosecution will
seek to introduce here, statements allegedly made by defendant
concerning magazines illegally seized from his residence by the
government that are not part of the indictment, have absolutely
no bearing on the specific issues in this case: whether the
defendant knowingly used the mails for the mailing of non-
mailable matter, Indictment at l (l8 U.S.C. § 1461), or whether
he knowingly brought into the United States certain
non-importable matter. ld; at 2 (18 U.S.C. § l462). In short,
whether the defendant stated that he owned, possessed, or ordered
these other materials does not tend to show that it is more
probable or less probable that defendant knowingly used the mails
or knowingly brought into the United States the envelope that is
the subject of this prosecution.

It is expected that the prosecution will attempt to

introduce the alleged statements under authority of Fed. R. Evid.

LAW OFF|CES
W|LL|AM$ a CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 274 of 311

404(b). That rule provides that "[e]vidence of other crimes,
wrongs, or acts . . . may . . . be admissible for

purposes[] such as proof of motive, opportunity, intent,
preparation, plan, knowledge, identity, or absence of mistake or
accident." Fed. R. Evid. 404(b). As such, Rule 404(b) is a

"specialized rule of relevancy." United States v. Moore, 732

 

F.2d 983, 987 (D.C. Cir. 1984). Here it is presumed that the
government will attempt to show that these statements prove that
the defendant knowingly used the mails to obtain the materials
involved here or that he knowingly brought them into this
country.

lt is well established, however, that when a prior bad
act is relied upon "to prove intent or knowledge, similarity
between the two events must be shown to establish the threshold
requirement of relevance." United States v. Foskey, 636 F.2d
517, 524 (D.C. Cir. 1980) (citation omitted); see also United

States v. Gustafson, 728 F.2d 1078, 1083 (8th Cir. 1984), cert.

 

denied, 105 S.Ct. 380 (1984) ("evidence must relate to wrongdoing
'similar in kind and reasonably close in time to the charge at
trial'") (citation omitted). Moreover, where the evidence
offered is intended to show defendant's degree of intent, "the
extrinsic offense requires the same intent as the charged
offense." United States v. Mitchell, 666 F.2d 1385, 1389 (llth
Cir.), §e£§; denied, 457 U.S. 1124 (1982). In sum, when
introduced on the issue of defendant's meg§ £§a, other acts of

evidence cannot be considered relevant and is thus inadmissible,

LAW oFFlcEs
WlLLlAMS d CONNOLLY
HlLL aulLDlNG
wAsHlNGYoN, D c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 275 of 311

whenever the extrinsic act "is dissimilar from the crime for
which defendant [is] on trial with respect to precisely the
relevant element -- intent." §§§key, 636 F.2d at 524.

In this case, the fact that defendant allegedly admitted
that he owned or ordered various magazines and other materials
illegally seized by the government does not at all establish that
he knowingly used the mails or brought into the U.S. obscene
materials as proscribed by federal law. As a consequence of the
Court's earlier ruling suppressing the actual materials, all the
government may now attempt to introduce into evidence in this
case are defendant's alleged statements that he owned or ordered
various magazines and other materials. The prosecution may not,
of course, attempt to describe the materials that elicited these
alleged statements by defendant, because to do so would be to
introduce into this trial the exact evidence which the court has
properly suppressed. Without doubt, if the fourth amendment
requires the suppression of these materials themselves, then the
prosecution can not attempt to circumvent its mandate by placing
a description of the materials before the jury.l/ Nor can the
prosecution make a blanket characterization of the materials as

obscene, because defendant does not concede obscenity of the

1/ The statements attributed to the defendant do got include
oral descriptions of the content of the magazines or films,
only that he owned or ordered the material illegally seized
by the government and the manner in which he became familiar
with the availability of such material from Holland. Thus,
the statements do not provide a means for determining
whether the magazines were obscene.

LAW OFF|CE$
WILL|AMS d CONNOLLV
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 276 of 311

suppressed material and the magazines are not themselves
available for the jury to review.g/

Thus, the prosecution is reduced to using no more than
defendant's statements regarding his ownership or ordering of
various undescribed materials. These statements would offer the
jury no guidance whatsoever on defendant's knowledge or intent to
transport obscene materials or to use the mails to obtain such
matter. For this reason, the alleged statements are not the
least bit relevant and should not be admitted into evidence.

See, e.g., United States v. Chilcote, 724 F.2d 1498, 1501-02
(llth Cir. 1984) (defendant charged with conspiracy to import and
distribute cocaine; court excludes defendant's statement that he
had once before flown plane to Columbia and back because, without
evidence indicating purpose of trip, "it cannot be determined
that his intent in making the trip was the same as his intent in
committing the offenses involved [here] and, therefore, it cannot
be determined that the extrinsic act evidence was relevant to the

issue of appellant's intent. Failing this initial hurdle . .

2/ For the same reasons, the government also must not be

permitted to reveal that it seized these materials or that
the materials were in the possession of the government when
defendant's statements were elicited. If the government
were permitted to reveal this information, defendant would
be irreparably injured by the innuendo that the materials
were obscene or otherwise illegal, thus warranting seizure
by the government. Permitting the government to reveal this
information would also permit it to benefit directly from
its unlawful search and seizure.

LAW OFF|CES
WILL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20005

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 277 of 311

the evidence was inadmissible under Rule 404(b).), cert. denied,
467 U.s. 1218 (1984).

Exclusion of these alleged statements is also proper
because the District of Columbia Circuit has established that
"the relevancy of other bad acts is contingent upon whether the

other acts actually occurred," United States v. Lavelle, 751 F.2d

 

1266, 1276 (D.C. Cir. 1985), Cert. denied, 106 S.Ct. 62 (1985),
and to so demonstrate the government is required to present
"clear and convincing proof to support a jury finding that the

bad act alleged in fact occurred." Id. See also Moore, 732 F.2d

 

983, 988 (D.C. Cir. 1984) (same). Defendant's alleged statements
alone, free of government characterization of the suppressed
materials, could never support a verdict that defendant had
imported or used the mails to acquire obscene material. Even if
the government were permitted to characterize the material, it is
highly unlikely that this standard requiring clear and convincing
proof of defendant's other acts could be met by an uncorroborated
admission by the defendant to a "bad act." Bowles v. United
States, 439 F.2d 536, 544 n.8 (D.C. Cir. l970)(Bazelon,
dissenting); SCarbeck v. United States, 317 F.2d 546, 565 (D.C.

Cir. 1963); Cf. United States v. Engleman, 648 F.2d 473, 479

 

(8th Cir. 1981) (proof of defendant's involvement in other bad
acts is sufficient because it consists of defendant's admissions
"which are corroborated by other evidence").

Finally, before other bad acts evidence may be admitted,

it is also necessary to show that such acts have occurred in

LAW OFF|CE$
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WA$H|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 278 of 311

essentially the same time period. §§e §99£§, 732 F.2d at 988;
Gustafson, 728 F.2d at 1083; Foskey, 636 F.2d at 524; §§me§, 555
F.2d at 1000. Yet there is no indication whatsoever that
defendant came into possession, or especially that he mailed or
imported, the other materials which were the subject of his
purported statements at any time close to the time it is that he
allegedly committed the acts which are the subject of this
prosecution.

At bottom, admission of the alleged statements of
defendant here, without government embellishment as to the nature
of the suppressed materials, would amount to no more than a
transparent effort to suggest to the jury that defendant may have
been involved in previous episodes of mailing or importing
materials proscribed by federal law. But it is settled law that
"evidence of other crimes is inadmissible to show criminal
propensity or to demonstrate that the defendant is a bad

person." United States v. Shelton, 628 F.2d 54, 56 (D.C. Cir.

 

1980). See also United States v. James, 555 F.2d 992, 998-99

 

(D.C. Cir. 1977) (bad act evidence not admissible to "show the
likelihood that, having once fallen into sin, a second slip is
likely").

2. Prejudicial Effect of the Evidence Far
Outweighs Any Probative Value It May Have

 

Even if the Court determines that the alleged statements
at issue have some relevance to this case, these statements must

still be excluded because their potential for unfair prejudice

LAW OFF|CES
W|LL|AMS & CONNOLLY
H|LL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 279 of 311

and considerable confusion of the issues substantially outweighs
this marginal probative value. See Chicago College of
OSteopathic Medicine v. George A. Fuller Co., 719 F.2d 1335, 1346
n.14 (7th Cir. 1983) (evidence on past similar incidents,
"[a]lthough not totally irrelevant to this case," was properly
excluded under Rule 403).

In this Circuit, it is well established that the
"relevance of other-crimes evidence is always to be balanced
against its prejudicial effect in the process of determining
admissibility." United States v. §ippy, 606 F.2d 1150, 1155 n.35

(D.C. Cir. 1979) (emphasis in original); see also United States

 

v. Lavelle, 751 F.2d 1266, 1278 (D.C. Cir. 1985) (same); United

States v. Da¥, 591 F.2d 861, 877 (D.C. Cir. 1978) (Same); United

 

States v. Whetzel, 589 F.2d 707, 712 n.24 (D.C. Cir. 1978)

(same). Moreover, as the court held in United States v. Foskey,

 

[r]ules 403 and 404(b) are not obstacles to be
cleared at all costs, even by cutting around
corners whenever it is possible to do so.
These rules were designed to ensure a
defendant's fair and just trial based upon the
evidence presented, not upon impermissible
inferences of criminal predisposition or by
confusion of the issues.

636 F.2d at 525. A court must be especially guarded in its
admission of other bad acts evidence because of the "danger that
the jury may punish the defendant for the extrinsic offense and
not for the charged offense, the danger that the evidence --
though relevant to, for example, intent -- will be used by the

jury primarily for the impermissible purpose of inferring guilt

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C. 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 280 of 311

from a general defect in character, and the danger that the
evidence will influence the jury into reaching an uninformed and

irrational verdict." Lavelle, 751 F.2d at 1278. See also

Shelton, 628 F.2d at 56 ("juries prove to draw illogical and

incorrect inferences" from evidence of other bad acts).

In this case admission of the statements allegedly
elicited from defendant concerning the suppressed materials would
serve to severely prejudice defendant and greatly confuse the
issues in this trial. As discussed §Bp£§ at 4-5, the prosecution
cannot present to the jury the illegally seized material or any
subjective characterizations of the materials unlawfully
seized. Nevertheless, to the extent the prosecution is permitted
to introduce any statements concerning materials other than the
envelope specifically at issue here -- whether described or not
~- the jury will likely assume the other materials have a
pornographic flavor or were otherwise illegal and therefore
subject to seizure by the government, and that the prosecution is
introducing these statements to demonstrate the extent to which
the defendant is a social deviant and should be punished. As a
consequence the defendant will be irreparably -- and
impermissibly -- prejudiced by his characterization as a "bad
person," see Shelton, 628 F.2d at 56, and the jury will be
confused as to the basis on which it is to determine whether
defendant should be punished. Considering the minimal, if any,
probative value of this evidence, it becomes clear that under

Fed. R. Evid. 403 the statements regarding material not charged

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 281 of 311

in the indictment should not be admitted in this case. See
Lavelle, 751 F.2d at 1278 ("[g]enerally, the similarity of other
bad acts evidence to the charged offenses increases the danger

that the jury will confuse the issues necessary to convict the

defendant.").

CONCLUSION
For all the foregoing reasons, defendant respectfully
requests that the defendant's statements concerning the materials

unlawfully seized should be excluded from evidence in this case.

Respectfully submitted,

WILLIAMS & CONNOLLY

ha l

David Povich
Richard S. Hof

  

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Dated: July ll, 1986

LAW OFF|CE$
WILLIAMS & CONNOLLV
HlLL EU|LD|NG
WASH|NGTON, D C, 20006

 

AREA CODE 202
33|-5000

._lo_

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 282 of 311

CERTIFICATE OF SERVICE

 

I hereby certify that the foregoing Motion to Exclude
Evidence and Memorandum in support were mailed, first-class,
postage prepaid this llth day of July, 1986, to Ronald Dixon,

Assistant United States Attorney, 555 4th Street, N.W.,

law

Ri¢hara s; Hom§€l)z
L`/

Washington, D.C. 20001.

 

LAW oFFlcEs
w|LL|AMS a CONNOLLY
Hl\_l_ aull_olNG
wAsHlNG'roN. o c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 283 of 311

UNITED STATES DISTRICT COURTy
FOR THE DISTRICT OF COLUMBIAv

UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

V.
GEORGE A. NADER,

Defendant.

\_»\\_n-\_.¢\-\..-¢~._r\-._»¢~._r~._#

 

MOTION TO STRIKE PREJUDICIAL
SURPLUSAGE IN INDICTMENT

 

Defendant, George A. Nader, by and through his
undersigned counsel, hereby moves this Court pursuant to Rule
7(d) of the Federal Rules of Criminal Procedure for an order
striking from the indictment the phrase "commonly known as child
pornography." This phrase now appears in both Count l and Count
2 as an extra-statutory description of the materials that are the
subject of this prosecution.

The grounds for this motion are:

l. The phrase is highly inflammatory and prejudicial.

2. The phrase is wholly irrelevant, unnecessary and
immaterial to charges in the indictment.

In support of this motion, defendant relies on the
Federal Rule of Criminal Procedure cited above, the memorandum of
law attached hereto, and the arguments of counsel and evidence

produced at any hearing ordered by the Court.

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTDN. D C 20006

 

AREA CODE 202
33|-5000

LAW oFFlcEs
W|LL|AMS & CONNOLLY
HlLL suoLDlNG
wAsHlNG'roN, D c 20005

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 284 of 311

Dated:

July ll,

l986

Respectfully submitted,

 

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 285 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

v.
GEORGE A. NADER,

Defendant.

`_/Vvvvvvv

 

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO STRIKE
PREJUDICIAL SURPLUSAGE IN INDICTMENT

 

This memorandum is submitted in support of defendant's
motion to strike the phrase "commonly known as child pornography"

from Count 1 and Count 2 of the Indictment.

Indictment

The indictment in this case charges that defendant (l)
"knowingly did use and caused to be used the mails for the
mailing . . . of . . . obscene, lewd, lascivious and filthy
magazines, pictures and films, commonly known as 'child
pornography,'" and (2) "did knowingly bring and cause to be
brought into the United States . . . obscene, lewd, lascivious
and filthy magazines, pictures and films, commonly known as

'child pornography.'"

Argument
Under Rule 7(d) of the Federal Rules of Criminal

Procedure, a "court on motion of the defendant may strike

LAW OFF|CES
W|LL|AMS dc CONNOLLY
wmawwm@ surplusage from the indictment or information." According to the

WASH|NGTON. D C 20006

 

AREA CODE 202
33|~5000

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 286 of 311

notes of the advisory committee, this rule "protect[s] the
defendant against immaterial or irrelevant allegations in an
indictment . . . which may . . . be prejudicial." Fed. R. Crim.
P. 7, Note of Advisory Committee to Subdivision (d). See also

United States v. Poore, 594 F.2d 39, 41 (4th Cir. 1979) ("purpose

 

of Rule 7(d) is to protect a defendant against prejudicial
allegations that are neither relevant nor material to the charges
made in an indictment . . . or not essential to the charge . .

or unnecessary, or inflammatory"). Courts have held, moreover,
that the "inclusion of clearly unnecessary language in an
indictment that could serve only to inflame the jury, confuse the
issues, and blur the elements necessary for conviction . . .

surely can be prejudicial." United States v. Bullock, 451 F.2d

 

584, 888 (5th Cir. 1971); United States v. Climatemp, Inc., 482

 

F. Supp. 376, 391 (N.D.Ill. 1979)(Same), §££;Q, 462 U.S. 1134
(1983),

According to one noted authority, "[p]rosecutors have
been known to assert unnecessary allegations for 'color' or
'background‘ hoping that they will stimulate the interest of the
jurors. The proper course is to move to strike the
surplusage . . . ." 1 C. Wright, Federal Practice and Procedure
§ 127 (1982). Here, it is undeniable that the terminology
"commonly known as child pornography" is unnecessary "color"
designed to inflame and prejudice the jury against defendant. As

one judge in this district has held, "the use of such colorful

words to describe the allegations in the indictment is improper

LAW OFF|CES
W|LL|AMS h CONNOLLY
HlLL BU|LD|NG
WASH|NOTON. D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 287 of 311

where less colorful and more accurate words would suffice . . . .
[T]he Court finds such words to be prejudicial and unnecessarily
loaded." United States v. Hubbard, 474 F. Supp. 64, 83 (D.D.C.
1979). Use of loaded terms, or even a characterization of the
defendant's acts with a degree of detail that is immaterial to
the crime alleged, may unduly prejudice the defendant if, at the
very inception of the trial and before a word of testimony is
heard, [the words] are read to the jury.

In this case retention of the phrase "commonly known as
child pornography" in the indictment would be severely
prejudicial to defendant. Because of the intense government and
media attention to obscenity and pornography in recent months,
terms such as "child pornography" have become highly inflammatory
and thus their use in the indictment would tend to cause feelings
of revulsion and scorn on the part of the jury deliberating on
this case. Moreover, the indictment charges that these materials
are "commonly known" as child pornography. The term "commonly
known" implies that there is a guiding definition of "child
pornography" and that the materials here qualify under it. The
phrase "commonly known as child pornography" is an incendiary and
loaded term, the only purposes of which appear to be to place the
defendant in the worst possible light and increase the likelihood
that the jury will desire to punish defendant for mere possession
of the materials involved in this case, even though possession in
his home for personal use is protected by the Constitution.

Stanley v. Georgia, 394 U.S. 557 (1969).

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 288 of 311

In fact, use of the phrase in the indictment is
completely unnecessary, irrelevant and immaterial to the charges
brought in this case. The Supreme Court has held that the
statutory provisions at issue in this case only proscribe only
the mailing or importation of "obscene" material, and that
prosecution based upon the remainder of the terms in the statute

is unconstitutional. See Roth v. United States, 354 U.S. 476

 

(1975). It is not a grounds for prosecution under this statute
that material is pornographic -- the legal question is whether
the material is obscene. Nor does this statute contain any
special proscriptions about the use or depiction of children in
such material. Thus, in order to convict under these provisions
it is not necessary or sufficient to allege or prove that the
materials involved constitute "child pornography"; the question
is whether the materials are "obscene."l

Perhaps more importantly, defendant has offered to
stipulate that the materials at issue here are obscene and that
they are covered by the statute. Thus there is no reason
whatsoever to further characterize in any way these materials.
§§§, e;g;, §§9£§, 594 F.2d at 41 (court holds that nature of

prior felony conviction must be stricken from indictment because

l/ The government appears to be utilizing the language of the
Child Protection Act of 1984, 18 U.S.C. § 2254, which
existed at the time of indictment and does outlaw child
pornography even if not otherwise obscene. But defendant
here is not charged under that statute, and could not be,
because the law was enacted after the mailing that forms the
basis of this indictment.

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 289 of 311

defendant agreed to stipulate to the prior conviction and because
the nature of the conviction is not a necessary element of the
statutory offense charged); United States v. Kemper, 503 F.2d

327, 329 (6th Cir. 1974)(same), cert. denied, 419 U.S. 1124
(1975).

Conclusion
For all the foregoing reasons defendant respectfully
requests that the phrase "commonly known as child pornography" be

stricken from both counts in the indictment.

Respectfully submitted,

WILLI & CONNOLL

David Povich l
Richard S. Hoff ah/

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Dated: July ll, 1986

LAW OFF|CES
W|LL|AMS & CONNOLLV
H|Ll_ BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 290 of 311

CERTIFICATE OF SERVICE

 

I hereby certify that the foregoing Motion to Strike
Prejudicial Surplusage in Indictment and Memorandum in support
were mailed, first-class, postage prepaid this llth day of July,
1986, to Ronald Dixon, Assistant United States Attorney, 555 4th

Street, N.W., Washington, D.C. 20001.

119/ritual

Richard S. Hoffm®

 

LAW oFFlcEs
wlLLlAMS a CONNOLLV
HlLL sulLDlNG
wAsHlNGToN. D c. 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 291 of 311

F|LED

UNITED sTATEs DISTRICT COURT JUL_2{31986
FoR THE DISTRICT oF coLUMBIA

CLERK, U.S. D|STRICT COURT

DISTR\CT OF COLUMB|A
UNITED STATES OF AMERICA,

Criminal No. 85-00033
Judge John Garrett Penn

V.

)
)
§
GEORGE A . NADER , )
)
Defendant. )

)

 

DEFENDAN'I"S MOTION FOR A JUDGMENT OF ACQUITTAL

Defendant, George A. Nader, hereby moves pursuant to
Fed. R. Crim. Pro. 29 at the close of the government's case for a
judgment of acquittal. The grounds for this motion are:

l. The government has failed as a matter of law to
present evidence sufficient to sustain a conviction under 18
U.S.C. § 1461. Section 1461 does not apply to those who receive
and order obscene material through the mails.

2. The government has failed as a matter of law to
present evidence sufficient to sustain a conviction under 18
U.S.C. § l462. Section 1462 does not apply to use of the United
States mails and there is no evidence of any other method of
transportation in this case.

In support of this motion, defendant relies on the
statutes cited, the memorandum in support of this motion, and the

arguments of counsel at any hearing held by this Court.

LAW OFF|CE$
W|LL|AMS & CONNOLLY
HlLL EU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

LAW OFF|CES
W|LL|AMS & CONNOLLY
H\LL EU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 292 of 311

Dated:

Respectfully submitted,

WILLIAMS & CONNOLLY

ll llll

Davi[d Povich
Richard S. Hof€

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

July 29, 1986

LAW OFF|CES
W|LL|AMS a CONNOLLY
H|LL EU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 293 of 311

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,

Criminal No. 85-00033

)

)

v. )
) Judge John Garrett Penn
)
)
)
)

GEORGE A. NADER,

Defendant.

 

MEMORANDUM IN SUPPORT OF
DEFENDANT'S MOTION FOR
A JUDGMENT OF ACQUITTAL

 

The government's case against defendant George Nader is
based upon the theory that Mr. Nader violated 18 U.S.C. §§ 1461
and 1462 by allegedly ordering for his personal possession and
use, without an intent to distribute, the contents of an envelope
mailed from Holland to Washington, D.C. The evidence against Mr.
Nader consists solely of a statement allegedly made by the
defendant and the fact that his last name and address appear on
the envelope, Because even if the court accepts the
prosecution's evidence, the statutes under which Mr. Nader is

charged do not make it a crime to order obscene material for

 

personal use, the defendant is entitled to a verdict of acquittal

as a matter of law.

I. Section 1461 Does Not Prohibit Receiving
Or Ordering Obscene Material For Personal Use

 

Section 1461 criminalizes the sending of obscene

material, not receiving such material. United States v. Sidelko,

 

248 F. Supp. 813 (M.D.Pa. 1964). In Sidelko the government

LAW OFF|CE$
W|LL|AMS k CONNOLLY
HlLL BUILD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-!000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 294 of 311

charged that the defendant "knowingly caused certain obscene
material to be delivered to him by mail." ld. at 813. The court
dismissed the indictment at the close of the evidence, holding
that the statute "was not intended to apply to persons who order
and receive such matter for personal use and consumption." 1§.
at 815. The court explained that prior to 1958, Section 1461
provided criminal penalties for "whoever knowingly deposits for
mailing or delivery" unmailable matter. Sidelko, 248 F. Supp. at
813 (emphasis in original). The offense "was confined to the
sender" of the obscene material and for that reason used the word
"deposit" in the mails, ld.

In 1958 Congress changed the statute to substitute the
phrase whoever knowingly "uses the mails" rather than " deposits"
in the mail. The amendment was in response to the decision in

United States v. Ross, 205 F.2d 619 (lOth Cir. 1953), which held

 

that an accused could only be prosecuted in the place of deposit
of obscene material. Sidelko, 248 F. Supp. at 813. In Reed
Enterprises v. Corcoran, 354 F.2d 519, 521 (D.C. Cir. 1965), this
Circuit specifically recognized that “[i]t was to reverse the
goss-imposed limitation on venue under the obscenity statutes
that Congress passed the 1958 amendment." Accord, Reed
Enterprises v. §la£k, 278 F. Supp. 372, 378-79 (D.D.C. 1967)
(three-judge court)("The legislative history of those amendments
leaves no doubt that what Congress was trying to do was to . . .
avoid the impact of the goss case."), af§;d, 390 U.S. 457 (1968)

(per curium). The three-judge court in Clark reviewed the

LAw oFFlcEs
wlLLlAMS a CONNOLLV
HlLL BuILDlNG
wAsHlNGToN. o.c. 20005

 

AREA CODE 202
33\~5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 295 of 311

legislative history in depth and conclusively established that
the sole purpose of the amendment was to make mailing obscene
material a continuing offense. 278 F. Supp. at 377-80. The
focus of Congress was decidedly on the "promoters" of obscene
material and the legislation applied only to "those who seek
profit from pornography." ld. at 379, quoting 104 Cong. Rec. at
8043-46 (May l9, 1958).

Based upon the legislative history, the court in Sidelko
concluded:

Therefore, it appears that the 1958 Amendment
was designed to offset the holding of the Ross
case to the effect that under section 1461, as
then interpreted, the unlawful act was the
deposit for mailing and not a use of the mails
which may follow such deposit. According to
the legislative history mentioned herein,
Congress amended section 1461 to include "use
of the mails" rather than the "deposit" so
that one who deposited obscene matter in the
mails could be prosecuted not only at the
place of deposit, but also in any district
from, through, or into which the mail matter
moves . . . . There is nothing in the
amendment or its legislative history to
indicate that Congress intended to expand the
class of offenders to those recipients who
order and receive nonmailable materials
through the mails for purely private
consumption.

 

 

 

United States v. Sidelko, 248 F. Supp. at 815 (emphasis in

 

original).

Sidelko also rejected the government's argument that the
phrase "causes to be delivered according to the direction
thereon" could be used to expand the coverage of the statute to

include one who ordered the material for personal use:

LAW 0FF|CES
W|LL|AMS & CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 296 of 311

1 conclude that the statutory language

"(w)hoever . . . knowingly causes to be
delivered by mail according to the direction
thereon . . ." was not intended to apply to

persons who order and receive such matter for
personal use and consumption. lf Congress had
intended such coverage it could have been
spelled out very easily in appropriate
language. That such was not the Congressional
intention is demonstrated by the fact that the
statute does make special reference to those
who take nonmailable matter from the mails,
but only where it is taken for the purpose of
circulating or otherwise disposing of it.

l/
ld. (emphasis added)._

 

 

The decisions in Sidelko, Corcoran and §l§£k remain the
law today. Section 1461 has always been restricted in its
application to those who send and distribute non-mailable
matter. The amendment to the statute to include the phrase "use
the mails" merely expended the venue for such prosecution, it did
not expand the class of offenders. The evidence presented
against Mr. Nader for allegedly violating that statute by
ordering and receiving obscene magazines is insufficient as a

matter of law and a judgment of acquittal must be entered.

1/ This conclusion is buttressed by the fact that in 1984,
after the events charged in this indictment, Congress
adopted the Child Protection Act, 18 U.S.C. § 2252, which
specifically provides criminal penalties for any person who
"knowingly receives" material depicting minors engaged in
sexually explicit conduct. 18 U.S.C. § 2252(a)(2). That
change in the law had not yet been enacted and cannot apply
to this case.

LAW OFF|CE$
W|LL|AMS a CONNOLLY
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 297 of 311

II. Section 1462 Does Not Apply To Mailings

 

The government fares no better under its § 1462
charge. Section 1462 applies to "[w]hoever brings into the
United States . . . or knowingly uses any express company or
other common carrier, for carriage in interstate or foreign
commerce" obscene material. The precursor of § l462 was passed
in 1897 as a supplement to the Comstock Act, which had prohibited
mailing of obscene material since 1873. 29 Stat. 512, 54th

Cong., 2d Sess. (1897); see Schauer, The Law of Obscenity at 171

 

(1976). The new section was designed to "complete the exercise
of federal power in the obscenity area" by outlawing methods of
transporting obscene material not already covered by then-

existing law. See Schauer, The Law of Obscenity at 21.

 

In 1905 Congress amended the common carrier statute to
add the language prohibiting bringing obscene material into the
United States, 33 Stat. 705, 58th Cong., 3d Sess. (1905). The
legislative history of that amendment indicates clearly that
Congress was not providing additional regulation of use of the
mails, but was legislating regarding interstate and foreign
shipment by other means. After moving for passage of the bill,
the Senate sponsor engaged in the following colloquy:

Mr. CLAPP. From the Committee on lnterstate

Commerce l report back favorably, without

amendment, the bill (H.R. 9493) to amend the

act of February 8, 1897, entitled "An act to

prevent the carrying of obscene literature and

articles designed for indecent and immoral use

from one State or Territory into another State

of Territory," so as to prevent the
importation and exportation of the same, and l

LAW OFF|CE$
W|LL|AMS & CONNOLLY
HlLL BU\LD|NG
WA$H|NGTDN, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 298 of 311

ask unanimous consent for its present
consideration.

The Secretary read the bill.

The PRESIDENT pro tempore. ls there objection
to the consideration of the bill?

Mr. LODGE. Can the Senator tell me what the
purpose of the bill is?

Mr. CLAPP: lt is to apply the same
restrictions on the carriage of obscene matter
by express companies, etc., that are now
applied under the postal laws to the carriage
of that matter by mail carriers.

 

 

 

Mr. LODGE. l have no objection to the bill.
Mr. KEAN. Let the bill be again read.

Mr. GALLINGER. lt applies to express
companies particularly.

 

 

Mr. KEAN. lt is all right, Mr. President.

There being no objection, the bill was

considered as in Committee of the Whole.

The bill was reported to the Senate without

amendment, ordered to a third reading, read

the third time, and passed.
39 Cong. Rec. 1624 (58th Cong., 3d Sess. 1905) (emphasis
supplied). This colloquy confirms that Congress did not intend
to alter the scope of the prohibition on mailing obscene
material, covered by section 1461, when it amended section
l462. The regulation of the use of the mails was already
accomplished to the extent desired by Congress under section

1461. The statute that is now section 1462 applies to other

methods of transportation -- either a person bringing material

LAW OFF|CE$
W|LL|AMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
331-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 299 of 311

into the United States or use of a common carrier to transport
prohibited material.§

The interpretation that § 1462 applies to bringing
obscene material into the United States by means other than the
mails is also supported by several principles of statutory
construction and the language of the two statutes.

First, "the Court has stressed repeatedly that 'when
choice has to be made between two readings of what Congress has
made a crime, it is appropriate, before we choose the harsher
alternative, to require that Congress should have spoken in

language that is clear and definite.‘" Dowling v. United States,

 

105 S. Ct. 3127, 3132 (1985), quoting Williams v. United States,

 

458 U.S. 279, 290 (1982); see also United States v. Bass, 404

 

U.S. 336, 347 (1971)(same). Second, as the Court made clear in
Dowling, where there is a specific statute governing the
defendants conduct that does not make it criminal, the courts
should not construe a more general language in another statute to
criminalize the same conduct. 105 St. Ct. at 3136-39 (where
copyright act did not include criminal penalties for

infringement, Court would not construe generally prohibition on

3/ ln the more than 100 years since the Comstock Act was
enacted there have been hundreds of prosecutions under §
1461 and its predecessor statutes for illegally using the
mails to transport in interstate or foreign commerce obscene
material; but there is not a single reported prosecution
under § 1462 for "importation" by mailing, There are,
however, many prosecutions under § 1462 for using common
carriers to ship prohibited items.

LAW oFFlcEs
W|LL|AMS & CONNOLLY
HlLL aulLolNG
wAsHlN<;ToN. o c 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 300 of 311

transporting goods taken by fraud to include transporting pirated
material). Third, it is settled that statutes governing similar
conduct should be read consistently so as not to make any portion
of the companion statute superfluous. See generally 2A

Sutherland Statutory Construction § 51.03 at 298-300 (1973). All

 

three of these principles support the view that section 1462 does
not apply to mailings.

Section 1461 provides comprehensive regulation of the
sending of obscenity through the mail. Congress determined to
punish the sender of material, not the receiver, unless the
person who takes material from the mails does so with an intent
to distribute, §§g Sidelko, 248 F. Supp. at 815. To interpret
the words "brings into the United States" to include someone who
orders through the mail for private use would destroy this
statutory framework by criminalizing conduct Congress left out of
the mailing statute.

Moreover, there is clear evidence that Congress intended
§ 1462 to be consistent with, not contradict, the scope of §
1461. Prior to 1958, section 1462 prohibited the "depositing of"
obscene material with an express company or common carrier, The
statute was amended at the same time as the mailing statute and
for exactly the same purpose -- to expand the venue provisions to
reverse the effect of United States v. Bg§§, 205 F.2d 619 (lOth

Cir. 1953). See Reed Enterprises v. Corcoran, 354 F.2d at 521,

 

522; 1958 U.S. Code Cong. & Admin. News at 4012-15. The common
carrier section of the statute, just as the mailing statute,

applies to those who deposit obscene material for shipment in

LAW OFF|CES
W|LL|AMS & CONNOLLV
HlLL BU|LD|NG
WASH|NGTON, D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 301 of 311

interstate commerce. See United States v. Gold, 378 F.2d 588,

 

594 (9th Cir. l967)("we conclude the interstate commerce is
’used' and a crime committed under section 1462 when proscribed
material has been deposited with a common carrier . . ."). Thus,
both sections focus on the distributor or sender of obscene
material.

Finally, where transportation of obscene material is by
other than personal delivery, Congress in both sections 1461 and
1462 specifically dealt with one who "knowingly takes from" the
mails or common carrier such material. lf "bringing" had meant
mailing, presumably Congress would have included a provision for
"taking" material brought into the United States so as to keep
that term consistent with the language of both statutes when a
third-party carrier is used to transport the prohibited items.
There is no parallel provision for the phrase "brings into the
United States" because that phrase applies to a person carrying
prohibited material into the country and not use of the mails,

The government's prosecution of Mr. Nader under § 1462
for allegedly ordering through the mail obscene material is an
attempt to get around the limited scope of the mailing statute.
Because mailing is not covered by § 1462, defendant is entitled

to a judgment of acquittal.

CONCLUSION
For the reasons stated, defendant George Nader is
entitled to a judgment of acquittal on both Counts l and ll of

the indictment.

LAW OFF|CES
W|LL|AMS & CONNOLLY
HlLL EU|LD|NG
WASH|NGTON. D C 20006

 

AREA CODE 202
33|-5000

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 302 of 311

Dated:

July 29,

1986

Respectfully submitted,

WILLIAMS & CONNOLLYF

llll/l llll

David Povich '
Richard S. Hof man

839 Seventeenth Street, N.W.

Washington, D.C. 20006
(202) 331-5000

_10._

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 303 of 311

suePoENA
. . . olsrmc'r _ _ _
alluded States Ytsfrxcf Court District of columbia

DOCKET NO.

United States of America ‘ 85-00033

 

 

 

THE or cAss
v. Cl clvlL El chMlNAL
;ep_oz'r§A FoR

George A. Nader pERSON

 

D DOCUMENT(S) or OBJECT(S)

 

TO:
Gwynneth M. Moolenaar

 

YOU ARE HEREBY COMMANDED to appear in the United States District Court at the place,
date, and time specified below to testify in the above-entitled case.

 

pLACE COURTROOM

United States District Court Honorable John Garrett
3rd Street and Constitution Avenue Penn

Washington, D.C.

 

DATE AND TlME

July 30, 1986
10:00 a.m.

 

 

 

 

YOU ARE ALSO COMMANDED to l ring with you the following document(s) or object(s):m

 

 

Cl See additional information on reverse

i__ _____ _ __ _ ___

 

This subpoena shall _ c_t until you are granted leave to depart by the court or by an
officer acting on behalf `

 

 

  
  
 
  

u.s. MAET;A"F£_(§) oa_c_t_e'n_x o-
JAMES F. DAVEY _: '

_______ _ '. _. ' July 25, 1986
(ev) Deeurv cLERK . '.

DATE

 

This subpoena is issued upon applic

 

rule_"§rl§"“_a“€as°éslas”
g Williams & Connolly
- ' 839 l7th Street, N.W.
D P|aintiff il Defendant U U.S Attorney . Washlngton ' D ' C °

 

 

l

(1) lt not nop'-c¢bl¢, cruel "r\or\e "

(2) A lubpoor\l shall be issued by l mlgis!'l!¢ m a processing below him, but need not 00 under the toll 01 the court. (Ru|¢ 17(1), Federal Rule 01
Crlmlnal Prucodun.)

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 304 of 311

 

RETURN OF SERV|CE"’

 

DATE PLA

 

eissc§»'ivvi% Mgg)‘“ll'° lilluwlll; 3 tollllouy

slaon W;l§, hill ; wlulllllX CONNOLLY

 

 

seizon on (NAME) \' FEEs AND MltcAGE TENoEREo'ro wlTNE-ssl¢)

 

/dll)\fM?/"(\/\ MBO\M giles l:)No AMouNTs 30

 

SERVED BV

files prelile illth la 'M sull,n)

TlTL

ll\€lllllls § . lorrlll>ll mary

 

 

sTA`TENiENT oF senvlcr FEEs

 

TRAVEL SERV|(.`ES TOTAL

'-'

 

 

 

DECLARAT|ON OF SER!ER‘°)

 

   
 

s of the nit d States of America that the foregoing

l declare under penalty of perjury un the l '
information contains in the Return of Se\£ d See/njm ice Fees is true and correct.
Executed on V]Ig§!qb s_ v d f l ' l £M:w\'
le §§HII'JIE f ¢ '
lSl"r)rl li.;lloill il lllz)l br lllll

Addreu of Servar

    

 

 

ADD|T|ONAL lNFORMATION

 

 

(3) Aa to who may serve a subpoena and the manner ot ltc aervlce see Rule 17(d). Federal Rules of Crlrnlnal Procedure, or Rule 45(:), Feceral Rules of clvl|

Procedure.

(4) "Feee and m||eage need not be tendered to the deponent upon serv|ce of a subpoena luued on behalf of the Unl\ed States or an o"|cer or agency thereof

(Rule as(c), Federal Rules of Clvll procedurel Rule 17(¢), Feoeral Rulel of crlmlnal Procedure) or on behalt of colum lndlgant partle\ ana crlmlnal
defendants who are unable to ear even seen ill \J$C tl|l, Rule 17(e)Feoeral Rules et crlmlnal Procedure)".

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 305 of 311

 

 

suaPoENA
o o o olSTRlc'r
Yntfed States Ytstrtci Court District of columbia
°OC“ET No.
United States of America ‘ 85- 00033

 

'rvvc or= cass_ `
V. U ClVlL m CR|M|NAL

 

sueeo£NA ron
PERSON D DOCUMENT(S) 0r OBJECT(S)

 

George A. Nader

 

 

 

TO:
Gwynneth M. Moolenaar
YOU ARE HEREBY COMMANDED to appear in the United States District Court at the place,
date, and time specified below to testify in the above-entitled case.
FLACE COURTROOM
United States District Court Honorable John Garrett
3rd Street and Constitution Avenue Penn

Washington, D.C.

 

DATE AND TlME

July 30, 1986
10:00 a.m.

 

 

 

 

 

You ARE ALso coMMANoED io i 'iog with you the following document(s) or objeoils);“’

 

L_ l:l See additional information on reverse

 
 

This subpoena shall _ c_t until you are granted leave to depart by the court or by an

 

 

u.s. MAcis'rRA~rs(zi_oi-'i'ctsnxo -' _ `“ _

DATE
JAMES F. DAVEY

(BV) ____DEFUTV CLERK__

 
   
 
  
 

 

_ July 25, 1986

 

~arv"a~AME Hbo€€lpae§lss '_ "-
;williams & Connolly
_ _.. l839 17th Street, N.W.
l e
U P|aintiff n Defendant D U.S. Attorney . washlngton ' D ° C °

_

 

 

 

l
(1) lt not aoo"cat>le. ente~ "r'lone "

(2) A subpoena snell be issued by a magistrate m a proceeamg before mm, but need not be under the eeal of the court. (Rul¢ l7(a), Federel Rules ol
Crlrn|nel procedure.)

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 306 of 311

 

RETURN OF SERV|CE"’

 

aF:rEsCEElll`\//Eel:\ add Qg) |‘W°_ ___h}l)ll/HHH§ g WHOU/y

strion l MQS-) \Fl(ilp 1 wlLLllolMX C,OK)A)UL)/

"s`E'nvr_o on monies

}dll)¥MQ/H\ MDO\U\W §(Yes DNo AMouNTs
698 plumb luil~utl for 712 Sull'l).j

lulling llrnilll many '

_ BTEMENT oF sERvicE_' F_Es_s _'_
TRAvEL ssavic£s ToTAi.

 

 

 

 

 

 

FEEs A~o_'MiLEAGE TENDERED 'ro wl'rNEs`s_ldl

 

SERVED BV

 

 

 

/_'

 

 

 

Q:cLA_RATloN or sen_vrn"_‘l“

 

 

 
        

l declare under penalty of perjury un
information contain in} the Return of Serv-
4

Executed on italiqu s_ l l _
" ""”"l{§i"’mlll mind f, lilly 150 gm

._. w

Address pl’ Server

 

 

ADD|T|ONAL lNFORMAT|ON

 

 

 

(3) Ae to who may serve a subpoena end tne manner of lts eervlce eee Rule l7(d), Faderal Rules of Crlmlnal Frocedure. or huie 45(¢:), Federal Rules of Clvll
Frocedure.

(d) "Fees and mileage need not be tendered to the deponent upon servlce of a subpoena lsaued on behalf of the united states or an officer or agency thereof
(|Iule as(c), Federal Rules of Clvll ?rocedurei Rule H(d). Federal Rules of crlmlnal Procedure) or on behalf of certain lndlpent parties and erlmlnal
defendants who are unable to ely such costs til vic lul. hole l7(e) Feoeral lulee of Crlmlnal Procedure)".

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 307 of 311

United States Court of Appeals

FOR THE DlSTR|CT OF COLUMB|A CIRCUIT

 
   

No, 86-3008

United States of America F l L B'

  
    

Septembeh'?rm, l985

cR 85-00088-01
United State

v' AUG 2 6 1985 islricl of Columbia Circuit
David Heriry Fuller, - cLERi<,u.S.D\s'rRicT _coumf"_[n AUG 26 1986
Appellant D\sTR\c'r_ oF coi.uiiiBiA

GEORGE A. FlSI-IER
"" cL‘ERi<

Before: Wald, Chief Judge

Upon consideration of appellant's motion to dismiss
appeal_pursuant to Fed. R. App. Pro. 42(b), and appellant
having set forth in a statement that he understands a voluntary
dismissal ".. .mean(s) that my conviction shall become final...",
it is

ORDERED, by the Court, that the aforesaid motion is
granted and this appeal is dismissed.

The Clerk is directed to transmit a certified copy of this
order to the District Court in lieu of formal mandate.

A true e,opy:%' _ ,
l .Tes';:\ George ii_=,,,llil=h@!‘
`Unite`_a_ States Court '“° "”»'.,’*aaa.l.§
for"`t`he District of uoluiiibia direuit

`. .d-,‘_w_ ';l fr _
By: .r' #"¢¢J/f='?::§f~ LM@ iv Deputv Clerk

 

  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

dow cciccc
wo< Ho\q@
§
owH.EzEr zo. Um.-oooww § \K §
§
vi __u_ …_ §w§o dow §§H§e EEHE.B
,m. mx:_w= Homz§i 536 E.H_zmmm meza so
uais En.£.~oz m<~omznm §§
_m §§ o §§
0
w ` §i \msl,s\\s<§s.hwlil§?§i tn § rio do __
mule §§ § §§§ b\ui%m l 1
l w _\ O.~
l o st soo l §§ . il l
m l §§ § o§la§slsilwl m s - 8 rla
……Pwi _1<?§,§\ \§§\oa§w&s?§ Niqlm®
F v dressed §H.§i§>\sn§,§& § Nl wl%®
H nw \<§N@ oil wl WP OMl\oTN\~\
W \
m
U
ul
o
a
w i .…,r.,\o
s
.M
a
C

 

 

 

 

 

 

 

 

 

 

 

§ ,\\
owHEz>r zo. ww cmobww

\Y\w% 1 \MFR§»?( \\Yw\_~

stv

CC|._.C_.
wm< HQ\Q@

RWNWWMN\\M`\WMRW&\

 

gamme dow

 

 

 

 

 

 

 

 

 

 

§nm~§c EEHE.B
EEES. Humz§¢ Hzeo E.H.zmmm mmze eo
W§mmw En>§oz m<~omzom §§
m §§ w §§
w \ N»Q\w® kim \wo
g
mm w §§ § §§.Q§§§ PP?
, L_ §§ b&n r\ f
w mw \\__£\RFT `®A §\`Rv§\mQ\/\MQW §§di _~\v_? ~@
w §
§
0
d
e
_H
,..\ .! 1 \ \! ,.11 \ \\
A\~\ .,_\…£&\ \\ \A\\\»f A\ \\...\.§\.M.__w»l.\.._l…`~\ \ 1 H\.» ..\ \
__.,.,\.M _+\O \

 

 

 

 

uuc)sd-JLJP L)oc ument 1

 

 

 

\./O.>C J..O ' '

r\

 

 

 

 

 

 

 

 

 

 

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 310 of 311

UN|TED STATES Dl‘

JOHN GARRETT PENN

.{lCT COURT` FOR THE DlSTRIL

OF COLUMB|A

May 16, 1986

 

 

 

 

 

 

Judge Date
CRIMINAL BLOTTER
P. Hayden
Deputy Clerk Pag°e pages Court Reporter
FPl-Il_B-ZOJ|~SOO PADS-ZSBB
Case Deft.
No. Status Title Entry
J85-33 GEORGE A. NADER Memorandum. (N)
FSW
CO w a z § RAN.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 1:85-cr-00033-.]GP Document 10 Filed 03/08/18 Page 311 of 311

UNITED STATES

Fg/v/\/ § T,

Judge

/%00/€€

 

STR|CT COURT FOR THE D|S`\

MBLOTTER

 

_,.CT OF COLUMBIA

Z~ 7~'8@

Date

/7[, D€(¢%SGA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deputy Clerk Page of _ pages Court Reporter
Case Deft
No. Status Title Entry
’ 1054 '
G, @A@)z/' /'/ICD/W/'E¢ /'Lej,+ M 3 /g/Zé
- U'
)Q_T!+L{)Q AC///\/ /"_ M'/` 5¢’4{/’ C£WMW C¢)>M»’L'
MW»Y/ y
WMU»¢>V;¢ TM M M
/F~H` )V
M/
.,. f f l /F/_M;

35#33 PR G€Mg€ A./\//Mee_ 7%¢@»»` ey¢&/,¢%VW
G- /é‘n M M ,<M,¢ M
D'M/yw('/A WMZZZ/BDF/"¢

/QAMJ 5. /%@._, 2-/0-36,, P/& _

 

 

W.,`A;'~_-
|é`… /liw&w¢¢/\/

 

D»J,:@M

 

6- W/i/M/z¢p

 

i
.

 

 

 

 

 

 

